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                              EXHIBIT 4

                     (Fee Statements with Invoices)
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors. 1                       (Jointly Administered)

              MONTHLY FEE STATEMENT OF LUGENBUHL, WHEATON,
          PECK, RANKIN & HUBBARD FOR COMPENSATION FOR SERVICES
         AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO THE DEBTORS
           FOR THE PERIOD FROM APRIL 7, 2023 THROUGH APRIL 30, 2023

             Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [Docket No. 408] (the “Compensation Order”),

Lugenbuhl, Wheaton, Peck, Rankin & Hubbard (“Lugenbuhl”), attorneys for the above-captioned

debtors and debtors in possession (the “Debtors”), submits this monthly statement (“Statement”)

of services rendered and expenses incurred in these Chapter 11 Cases for the period from April 7,

2023 through April 30, 2023 (the “Statement Period”).

I.           Itemization of Services Rendered by Lugenbuhl:

             A.    The following is a list of individuals and their respective titles that provided

services during the Statement Period. It includes information regarding their respective billing

rates and the total number of hours spent by each individual providing services during the

Statement Period for which Lugenbuhl seeks compensation.




1     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.
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                                             SUMMARY

                                              State of Bar
                               Position /                                                       Total
             Name                             Admission /     Hourly Rate        Hours
                                Dept.                                                        Compensation
                                                 Year
                             Managing        LA 2005
  Benjamin W. Kadden                                            $650.00           36.90      $23,985.00
                             Shareholder     TX 2011
  James W. Thurman           Associate       LA 2019            $475.00            5.20       $2,470.00
  Coleman L. Torrans         Associate       LA 2019            $425.00           18.20       $7,735.00
  Total:                                                                          60.3        $34,190.00

        B.      The time records of Lugenbuhl consisting of a daily breakdown of the time spent

by each person on each day are attached as Exhibit A to this Statement.

II.     Itemization of Services Rendered and Disbursements Incurred By Category

        The following itemization presents the services rendered by Lugenbuhl by Task

Categories, and provides a summary of disbursements incurred by category of disbursement.

                1.       Services Rendered

        The following services were rendered in the following Task Categories:

      SM/Task                  Task Category                 Hours           Fees Earned
      B110            Case Administration                       1.20          $    745.00
      B120            Asset Analysis and Recovery              26.10          $ 15,775.00
      B130            Asset Disposition                         1.30          $    617.50
      B160            Fee/Employment Applications               5.40          $ 2,880.00
      B185            Assumption/Rejection of                  10.80          $ 4,860.00
                      Leases/Contracts
      B190            Other Contested Matters                    10.90         $ 6,412.50
      B230            Financing/Cash Collections                  4.60         $ 2,900.00
                      Total                                      60.30         $ 34,190.00

        A detailed itemization of the services rendered in each of the above Task Categories is set

forth in Exhibit A.

                2.       Disbursements Incurred

        The disbursements incurred by Lugenbuhl for this Statement are as follows:

                     Expense Category                            Total Expenses
                                                                       $ 0.00

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                   Expense Category                             Total Expenses
                   Total                                              $ 0.00

              3.       Accordingly, the amount of compensation and expenses payable for this
                       Statement Period is $27,352.00 which is calculated as follows:

         Total Fees for Services Rendered During Statement Period           $34,190.00
         Twenty Percent (20%) Holdback                                      ($6,838.00)
         Fees Minus Holdback                                                $27,352.00
         Costs (100%)                                                            $0.00
         TOTAL                                                              $27,352.00

       WHEREFORE, pursuant to the Interim Compensation Order, Lugenbuhl requests

payment of compensation in the amount of (i) $27,352.00 (80% of $34,190.00) on account of

actual, reasonable and necessary professional services rendered to the Debtors by Lugenbuhl and

(ii) reimbursement of actual and necessary costs and expenses in the amount of $0.00 incurred on

behalf of the Debtors by Lugenbuhl.

                                      Respectfully submitted,

 Dated: June 13, 2023                  /s/ Benjamin W. Kadden
 New Orleans, LA                       LUGENBUHL, WHEATON, PECK, RANKIN &
                                       HUBBARD
                                       Benjamin W. Kadden (TX 24077542)
                                       Coleman L. Torrans (Pro Hac Vice)
                                       601 Poydras St., 27th Floor
                                       New Orleans, LA
                                       (t) 504.568.1990
                                       (f) 504.310.9195
                                       bkadden@lawla.com
                                       ctorrans@lawla.com

                                       Special Litigation Counsel to the Debtors and Debtors in
                                       Possession




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                                CERTIFICATE OF SERVICE


       I hereby certify that on this 13th day of June, 2023, a true and correct copy of the above
and foregoing has been served on all parties that are registered to receive electronic transmission
through this Court’s CM/ECF filing system in these cases.


                                                      /s/ Benjamin W. Kadden
                                                      Benjamin W. Kadden




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                           Exhibit A
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               L UGENBUHL , W HEATON , P ECK , R ANKIN & H UBBARD
                                        A LAW CORPORATION
                                601 POYDRAS STREET, SUITE 2775
                              NEW ORLEANS, LOUISIANA         70130 -6041
                                            (504) 568-1990
                                          F.E.I. # XX-XXXXXXX



  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 292416
                                                                         May 25, 2023
____________________________________________________________________________________

                                    INVOICE SUMMARY

For Professional Services Rendered Through April 30, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                             Total Fees                         $ 34,190.00
                             Total Expenses                           $ .00

                             TOTAL THIS INVOICE                 $ 34,190.00




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                                        LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 292416                                                                       May 25, 2023

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                                                FEES

   Date Atty Description of Services                                                            Hours
4/07/23 BWK Voicemail from and call with Ben Wallen regarding issues with certain                 .80
             dealers.
4/07/23 BWK Conference call with Ben Wallen, Jeff Dulberg, and Gregory Demo regarding             .70
             retention as special counsel to deal with certain litigation matters relating to
             dealers that are failing to pay rent and purchase gas.
4/07/23 BWK Review case background and bankruptcy filings to determine status of case            3.80
             and issues impacting potential litigation claims of the Debtors.
4/10/23 BWK Continue review of case background and bankruptcy filings to determine               1.80
             status of case and issues impacting potential litigation claims of the Debtors.
4/10/23 BWK Emails and call with Debtors' counsel and client regarding initial litigation         .40
             issues.
4/10/23 CLT Initial docket review                                                                 .50
4/10/23 CLT Drafted application to retain LWPRH as special counsel                               2.10
4/11/23 BWK Preparatory call with Geoff Richards and Neil Lansing regarding various               .80
             case-related matters.
4/11/23 BWK Conference call with Neil Lansing regarding                                           .30
4/11/23 BWK Multiple emails and calls with Pachulski and regarding                               1.20

4/11/23 BWK Work on engagement letter and employment application.                                 .70
4/11/23 CLT Correspondence w/ Ben Kadden re engagement, forms.                                    .30
4/12/23 BWK Multiple emails and calls with Pachulski and regarding                                .80

4/12/23 BWK Continue work on engagement agreement and retention application, and                 1.20
            multiple emails regarding same.
4/12/23 BWK Receipt and review of various filings relating to emergency motion set for            .80
            hearing on April 12 on stay violation by Ada Coca-Cola.
4/12/23 BWK Participate telephonically in the hearing on the Debtors' Emergency Motion            .40
            relating to the stay violation by Ada Coca-Cola.
4/12/23 JWT Monitored hearing on motion to enforce automatic stay against Coca-Cola.              .50
4/12/23 CLT Attended stay violation hearing                                                       .30
4/12/23 CLT Emails with bankruptcy counsel re engagement                                          .40
4/13/23 BWK Review docket entries relating to the upcoming Final DIP Hearing and update           .40
            calendar accordingly.
4/13/23 BWK Receipt and review of filings relating to the Cameron Transaction Motion.             .30
4/13/23 BWK Receipt and review of filings relating to the Dealer Conversion Motion.               .40
4/14/23 JWT Monitored hearings on transactions motions.                                           .70
4/14/23 CLT Attended hearing before bankruptcy court.                                             .50



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                                        LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 292416                                                                     May 25, 2023
Client.Matter: 38166 . 230394

   Date Atty Description of Services                                                          Hours
4/18/23 BWK Receipt and review of the OCP Motion and emails/call with counsel                   .70
             regarding same.
4/18/23 BWK Receipt and review of filings relating to the Final DIP Order and the hearing       .80
             on same to determine potential impact of dealer litigation issues on DIP
             financing issues.
4/18/23 BWK Receipt and review of Samnosh, LLC's Motion to Compel Rejection, and                .40
             emails with Ben Wallen regarding same.
4/20/23 BWK Receipt and review of Samnosh LLC's Withdrawal of Motion to Compel                  .20
             Rejection of Executory Contract.
4/20/23 BWK Receipt and review of the Debtors' Emergency First Omnibus Motion to                .60
             Reject Certain Leases/Contracts and calendar hearing date.
4/24/23 BWK Emails and call with Debtor's counsel regarding                                     .70

4/24/23 BWK Review docket to determine status of various motions.                               .80
4/24/23 JWT Call with debtor's counsel regarding                                                .20
4/24/23 JWT Follow up meeting with Benjamin Kadden and Coleman Torrans regarding                .20

4/24/23 JWT      Research regarding                                                             .70

4/25/23 BWK Receipt of and begin to review contract documents relating to the Debtors'         1.80
            relationship with
4/25/23 BWK Receipt and review of the Agenda for the Final DIP Hearing.                         .30
4/25/23 BWK Review pleadings relating to and participate telephonically in the Final DIP       1.70
            Hearing.
4/25/23 BWK Multiple emails with counsel for the Debtor and Imperial regarding ongoing          .80
            disputes regarding dealer/operator obligations.
4/25/23 BWK Receipt and review of docket filings relating to cash collateral and DIP usage,     .40
            including the proposed Final DIP Order.
4/25/23 JWT Receipt and review of leases and fuel supply agreements.                            .70
4/25/23 JWT Additional research regarding                                                      1.30

4/25/23 CLT      Attended DIP hearing.                                                          .40
4/25/23 CLT      Analysis and research of                                                      3.50

4/25/23 CLT Reviewed lease agreements, fuel purchase contracts between debtors and             2.10
            certain fuel purchasers
4/26/23 BWK Receipt and review of the Final DIP Order.                                          .60
4/26/23 BWK Further emails with counsel for the Debtor and the Debtors' representatives        1.10
            regarding ongoing disputes regarding dealer/operator obligations.
4/26/23 BWK Continue extensive review of contract documents relating to the Debtors'           3.70
            relationship with         and dealer/operator issues and research

4/26/23 JWT      Conference call with Pachulski and debtors to discuss                          .50


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                                       LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 292416                                                                     May 25, 2023
Client.Matter: 38166 . 230394

   Date AttyDescription of Services                                                          Hours
4/26/23 JWT Interoffice conference with Coleman Torrans and Benjamin Kadden                    .20
            regarding
4/26/23 JWT Pulled Westlaw reports on                    .                                     .20
4/26/23 CLT Analysis of strategies to bring purchasers into compliance with pre-petition      1.40
            fuel purchase contracts
4/26/23 CLT Reviewed leases and fuel agreements; created tracking sheet for                   2.60
            operated stores
4/27/23 BWK Prepare and send lengthy document and information request to Debtors'             1.50
            professionals in connection with investigation of potential claims for relief
            against                      , and multiple follow-up emails regarding same.
4/27/23 BWK Multiple emails with counsel for Imperial, counsel for the Debtors, and the         .40
            client group regarding

4/27/23 BWK Receipt and review of the Notice of Continued 341 Meeting and calendar              .20
            same.
4/27/23 BWK Receipt and initial review of correspondence between Debtors' counsel and         1.80
            counsel for Imperial.
4/27/23 CLT Received emails from Debtors/counsel; coordinated with MG to sort, file             .90
            client materials.
4/27/23 CLT Docket review in chapter 11 case                                                    .60
4/28/23 BWK Further emails with counsel for Imperial, counsel for the Debtors, and the          .80
            client group regarding
4/28/23 BWK Receipt and review of emails and documents relating to                              .70
                                                 , and emails regarding
4/28/23 BWK Continued review and analysis of all contracts, correspondence and other          2.10
            documents relating to          , to analyze rights and remedies for

4/28/23 CLT      Reviewed notices of default, e-mails between counsel re                      2.60
                      ; updated tracking sheet for store compliance.
                 TOTALS                                                                      60.30


          TOTAL FEES:                                                                   $ 34,190.00

                                        TIME SUMMARY

Name                                                 Hours            Rate                    Total
Kadden, Ben W.                                       36.90          650.00                23,985.00
Torrans, Coleman L.                                  18.20          425.00                 7,735.00
Thurman, James (Jim)                                  5.20          475.00                 2,470.00
TOTALS                                               60.30                              $ 34,190.00




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                                 LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

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Client.Matter: 38166 . 230394




          TOTAL THIS INVOICE                                             $ 34,190.00




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               L UGENBUHL , W HEATON , P ECK , R ANKIN & H UBBARD
                                        A LAW CORPORATION
                                601 POYDRAS STREET, SUITE 2775
                              NEW ORLEANS, LOUISIANA         70130 -6041
                                            (504) 568-1990
                                          F.E.I. # XX-XXXXXXX




  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 292416
                                                                          May 25, 2023
____________________________________________________________________________________

                                     REMITTANCE ADVICE

For Professional Services Rendered Through April 30, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                             Total Fees                         $ 34,190.00
                             Total Expenses                           $ .00

                             TOTAL THIS INVOICE                 $ 34,190.00


       To insure proper credit to your account please return this remittance with your payment.


PLEASE REFERENCE CLIENT.MATTER # AND INVOICE NO. ON YOUR CHECK




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Task Report
April 7, 2023 to April 30, 2023
Mountain Express Oil Company

Date               SM/Task        Name                     Hrs     Rate            Amt Narrative
04/11/2023         B110           Kadden, Ben W.          0.80 $ 650.00 $       520.00 Preparatory call with Geoff Richards and Neil Lansing
                                                                                       regarding various case-related matters.
04/24/2023         B110           Thurman, James (Jim)    0.20 $ 475.00   $      95.00 Call with debtor's counsel regarding
04/27/2023         B110           Kadden, Ben W.          0.20 $ 650.00   $     130.00 Receipt and review of the Notice of Continued 341 Meeting
                                                                                       and calendar same.
04/07/2023         B120           Kadden, Ben W.          0.80 $ 650.00   $     520.00 Voicemail from and call with Ben Wallen regarding issues
                                                                                       with certain dealers.
04/07/2023         B120           Kadden, Ben W.          0.70 $ 650.00   $     455.00 Conference call with Ben Wallen, Jeff Dulberg, and Gregory
                                                                                       Demo regarding retention as special counsel to deal with
                                                                                       certain litigation matters relating to dealers that are failing to
                                                                                       pay rent and purchase gas.
04/07/2023         B120           Kadden, Ben W.          3.80 $ 650.00   $   2,470.00 Review case background and bankruptcy filings to determine
                                                                                       status of case and issues impacting potential litigation claims
                                                                                       of the Debtors.
04/10/2023         B120           Kadden, Ben W.          1.80 $ 650.00   $   1,170.00 Continue review of case background and bankruptcy filings
                                                                                       to determine status of case and issues impacting potential
                                                                                       litigation claims of the Debtors.
04/24/2023         B120           Thurman, James (Jim)    0.20 $ 475.00   $      95.00 Follow up meeting with Benjamin Kadden and Coleman
                                                                                       Torrans regarding
04/24/2023         B120           Thurman, James (Jim)    0.70 $ 475.00   $     332.50 Research regarding
                                                                                                                                .
04/25/2023         B120           Kadden, Ben W.          1.80 $ 650.00   $   1,170.00 Receipt of and begin to review contract documents relating to
                                                                                       the Debtors' relationship with

04/25/2023         B120           Kadden, Ben W.          0.80 $ 650.00   $    520.00 Multiple emails with counsel for the Debtor and Imperial
                                                                                      regarding

04/25/2023         B120           Thurman, James (Jim)    0.70 $ 475.00   $   332.50 Receipt and review of leases and fuel supply agreements.
04/26/2023         B120           Kadden, Ben W.          1.10 $ 650.00   $   715.00 Further emails with counsel for the Debtor and the Debtors'
                                                                                     representatives regarding ongoing disputes regarding
                                                                                     dealer/operator obligations.
04/26/2023         B120           Kadden, Ben W.          3.70 $ 650.00   $ 2,405.00 Continue extensive review of contract documents relating to
                                                                                     the Debtors' relationship with        and dealer/operator
                                                                                     issues and research
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04/26/2023   B120    Thurman, James (Jim)       0.50 $ 475.00     $    237.50 Conference call with Pachulski and debtors to discuss

04/26/2023   B120    Thurman, James (Jim)       0.20 $ 475.00     $      95.00 Interoffice conference with Coleman Torrans and Benjamin
                                                                               Kadden regarding
04/27/2023   B120    Kadden, Ben W.             0.40 $ 650.00     $     260.00 Multiple emails with counsel for Imperial, counsel for the
                                                                               Debtors, and the client group regarding
                                                                                                                     .
04/27/2023   B120    Kadden, Ben W.             1.80 $ 650.00     $   1,170.00 Receipt and initial review of correspondence between
                                                                               Debtors' counsel and counsel for Imperial.
04/27/2023   B120    Torrans, Coleman L.        0.90 $ 425.00     $     382.50 Received emails from Debtors/counsel; coordinated with MG
                                                                               to sort, file client materials.
04/28/2023   B120    Kadden, Ben W.             0.80 $ 650.00     $     520.00 Further emails with counsel for Imperial, counsel for the
                                                                               Debtors, and the client group regarding

04/28/2023   B120    Kadden, Ben W.             0.70 $ 650.00     $    455.00 Receipt and review of emails and documents relating to
                                                                                                                                          ,
                                                                             and emails regarding      .
04/28/2023   B120    Kadden, Ben W.             2.10 $ 650.00     $ 1,365.00 Continued review and analysis of all contracts,
                                                                             correspondence and other documents relating to                   to
                                                                             analyze rights and remedies for                                  .

04/28/2023   B120    Torrans, Coleman L.        2.60 $ 425.00     $ 1,105.00 Reviewed notices of default, e-mails between counsel re
                                                                                                     ; updated tracking sheet for store
                                                                             compliance.
04/25/2023   B130    Thurman, James (Jim)       1.30 $ 475.00     $   617.50 Additional research regarding

04/10/2023   B160    Torrans, Coleman L.        2.10   $ 425.00   $    892.50   Drafted application to retain LWPRH as special counsel
04/11/2023   B160    Kadden, Ben W.             0.70   $ 650.00   $    455.00   Work on engagement letter and employment application.
04/11/2023   B160    Torrans, Coleman L.        0.30   $ 425.00   $    127.50   Correspondence w/ Ben Kadden re engagement, forms.
04/12/2023   B160    Kadden, Ben W.             1.20   $ 650.00   $    780.00   Continue work on engagement agreement and retention
                                                                                application, and multiple emails regarding same.
04/12/2023   B160    Torrans, Coleman L.        0.40 $ 425.00     $    170.00   Emails with bankruptcy counsel re engagement
04/18/2023   B160    Kadden, Ben W.             0.70 $ 650.00     $    455.00   Receipt and review of the OCP Motion and emails/call with
                                                                                counsel regarding same.
04/18/2023   B185    Kadden, Ben W.             0.40 $ 650.00     $    260.00   Receipt and review of Samnosh, LLC's Motion to Compel
                                                                                Rejection, and emails with Ben Wallen regarding same.
04/20/2023   B185    Kadden, Ben W.             0.20 $ 650.00     $    130.00   Receipt and review of Samnosh LLC's Withdrawal of Motion
                                                                                to Compel Rejection of Executory Contract.
04/20/2023   B185    Kadden, Ben W.             0.60 $ 650.00     $    390.00   Receipt and review of the Debtors' Emergency First Omnibus
                                                                                Motion to Reject Certain Leases/Contracts and calendar
                                                                                hearing date.
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04/25/2023   B185    Torrans, Coleman L.        3.50 $ 425.00   $ 1,487.50 Analysis and research of means under Bankr. Code of
                                                                           bringing contract parties into compliance with fuel purchase
                                                                           contracts.
04/25/2023   B185    Torrans, Coleman L.        2.10 $ 425.00   $   892.50 Reviewed lease agreements, fuel purchase contracts
                                                                           between debtors and certain fuel purchasers
04/26/2023   B185    Torrans, Coleman L.        1.40 $ 425.00   $   595.00 Analysis of strategies to bring purchasers into compliance
                                                                           with pre-petition fuel purchase contracts
04/26/2023   B185    Torrans, Coleman L.        2.60 $ 425.00   $ 1,105.00 Reviewed leases and fuel agreements; created tracking sheet
                                                                           for             operated stores
04/10/2023   B190    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Emails and call with Debtors' counsel and client regarding
                                                                           initial litigation issues.
04/10/2023   B190    Torrans, Coleman L.        0.50 $ 425.00   $   212.50 Initial docket review
04/11/2023   B190    Kadden, Ben W.             0.30 $ 650.00   $   195.00 Conference call with Neil Lansing regarding
                                                                                    .
04/11/2023   B190    Kadden, Ben W.             1.20 $ 650.00   $   780.00 Multiple emails and calls with Pachulski and regarding
                                                                                                           .
04/12/2023   B190    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Multiple emails and calls with Pachulski and regarding


04/12/2023   B190    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Receipt and review of various filings relating to emergency
                                                                           motion set for hearing on April 12 on stay violation by Ada
                                                                           Coca-Cola.
04/12/2023   B190    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Participate telephonically in the hearing on the Debtors'
                                                                           Emergency Motion relating to the stay violation by Ada Coca-
                                                                           Cola.
04/12/2023   B190    Thurman, James (Jim)       0.50 $ 475.00   $   237.50 Monitored hearing on motion to enforce automatic stay
                                                                           against Coca-Cola.
04/12/2023   B190    Torrans, Coleman L.        0.30 $ 425.00   $   127.50 Attended stay violation hearing
04/13/2023   B190    Kadden, Ben W.             0.30 $ 650.00   $   195.00 Receipt and review of filings relating to the Cameron
                                                                           Transaction Motion.
04/13/2023   B190    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Receipt and review of filings relating to the Dealer
                                                                           Conversion Motion.
04/14/2023   B190    Thurman, James (Jim)       0.70 $ 475.00   $   332.50 Monitored hearings on transactions motions.
04/14/2023   B190    Torrans, Coleman L.        0.50 $ 425.00   $   212.50 Attended hearing before bankruptcy court.
04/24/2023   B190    Kadden, Ben W.             0.70 $ 650.00   $   455.00 Emails and call with Debtor's counsel regarding

04/24/2023   B190    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Review docket to determine status of various motions.
04/26/2023   B190    Thurman, James (Jim)       0.20 $ 475.00   $    95.00 Pulled Westlaw reports on                 .
                     Case23-90147
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                                                                    11/15/23 Page 11
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04/27/2023   B190    Kadden, Ben W.             1.50 $ 650.00   $   975.00 Prepare and send lengthy document and information request
                                                                           to Debtors' professionals in connection with investigation of
                                                                           potential claims for relief against                   , and
                                                                           multiple follow-up emails regarding same.

04/27/2023   B190    Torrans, Coleman L.        0.60 $ 425.00   $   255.00 Docket review in chapter 11 case
04/13/2023   B230    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Review docket entries relating to the upcoming Final DIP
                                                                           Hearing and update calendar accordingly.
04/18/2023   B230    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Receipt and review of filings relating to the Final DIP Order
                                                                           and the hearing on same to determine potential impact of
                                                                           dealer litigation issues on DIP financing issues.
04/25/2023   B230    Kadden, Ben W.             0.30 $ 650.00   $   195.00 Receipt and review of the Agenda for the Final DIP Hearing.

04/25/2023   B230    Kadden, Ben W.             1.70 $ 650.00   $ 1,105.00 Review pleadings relating to and participate telephonically in
                                                                           the Final DIP Hearing.
04/25/2023   B230    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Receipt and review of docket filings relating to cash collateral
                                                                           and DIP usage, including the proposed Final DIP Order.

04/25/2023   B230    Torrans, Coleman L.        0.40 $ 425.00   $    170.00 Attended DIP hearing.
04/26/2023   B230    Kadden, Ben W.             0.60 $ 650.00   $    390.00 Receipt and review of the Final DIP Order.
                                               60.30            $ 34,190.00
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Attorney Report
April 7, 2023 to April 30, 2023
Mountain Express Oil Company

Date               SM/Task        Name                     Hrs     Rate            Amt Narrative
04/11/2023         B110           Kadden, Ben W.          0.80 $ 650.00 $       520.00 Preparatory call with Geoff Richards and Neil Lansing
                                                                                       regarding various case-related matters.
04/27/2023         B110           Kadden, Ben W.          0.20 $ 650.00   $     130.00 Receipt and review of the Notice of Continued 341 Meeting
                                                                                       and calendar same.
04/07/2023         B120           Kadden, Ben W.          0.80 $ 650.00   $     520.00 Voicemail from and call with Ben Wallen regarding
                                                                                                             .
04/07/2023         B120           Kadden, Ben W.          0.70 $ 650.00   $     455.00 Conference call with Ben Wallen, Jeff Dulberg, and Gregory
                                                                                       Demo regarding retention as special counsel to deal with
                                                                                       certain litigation matters relating to dealers that are failing to
                                                                                       pay rent and purchase gas.
04/07/2023         B120           Kadden, Ben W.          3.80 $ 650.00   $   2,470.00 Review case background and bankruptcy filings to determine
                                                                                       status of case and issues impacting potential litigation claims
                                                                                       of the Debtors.
04/10/2023         B120           Kadden, Ben W.          1.80 $ 650.00   $   1,170.00 Continue review of case background and bankruptcy filings
                                                                                       to determine status of case and issues impacting potential
                                                                                       litigation claims of the Debtors.
04/25/2023         B120           Kadden, Ben W.          1.80 $ 650.00   $   1,170.00 Receipt of and begin to review contract documents relating to
                                                                                       the Debtors' relationship with

04/25/2023         B120           Kadden, Ben W.          0.80 $ 650.00   $    520.00 Multiple emails with counsel for the Debtor and Imperial
                                                                                      regarding ongoing disputes regarding

04/26/2023         B120           Kadden, Ben W.          1.10 $ 650.00   $   715.00 Further emails with counsel for the Debtor and the Debtors'
                                                                                     representatives regarding ongoing disputes regarding
                                                                                     dealer/operator obligations.
04/26/2023         B120           Kadden, Ben W.          3.70 $ 650.00   $ 2,405.00 Continue extensive review of contract documents relating to
                                                                                     the Debtors' relationship with         and dealer/operator
                                                                                     issues and research
                                                                                                                                .
04/27/2023         B120           Kadden, Ben W.          0.40 $ 650.00   $   260.00 Multiple emails with counsel for Imperial, counsel for the
                                                                                     Debtors, and the client group regarding

04/27/2023         B120           Kadden, Ben W.          1.80 $ 650.00   $ 1,170.00 Receipt and initial review of correspondence between
                                                                                     Debtors' counsel and counsel for Imperial.
                     Case23-90147
                    Case  23-90147 Document
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                                             525-1 Filed in TXSB on 06/14/23
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04/28/2023   B120    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Further emails with counsel for Imperial, counsel for the
                                                                           Debtors, and the client group regarding

04/28/2023   B120    Kadden, Ben W.             0.70 $ 650.00   $   455.00 Receipt and review of emails and documents relating to
                                                                                                                                       ,
                                                                           and emails regarding
04/28/2023   B120    Kadden, Ben W.             2.10 $ 650.00   $ 1,365.00 Continued review and analysis of all contracts,
                                                                           correspondence and other documents relating to                  to
                                                                           analyze rights and remedies for                                 .

04/11/2023   B160    Kadden, Ben W.             0.70 $ 650.00   $   455.00 Work on engagement letter and employment application.
04/12/2023   B160    Kadden, Ben W.             1.20 $ 650.00   $   780.00 Continue work on engagement agreement and retention
                                                                           application, and multiple emails regarding same.
04/18/2023   B160    Kadden, Ben W.             0.70 $ 650.00   $   455.00 Receipt and review of the OCP Motion and emails/call with
                                                                           counsel regarding same.
04/18/2023   B185    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Receipt and review of Samnosh, LLC's Motion to Compel
                                                                           Rejection, and emails with Ben Wallen regarding same.
04/20/2023   B185    Kadden, Ben W.             0.20 $ 650.00   $   130.00 Receipt and review of Samnosh LLC's Withdrawal of Motion
                                                                           to Compel Rejection of Executory Contract.
04/20/2023   B185    Kadden, Ben W.             0.60 $ 650.00   $   390.00 Receipt and review of the Debtors' Emergency First Omnibus
                                                                           Motion to Reject Certain Leases/Contracts and calendar
                                                                           hearing date.
04/10/2023   B190    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Emails and call with Debtors' counsel and client regarding
                                                                           initial litigation issues.
04/11/2023   B190    Kadden, Ben W.             0.30 $ 650.00   $   195.00 Conference call with Neil Lansing regarding
                                                                                    .
04/11/2023   B190    Kadden, Ben W.             1.20 $ 650.00   $   780.00 Multiple emails and calls with Pachulski and regarding

04/12/2023   B190    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Multiple emails and calls with Pachulski and regarding


04/12/2023   B190    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Receipt and review of various filings relating to emergency
                                                                           motion set for hearing on April 12 on stay violation by Ada
                                                                           Coca-Cola.
04/12/2023   B190    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Participate telephonically in the hearing on the Debtors'
                                                                           Emergency Motion relating to the stay violation by Ada Coca-
                                                                           Cola.
04/13/2023   B190    Kadden, Ben W.             0.30 $ 650.00   $   195.00 Receipt and review of filings relating to the Cameron
                                                                           Transaction Motion.
04/13/2023   B190    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Receipt and review of filings relating to the Dealer
                                                                           Conversion Motion.
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04/24/2023   B190    Kadden, Ben W.             0.70 $ 650.00   $   455.00 Emails and call with Debtor's counsel regarding

04/24/2023   B190    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Review docket to determine status of various motions.
04/27/2023   B190    Kadden, Ben W.             1.50 $ 650.00   $   975.00 Prepare and send lengthy document and information request
                                                                           to Debtors' professionals in connection with investigation of
                                                                           potential claims for relief against                   , and
                                                                           multiple follow-up emails regarding same.

04/13/2023   B230    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Review docket entries relating to the upcoming Final DIP
                                                                           Hearing and update calendar accordingly.
04/18/2023   B230    Kadden, Ben W.             0.80 $ 650.00   $   520.00 Receipt and review of filings relating to the Final DIP Order
                                                                           and the hearing on same to determine potential impact of
                                                                           dealer litigation issues on DIP financing issues.
04/25/2023   B230    Kadden, Ben W.             0.30 $ 650.00   $   195.00 Receipt and review of the Agenda for the Final DIP Hearing.

04/25/2023   B230    Kadden, Ben W.             1.70 $ 650.00   $ 1,105.00 Review pleadings relating to and participate telephonically in
                                                                           the Final DIP Hearing.
04/25/2023   B230    Kadden, Ben W.             0.40 $ 650.00   $   260.00 Receipt and review of docket filings relating to cash collateral
                                                                           and DIP usage, including the proposed Final DIP Order.

04/26/2023   B230    Kadden, Ben W.             0.60 $ 650.00   $   390.00 Receipt and review of the Final DIP Order.
04/24/2023   B110    Thurman, James (Jim)       0.20 $ 475.00   $    95.00 Call with debtor's counsel regarding dispute with Imperial.
04/24/2023   B120    Thurman, James (Jim)       0.20 $ 475.00   $    95.00 Follow up meeting with Benjamin Kadden and Coleman
                                                                           Torrans regarding
04/24/2023   B120    Thurman, James (Jim)       0.70 $ 475.00   $   332.50 Research regarding
                                                                                                                  .
04/25/2023   B120    Thurman, James (Jim)       0.70 $ 475.00   $   332.50 Receipt and review of leases and fuel supply agreements.
04/26/2023   B120    Thurman, James (Jim)       0.50 $ 475.00   $   237.50 Conference call with Pachulski and debtors to discuss
                                                                                             .
04/26/2023   B120    Thurman, James (Jim)       0.20 $ 475.00   $    95.00 Interoffice conference with Coleman Torrans and Benjamin
                                                                           Kadden regarding                  .
04/25/2023   B130    Thurman, James (Jim)       1.30 $ 475.00   $   617.50 Additional research regarding
                                                                                                                  .
04/12/2023   B190    Thurman, James (Jim)       0.50 $ 475.00   $   237.50 Monitored hearing on motion to enforce automatic stay
                                                                           against Coca-Cola.
04/14/2023   B190    Thurman, James (Jim)       0.70 $ 475.00   $   332.50 Monitored hearings on transactions motions.
04/26/2023   B190    Thurman, James (Jim)       0.20 $ 475.00   $    95.00 Pulled Westlaw reports on                  .
04/27/2023   B120    Torrans, Coleman L.        0.90 $ 425.00   $   382.50 Received emails from Debtors/counsel; coordinated with MG
                                                                           to sort, file client materials.
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04/28/2023   B120    Torrans, Coleman L.        2.60 $ 425.00     $ 1,105.00 Reviewed notices of default, e-mails between counsel re
                                                                                                        ; updated tracking sheet for store
                                                                              compliance.
04/10/2023   B160    Torrans, Coleman L.        2.10   $ 425.00   $    892.50 Drafted application to retain LWPRH as special counsel
04/11/2023   B160    Torrans, Coleman L.        0.30   $ 425.00   $    127.50 Correspondence w/ Ben Kadden re engagement, forms.
04/12/2023   B160    Torrans, Coleman L.        0.40   $ 425.00   $    170.00 Emails with bankruptcy counsel re engagement
04/25/2023   B185    Torrans, Coleman L.        3.50   $ 425.00   $ 1,487.50 Analysis and research of means under Bankr. Code of
                                                                              bringing contract parties into compliance with fuel purchase
                                                                              contracts.
04/25/2023   B185    Torrans, Coleman L.        2.10 $ 425.00     $    892.50 Reviewed lease agreements, fuel purchase contracts
                                                                              between debtors and certain fuel purchasers
04/26/2023   B185    Torrans, Coleman L.        1.40 $ 425.00     $    595.00 Analysis of strategies to bring purchasers into compliance
                                                                              with pre-petition fuel purchase contracts
04/26/2023   B185    Torrans, Coleman L.        2.60 $ 425.00     $ 1,105.00 Reviewed leases and fuel agreements; created tracking sheet
                                                                              for          operated stores
04/10/2023   B190    Torrans, Coleman L.        0.50   $ 425.00   $    212.50 Initial docket review
04/12/2023   B190    Torrans, Coleman L.        0.30   $ 425.00   $    127.50 Attended stay violation hearing
04/14/2023   B190    Torrans, Coleman L.        0.50   $ 425.00   $    212.50 Attended hearing before bankruptcy court.
04/27/2023   B190    Torrans, Coleman L.        0.60   $ 425.00   $    255.00 Docket review in chapter 11 case
04/25/2023   B230    Torrans, Coleman L.        0.40   $ 425.00   $    170.00 Attended DIP hearing.
                                               60.30              $ 34,190.00
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors.1                        (Jointly Administered)

              THIRD MONTHLY FEE STATEMENT OF LUGENBUHL, WHEATON,
                  PECK, RANKIN & HUBBARD FOR COMPENSATION FOR
                     SERVICES AND REIMBURSEMENT OF EXPENSES
                  AS SPECIAL LITIGATION COUNSEL TO THE DEBTORS
               FOR THE PERIOD FROM JUNE 1, 2023 THROUGH JUNE 30, 2023

             Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [Docket No. 408] (the “Compensation Order”),

Lugenbuhl, Wheaton, Peck, Rankin & Hubbard (“Lugenbuhl”), attorneys for the above-captioned

debtors and debtors in possession (the “Debtors”), submits this monthly statement (“Statement”)

of services rendered and expenses incurred in these Chapter 11 Cases for the period from June 1,

2023 through June 30, 2023 (the “Statement Period”).2

I.           Itemization of Services Rendered by Lugenbuhl:

             A.    The following is a list of individuals and their respective titles that provided

services during the Statement Period. It includes information regarding their respective billing

rates and the total number of hours spent by each individual providing services during the

Statement Period for which Lugenbuhl seeks compensation.


1     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.
2     One expense occurred and was invoiced in May of 2023. This expense is included in this June Monthly Fee
      Statement because it was not included in the May Monthly Fee Statement.
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                                           SUMMARY

                                    State of Bar
                      Position /                      Hourly                           Total
       Name                         Admission /                    Hours
                       Dept.                           Rate                         Compensation
                                       Year
  Benjamin W.       Managing        LA 2005
                                                     $650.00        137.60           $89,440.00
  Kadden            Shareholder     TX 2011
  Avery E.
                    Associate       LA 2022          $245.00            12.20         $2,989.00
  Autin
  Armand E.
                    Associate       LA 2010          $250.00              2.30          $575.00
  Samuels
  Coleman L.
                    Associate       LA 2019          $425.00        128.20           $54,485.00
  Torrans
  Jennifer E.
                    Counsel         LA 2012          $300.00              1.90          $570.00
  Barriere
  Ivy Johnson       Paralegal                        $150.00           .50              $75.00
  Total:                                                            282.70          $148,134.00

        B.     The time records of Lugenbuhl consisting of a daily breakdown of the time spent

by each person on each day are attached as Exhibit A to this Statement.

II.     Itemization of Services Rendered and Disbursements Incurred By Category

        The following itemization presents the services rendered by Lugenbuhl by Task

Categories, and provides a summary of disbursements incurred by category of disbursement.

               1.      Services Rendered

        The following services were rendered in the following Task Categories:

       SM/Task               Task Category                  Hours                Fees Earned
       B110         Case Administration                       14.00                  $6,467.50
       B120         Asset Analysis and Recovery               69.40                $32,691.00
       B130         Asset Disposition                          2.10                  $1,365.00
       B160         Fee/Employment Applications                9.00                 $ 3,289.50
       B185         Assumption/Rejection of                   31.10                $15,760.00
                    Leases/Contracts
       B190         Other Contested Matters                    133.30             $ 73,811.00
       B195         Non-Working Travel                           2.60               $1,690.00
       B210         Business Operations                         18.40              $11,510.00
       B230         Financing and Cash Collateral                1.20                 $510.00
       B250         Real Estate                                  1.30                 $845.00
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      B310            Claims Administration and                               .30              $195.00
                      Objections
                      Total                                              282.70           $148,134.00

        A detailed itemization of the services rendered in each of the above Task Categories is set

forth in Exhibit A.

                 2.      Disbursements Incurred

        The disbursements incurred by Lugenbuhl for this Statement are as follows:

            Expense Category                                       Total Expenses
            Veritext, Invoice 6587605 transcript of MLCJR taken on
                                                                         470.20
            05/16/233
            AT&T TeleConference Services, Invoice 306-005960
                                                                          10.90
            teleconference with Benjamin Kadden on 05/31/23
            AT&T TeleConference Services, Invoice 306-005960
                                                                           5.93
            teleconference with Benjamin Kadden on 05/25/23
            AT&T TeleConference Services, Invoice 306-005960
                                                                           8.56
            teleconference with Benjamin Kadden on 05/25/23
            AT&T TeleConference Services, Invoice 306-005960
                                                                           8.82
            teleconference with Benjamin Kadden on 05/23/23
            AT&T TeleConference Services, Invoice 306-005960               5.42
            teleconference with Benjamin Kadden on 05/15/23
            AT&T TeleConference Services, Invoice 306-005960
                                                                          12.98
            teleconference with Benjamin Kadden on 05/08/23
            AT&T TeleConference Services, Invoice 306-005960
            teleconference with Benjamin Kadden on 05/04/23                9.21
            01:58 pm
            AT&T TeleConference Services, Invoice 306-005960
            teleconference with Benjamin Kadden on 05/04/23               14.08
            10:29 AM
            U.S.B.C., Southern District of Texas, Invoice
                                                                         350.00
            AXXXXXXXX filing fee
            FedEx, Invoice 8-156-45659 Standard Overnight
                                                                          70.90
            Delivery on 05/31/23 to Kazi Omar Faruk Broadway
            Fuel Inc
            FedEx, Invoice 8-156-45659 Standard Overnight
                                                                          43.29
            Delivery on 05/31/23 to Panju Narang 575 Fuel Inc
            FedEx, Invoice 8-156-45659 Standard Overnight
                                                                          49.90
            Delivery on 05/31/23 to Manoj Narang VM Petro Inc


3   As noted above, while this expense occurred and was invoiced in May of 2023; this expense is included here
    because it was not included in the May Monthly Fee Statement.
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          Expense Category                                       Total Expenses
          FedEx, Invoice 8-156-45659 Standard Overnight
                                                                        43.29
          Delivery on 05/31/23 to Achla Duggal Prime Petro Inc
          FedEx, Invoice 8-156-45659 Standard Overnight
          Delivery on 05/31/23 to Rejeev Malhotra Cmmack Fuel           43.29
          Inc
          FedEx, Invoice 8-156-45659 Standard Overnight
                                                                        49.90
          Delivery on 05/31/23 to Jahirul Alam Riverdal Fuel Inc
          FedEx, Invoice 8-156-45659 Standard Overnight
                                                                        43.29
          Delivery on 05/31/23 to Suleyman Issi Yonkers Fuel Inc
          FedEx, Invoice 8-156-45659 Standard Overnight
                                                                        70.54
          Delivery on 05/31/23 to M&Y Pump Services, Inc
          FedEx, Invoice 8-156-45659 Standard Overnight
          Delivery on 05/31/23 Suleyman Issi, American 1 Gas,           43.29
          Inc
          Checkmate Investigative Services, Inc., Invoice 001398
                                                                       600.00
          fee for in depth bank records search
          Benjamin W. Kadden, Invoice 062023 airport parking,
          airfare, transportation, and meal to Houston, TX from
                                                                       696.16
          New Orleans, LA to attend Hearing on Show Cause
          Order on 06/20/23
          FedEx, Invoice 8-170-03146 Standard Overnight
          delivery on 05/31/23 to Varnder Nayar, Monto Food             43.29
          Mart, Inc
          FedEx, Invoice 8-170-03146 Express Saver delivery on          27.75
          06/15/23 to Benjamin W. Kadden
          U.S.B.C., Southern District of Texas, Invoice 5623546
                                                                       350.00
          filing fee
          Opus Legalis, LLC, Invoice 62423 work order 224630
          on 06/23/223 service on Sukhranjan Singh Multani, GSS        172.50
          Holdings LA
          Total                                                      $3,243.49

              3.     Accordingly, the amount of compensation and expenses payable for this
                     Statement Period is $121,750.69, which is calculated as follows:

         Total Fees for Services Rendered During Statement Period      $148,134.00
         Twenty Percent (20%) Holdback                                 ($ 29,626.80)
         Fees Minus Holdback                                           $118,507.20
         Costs (100%)                                                     $3,243.49
         TOTAL                                                         $121,750.69

       WHEREFORE, pursuant to the Interim Compensation Order, Lugenbuhl requests

payment of compensation in the amount of (i) $118,507.20 (80% of $148,134.00) on account of
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actual, reasonable and necessary professional services rendered to the Debtors by Lugenbuhl and

(ii) reimbursement of actual and necessary costs and expenses in the amount of $3,243.49 incurred

on behalf of the Debtors by Lugenbuhl.

                                         Respectfully submitted,

 Dated: July 18, 2023                    /s/ Benjamin W. Kadden
 New Orleans, LA                         LUGENBUHL, WHEATON, PECK, RANKIN &
                                         HUBBARD
                                         Benjamin W. Kadden (TX 24077542)
                                         Coleman L. Torrans (Pro Hac Vice)
                                         601 Poydras St., 27th Floor
                                         New Orleans, LA
                                         (t) 504.568.1990
                                         (f) 504.310.9195
                                         bkadden@lawla.com
                                         ctorrans@lawla.com

                                         Special Litigation Counsel to the Debtors and Debtors in
                                         Possession




                                CERTIFICATE OF SERVICE


       I hereby certify that on this 18th day of July, 2023, a true and correct copy of the above
and foregoing has been served on all parties that are registered to receive electronic transmission
through this Court’s CM/ECF filing system in these cases.


                                                     /s/ Benjamin W. Kadden
                                                     Benjamin W. Kadden
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                           Exhibit A
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               L UGENBUHL , W HEATON , P ECK , R ANKIN & H UBBARD
                                           A LAW CORPORATION
                                6 0 1 P O Y DR A S S T R E E T , S U I T E 2 7 7 5
                             NE W O R L E A NS , L O U I S I A NA    70130 -6041
                                              (504) 568-1990
                                           F.E.I. # XX-XXXXXXX



  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 296036
                                                                          July 11, 2023
____________________________________________________________________________________

                                     INVOICE SUMMARY

For Professional Services Rendered Through June 30, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                            Total Fees                               $ 148,134.00
                            Total Expenses                              $ 3,243.49

                            TOTAL THIS INVOICE                       $ 151,377.49

                            Prior Balance Outstanding                $ 144,784.50

                            TOTAL BALANCE DUE                        $ 296,161.99




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                                         LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 296036                                                                        July 11, 2023

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                                                 FEES

   Date Atty Description of Services                                                            Hours
6/01/23 BWK Emails and calls with client group and co-counsel regarding stay violations          1.20
             by certain            dealers and            .
6/01/23 BWK Review and revision of draft Complaint against               entities and emails     1.40
             with counsel and client group regarding same.
6/01/23 BWK Confirm no objections to the Lugenbuhl employment application and                      .40
             coordinate filing of Certificate of Counsel and updated Agreed Order on
             same.
6/01/23 BWK Emails/calls with co-counsel, client group and counsel              regarding        1.30
             pending defaults and potential resolution of same.
6/01/23 CLT Worked with client to prepare appendices for               complaint; damages        2.50
             calculations.
6/01/23 CLT Drafted            complaint.                                                        2.70
6/01/23 CLT Exchanged comments with co-counsel re                 complaint. Incorporated        2.60
             into draft.
6/01/23 CLT Worked with AA to confirm compliance with BLRs and to prepare cover                    .70
             sheet and summonses.
6/01/23 AEA Reviewed the draft complaint and checked SDTX local rules regarding                  1.30
             adversary proceedings
6/01/23 AEA Checked lease references throughout the draft complaint.                             1.40
6/01/23 AEA Located a recent adversary complaint filed before Judge Jones and sent to             .20
             Coleman Torrans and Ben Kadden.
6/01/23 AEA Contacted clerk of court regarding the adversary proceeding cover sheet.               .10
6/01/23 IXJ  Access East Baton Rouge Parish Clerk of Court database to search Debtor               .50
             and Non-Debtor Affiliate entities in civil records; download relevant
             pleadings; memo to Ben Kadden and Coleman Torrans regarding status.
6/02/23 BWK Continue review and revision of draft Complaint against                entities.     3.00
6/02/23 BWK Finalize and coordinate filing of the           Complaint.                            .80
6/02/23 BWK Multiple emails/calls with co-counsel, client group and counsel                       .80
             regarding pending defaults and potential resolution of same.
6/02/23 BWK Multiple emails/calls with client group and co-counsel regarding stay                2.30
             violations by certain dealers and           , and emails with co-counsel and
             client group regarding same.
6/02/23 BWK Multiple emails and calls with counsel for              as well as client group        .90
             and co-counsel, regarding ongoing defaults and impending litigation.
6/02/23 BWK Emails with client group and co-counsel regarding the pending Motion to                .30
             Compel Rejection by              and issues relating to same.
6/02/23 BWK Emails with client and counsel for BRVictory regarding credit card                     .30
             settlement issues.


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6/02/23 BWK Multiple emails and calls with counsel for           co-counsel, and client        1.30
            group regarding the potential impact of the            defaults on
6/02/23 BWK Receipt and review of emails from counsel f            regarding insurance           .30
            issues and emails with co-counsel regarding same.
6/02/23 CLT Filed complaint against Imperial.                                                   .30
6/02/23 CLT Coordinated summons, service of Imperial complaint with AA.                         .50
6/02/23 CLT Emails, phone calls with company, co-counsel re branding issue.                    1.90
6/02/23 CLT Research re enforcement of automatic stay.                                         4.10
6/02/23 AEA Located registered agent names and addresses for the NY and OK entities             .30
6/02/23 AEA Drafted summonses for each of the named defendants.                                 .80
6/03/23 CLT Drafted emergency motion to enforce automatic stay.                                8.20
6/04/23 CLT Drafted emergency motion to enforce automatic stay.                                8.10
6/05/23 BWK Further emails/calls with client group and co-counsel regarding stay               2.00
            violations by certain dealers and           .
6/05/23 BWK Multiple emails and calls with client group regarding           branding and         .90
            debranding issues.
6/05/23 BWK Emails with co-counsel and counsel             regarding the missing                 .60
            paperwork needed for processing credit card settlements.
6/05/23 BWK Review and comment on the Stay Violation Motion to be filed against                2.20
                                          , and coordinate filing of same.
6/05/23 BWK Emails with client group, co-counsel, and counsel             regarding              .30
            additional payment defaults, including June rent.
6/05/23 BWK Review and revise draft summons for the Imperial adversary proceeding, and           .70
            file same.
6/05/23 BWK Receipt and review of demand letter from counsel                      regarding      .30
            past due amount due by                                 .
6/05/23 BWK Participate in bi-weekly professionals conference.                                   .50
6/05/23 BWK Follow-up emails with counsel for the dealer at Store 906.                           .30
6/05/23 BWK Conference call with FTI and Pachulski regarding various litigation matters.         .30
6/05/23 BWK Emails with counsel regarding timing and logistics for the hearing on                .30
                                                     .
6/05/23 CLT Coordinated filings and service for Imperial complaint.                             .30
6/05/23 CLT Calls, emails with company representatives regarding facts underlying stay         2.10
            enforcement mtn.
6/05/23 CLT Coordinated service of emergency stay enforcement motion with KCC.                  .50
6/05/23 CLT Redrafted stay enforcement motion. Incorporated edits from Ben Kadden,             6.70
            client, co-counsel to draft.
6/06/23 BWK Multiple follow-up emails with client group and counsel regarding the VM           1.50
            Petro emergency stay motion, including the need for declarations by MEX
            and MVI personnel regarding ongoing stay violations.
6/06/23 BWK Coordinate with counsel and Kroll on service of the Emergency Stay Motion            .30
            involving VM Petro.
6/06/23 BWK Emails with client group and counsel regarding failure by                            .30
                          to pay rent for June.


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6/06/23 BWK Follow-up emails with co-counsel and counsel           regarding store-             .30
            specific financial data and additional paperwork needed for settlements.
6/06/23 BWK Receipt and review of the Summons in the Imperial litigation, coordinate            .30
            service of the Complaint, and calendar responsive pleading deadline.
6/06/23 BWK Multiple emails with client group and counsel regarding defaults by                 .30
                  .
6/06/23 CLT Emails coordinating mail service of emergency filings with KCC.                    .50
6/06/23 CLT Drafted declarations in support of emergency relief motion; emails with           3.20
            client and co-counsel re same.
6/06/23 CLT Docket review.                                                                     .40
6/06/23 CLT Reviewed evidence from client demonstrating stay violations.                      1.60
6/07/23 BWK Further emails and calls with client group and co-counsel regarding the           1.30
            ongoing stay violations by                                             and
            preparation for a hearing on the Debtor's Emergency Motion to Enforce Stay.
6/07/23 BWK Further review of Samnosh's Motion to Compel Rejection and continue               2.10
            researching relevant issues.
6/07/23 BWK Review and revise proposed declarations in support of the Emergency                 .90
            Motion to Enforce Stay and coordinate filing of same.
6/07/23 BWK Multiple follow-up emails client group and counsel regarding defaults by            .60

6/07/23 BWK Emails with counsel in the Paradise Shops litigation regarding status of            .30
            litigation and effect of the automatic stay.
6/07/23 BWK Emails and call with Lisa C. from MVI regarding the                  refusal to     .30
            allow access to MVI to conduct inspections and testing of underground tanks.
6/07/23 BWK Multiple emails and calls with counsel                 and client group             .50
            regarding               demand for payment of pre-petition amounts.
6/07/23 BWK Multiple follow-up emails with client group and             counsel regarding       .50
            de-branding of           stores operated by         entities.
6/07/23 BWK Emails and call with counsel for               regarding current payment            .80
            defaults and broader legal and contractual issues.
6/07/23 BWK Emails with counsel             and co-counsel regarding payment issues.           .30
6/07/23 CLT Drafted declarations in support of emergency relief motion; emails with           2.90
            client and co-counsel re same.
6/07/23 CLT Updated exhibit tracking payment received from NY dealers.                        1.20
6/07/23 CLT Coordinated filing, service of declaration of Jay Lally.                           .50
6/07/23 CLT Drafted objection to Samnosh's motion to compel.                                  3.60
6/08/23 BWK Follow-up emails and call with counsel for                regarding current       1.00
            payment defaults and broader legal and contractual issues.
6/08/23 BWK Multiple emails/calls with client group and co-counsel regarding the ongoing      2.80
            stay violations by                                              and preparation
            for a hearing on the Debtor's Emergency Motion to Enforce Stay.
6/08/23 BWK Emails with counsel and Lisa C. with MVI regarding a declaration in support         .30
            of the Emergency Stay Motion.
6/08/23 BWK Voicemail from and emails/calls with counsel for six NY dealers regarding           .30


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            ongoing stay violations and breaches of their FSA's.
6/08/23 BWK Emails with M&Y regarding ongoing stay violations in NY on account of                .30
            removal of credit card systems and black boxes.
6/08/23 BWK Further emails with client group and               counsel regarding de-branding     .80
            of        stores operated by             entities.
6/08/23 BWK Continued review of client documents to prepare response to of Samnosh's           2.10
            Motion to Compel Rejection and researching relevant issues.
6/08/23 BWK Emails with counsel                            regarding payment and credit card     .30
            issues.
6/08/23 BWK Review and revise the draft Objection to Samnosh's Motion to Compel                1.30
            Rejection, and emails with client group and co-counsel regarding same.
6/08/23 BWK Emails with counsel             regarding alleged violations of the license        1.30
            agreement and related agreements, and begin reviewing relevant documents.
6/08/23 CLT Phone call with JE, counsel for NY Dealers re stay violations.                       .30
6/08/23 CLT Emails with attorney team re NY Dealers' counsel's response to stay                  .30
            violations.
6/08/23 CLT Drafted opposition to Samnosh's MTC.                                               7.10
6/08/23 CLT Shepherdized citations in Samnosh opposition.                                       .60
6/08/23 CLT Email to M&Y regarding stay violation motion.                                       .20
6/08/23 CLT Edited opposition to Samnosh's MTC.                                                2.40
6/09/23 BWK Emails with counsel           , co-counsel, and client group regarding ongoing      .60
                          .
6/09/23 BWK Continued review/revision of the draft Objection to Samnosh's Motion to            2.00
            Compel Rejection, and further emails with client group and co-counsel
            regarding same.
6/09/23 BWK Emails with counsel and review documents relating to personal guaranties by          .30
            individual owners of dealer entities.
6/09/23 BWK Emails/calls with client group and co-counsel regarding the ongoing stay             .40
            violations by                       , as well as partial payments by same for
            fuel.
6/09/23 BWK Follow-up emails with Lisa C. regarding inspection issues relating to the            .30
                    .
6/09/23 BWK Multiple emails with counsel for                 , co-counsel, and client group      .80
            regarding ongoing defaults and potential resolution.
6/09/23 AS  Analyzed lease; accessed La SOS to run entity; accessed Tangipahoa land            1.10
            records to run asset search; accessed Tangipahoa tax assessor to confirm
            homestead exemptions; drafted asset analysis for Coleman Torran's review.
6/09/23 CLT Emails with counsel for Ben Kadden and counsel for VM Petro.                        .30
6/09/23 CLT Filed objection to Samnosh's MTC.                                                   .40
6/09/23 CLT Phone call with JD; Incorporated comments from JD.                                  .30
6/09/23 CLT Incorporated comments from Ben Kadden, co-counsel to opp. to Samnosh's             2.70
            motion.
6/09/23 CLT Phone calls, emails with client and attorney group re stay enforcement               .90
            motion against NY Dealers.


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6/09/23 CLT       Drafted, circulated declaration of MVI; emails with MVI representative re         2.10
                  same.
6/11/23 BWK       Multiple emails with counsel for VM Petro, co-counsel, and client group             .80
                  regarding VM Petro's withdrawal of its demand for payment of pre-petition
                  amounts and next steps relating to the Emergency Stay Motion.
6/12/23 BWK       Review and comment on draft Declaration by Lisa Ciotoli in support of               .60
                  Emergency Motion to Enforce Stay Against NY Dealers, and calls/emails
                  regarding the upcoming hearing on June 20.
6/12/23 BWK       Emails and calls with chambers and co-counsel regarding setting a hearing on        .30
                  the Samnosh Motion to Compel Rejection.
6/12/23 BWK       Receipt and review of the Order Granting Lugenbuhl's Employment                     .20
                  Application, and coordinate service of same.
6/12/23 BWK       Emails with counsel regarding investigation of potential assets held          .     .30
6/12/23 BWK       Receipt and review of the Order setting emergency hearing on the Stay               .70
                  Violation Motion, and emails with counsel and client group regarding same.
6/12/23 AS        Submitted asset search forms to Checkmate services.                                .20
6/12/23 AS        Analyzed invoices, emails, and AR; drafted demand letter.                          .70
6/12/23 CLT       Review of environmental inspection report re NY Dealers' properties;              2.10
                  communications with MVI, Debtors, and co-counsel re same. Edits to related
                  MVI declaration.
6/12/23    CLT    Docket review, calendaring.                                                        .50
6/12/23    CLT    Emails with KCC coordinating service of multiple filings.                          .40
6/12/23    CLT    Emails with co-counsel re emergency hearing; witness preparation.                 1.20
6/12/23    CLT    Emails with UCC counsel re hearing; pending requests for relief.                   .30
6/13/23    BWK    Multiple emails with client group and counsel regarding preparation for            .70
                  hearing on Emergency Stay Enforcement Motion.
6/13/23 BWK       Emails regarding preparation of Lugenbuhl's First Monthly Fee Statement for         .20
                  April 2023.
6/13/23 BWK       Receipt and review of executed summons for service of Complaint on all              .30
                  Imperial entities, and coordinate filing of same.
6/13/23 BWK       Multiple emails with counsel for VM Petro, co-counsel and client group              .80
                  regarding its withdrawal of the demand for prepetition amounts and the effect
                  of same on the pending emergency motion.
6/13/23 BWK       Follow-up emails with Lisa C. from MVI regarding additional inspection              .30
                  issues relating to the 6 New York dealers subject to the stay motion and the
                  need to prepare and file an updated declaration to reflect additional issues.
6/13/23 BWK       Receipt, review and comment on the draft of Lugenbuhl's First Monthly Fee           .50
                  Statement.
6/13/23    CLT    Created, filed PHV app.                                                            .30
6/13/23    CLT    Filed executed returns for summonses in Imperial adversary proceeding.             .40
6/13/23    CLT    Drafted declaration of Coleman Torrans in support of Stay Violation motion.       1.60
6/13/23    CLT    Emails Ben Kadden, Debtor and witnesses, call with Daniel Turcot regarding        1.60
                  preparation for emergency stay relief hearing, impact of in-person hearing on
                  debtors, travel arrangements, et et.


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6/13/23 CLT      Attended DIP hearing.                                                              1.20
6/13/23 CLT      Prepared exhibits for interim fee application; prepared application for filing.     .60
6/13/23 CLT      Investigation of             involvement in stay violations; emails with co-        .50
                 counsel, client re same.
6/13/23 AEA      Reviewed BIMs and drafted the April fee app                                        1.60
6/13/23 AEA      Reviewed April final fee application draft.                                         .50
6/14/23 BWK      Multiple emails with calls and emails with client group, co-counsel, and           1.80
                 counsel           regarding additional payment and performance defaults.
6/14/23 BWK      Further emails and calls with client group and counsel regarding preparation         .80
                 for hearing on Emergency Stay Enforcement Motion, including witness and
                 exhibit preparation.
6/14/23 BWK      Review and revise final draft of Lugenbuhl's First Monthly Fee Statement,            .80
                 and file same.
6/14/23 BWK      Receipt, review and revise draft Declaration by Coleman Torrans in Support           .80
                 of Emergency Stay Motion, and file same.
6/14/23 CLT      Phone calls, emails with co-counsel re presentation of evidence at emergency         .60
                 hearing.
6/14/23 CLT      Docket review, calendaring.                                                          .50
6/14/23 CLT      Worked with AA, BW to appropriately modify first interim fee app. to                 .40
                 protect privileged information.
6/14/23 CLT      Emails with client, co-counsel, Ben Kadden, regarding improper use of Cash           .50
                 Collateral readers         .
6/14/23 CLT      Reviewed client materials regarding        leases and supply agreements.           2.10
6/14/23 AEA      Reviewed redacted time entries and applied to the task report and attorney         1.20
                 report
6/15/23 BWK      Emails with counsel for Paradise Shops regarding the pending litigation in           .30
                 EDLA.
6/15/23 BWK      Calls and emails with client group and co-counsel regarding preparation for        1.70
                 the hearing on the Emergency Stay Violation Motion.
6/15/23 BWK      Participate in bi-weekly professionals' call.                                       .50
6/15/23 BWK      Work on draft Witness and Exhibit List for hearing on Emergency Stay               3.00
                 Motion and gather relevant exhibits, and emails regarding same.
6/15/23 BWK      Multiple emails and calls with client group, FTI and co-counsel regarding            .80
                                issues.
6/15/23 BWK      Receipt and review of Samnosh's counsel's response to company demand                 .30
                 letter.
6/15/23 BWK      Emails with client group and counsel regarding Samnosh issues.                       .60
6/15/23 BWK      Receipt and review of Samnosh's Proof of Claim.                                      .30
6/15/23 CLT      Coordinated with witnesses regarding inspections of NY dealer sites, witness         .50
                 travel.
6/15/23 CLT      Receipt and review of Samnosh response to notice of default; emails with             .50
                 attorney team re same.
6/15/23 CLT      Emails with counsel for M&Y, co-counsel re motion to appear by video                 .50
                 conference.


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6/15/23 CLT      Emails with Ben Kadden, co-counsel re preparation for emergency hearing          .70
                 for stay enforcement relief.
6/16/23 BWK      Multiple emails and calls with client group, FTI and co-counsel regarding        .30
                                 issues.
6/16/23 BWK      Further calls and emails with client group and co-counsel regarding            2.00
                 preparation for the hearing on the Emergency Stay Violation Motion.
6/16/23 BWK      Continue work on draft Witness and Exhibit List for hearing on Emergency       1.60
                 Stay Motion and gather relevant exhibits, and emails regarding same.
6/16/23 BWK      Emails and conference call with counsel for Paradies regarding pending           .50
                 litigation issues and potential for resolution of same.
6/16/23 BWK      Multiple emails and call with counsel for VM Petro regarding its proposed        .50
                 emergency motion for relief from the Show Cause Order.
6/16/23 BWK      Finalize, file and serve Witness & Exhibit List for Show Cause Hearing.          .80
6/16/23 BWK      Receipt and review of VM Petro's Motion for Video Appearance, and share          .40
                 same with client group and co-counsel.
6/16/23 BWK      Receipt and review of NY Dealer's response, and share same with client           .40
                 group and co-counsel.
6/16/23 AS       Analyzed the checkmate asset report.                                            .20
6/16/23 CLT      Coordinated service of W&E List for emergency hearing.                          .40
6/17/23 BWK      Multiple emails and calls with co-counsel and witnesses for Show Cause         3.00
                 Hearing regarding logistics and preparation for hearing on 6/20.
6/17/23 BWK      Review all relevant pleadings and exhibits and prepare oral argument and       1.80
                 witness examinations.
6/17/23 BWK      Emails with counsel for VM Petro regarding its emergency motion and the          .30
                 upcoming hearing.
6/17/23 BWK      Receipt and review of VM Petro's updated emergency motion, and emails            .30
                 with co-counsel and client regarding same.
6/17/23 BWK      Emails with client group and co-counsel regarding delivery of fuel to NY         .30
                 Dealers post-petition.
6/17/23 BWK      Receipt and review of bank records searches for                        .         .30
6/17/23 BWK      Receipt, review and analyze Debtors' Bid Procedures Motion to determine          .50
                 relationship with various dealer-specific issues.
6/17/23 CLT      Coordinated with KCC re filing of COS.                                           .20
6/19/23 BWK      Further emails/calls with client group, co-counsel, and witnesses for Show       .90
                 Cause Hearing regarding logistics and preparation for the Show Cause
                 Hearing on 6/20.
6/19/23 BWK      Review all relevant pleadings and exhibits and prepare oral argument and       1.30
                 witness examinations.
6/19/23 BWK      Participate in bi-weekly video conference with professionals regarding           .80
                 various litigation matters.
6/19/23 AS       Analyzed pre-checkmate asset search and uploaded to client file.                 .10
6/19/23 CLT      Drafted form W&E list for Samnosh hearing; coordinated with Pachulski            .40
                 team re same via email.
6/19/23 CLT      Coordinated with AA to develop tracking sheet of fee expenses regarding          .30


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                 actions to enforce automatic stay with respect to NY dealers.
6/19/23 CLT      Requested and received from client FSAs and leases re                  store in     .30
                 MS.
6/19/23 CLT      Reviewed                   and contractual amendments; created Excel              4.10
                 workbook tracking information regarding each                   store.
6/19/23 AEA      Reviewed all billing through mid June and created an excel spreadsheet to         1.30
                 show total billing related to the potential stay violations
6/20/23 BWK      Calls, emails and meetings with witnesses to prepare for Show Cause               1.30
                 hearing.
6/20/23 BWK      Travel to and from Houston for emergency Show Cause Hearing. Travel               2.60
                 charged at ½ of actual time.
6/20/23 BWK      Continue review/revision of oral argument and witness testimony outlines for      4.30
                 Show Cause Hearing and prepare witnesses.
6/20/23 BWK      Multiple emails and calls with counsel for M & Y, client group, and co-           1.50
                 counsel regarding the pending Show Cause Hearing and issues impacting M
                 & Y.
6/20/23 BWK      Multiple emails and calls with co-counsel and client group regarding issues         .60
                 involving            forthcoming litigation relating to same.
6/20/23 BWK      Attend hearing on Order to Show Cause, and follow-up emails regarding             1.80
                 same.
6/20/23 BWK      Receipt and review of Samnosh's Motion to Withdraw its Motion to Compel,            .50
                 and emails with co-counsel, opposing counsel, and Court's chambers
                 regarding same.
6/20/23 BWK      Follow-up emails with co-counsel and counsel for                regarding           .30
                 ongoing issues and potential resolution of same.
6/20/23 BWK      Emails with counsel             and co-counsel regarding bid procedures and         .30
                 license agreement issues.
6/20/23 CLT      Emails with Daniel Turcot regarding data required for calculated damages            .80
                                 . Received and reviewed excel sheets.
6/20/23 CLT      Drafted adversary complaint against GSS.                                          4.50
6/21/23 BWK      Multiple emails and calls with client group and co-counsel regarding post-        1.50
                 hearing issues relating to the need to submit an updated Order to Show Cause
                 and work on same.
6/21/23 BWK      Emails/calls with client group and co-counsel regarding drafting of GSS             .80
                 Complaint, including the calculation of damages.
6/21/23 BWK      Review existing Show Cause Order, and prepare updated draft of Show               1.00
                 Cause Order to address the issues discussed during the 6/20/23 hearing.
6/21/23 BWK      Emails and call with counsel regarding the hearing on Samnosh's Motion to           .30
                 Compel Rejection.
6/21/23 BWK      Emails with client group and co-counsel regarding Imperial store issues.           .30
6/21/23 BWK      Receipt, review and comment on the draft Agenda for the hearing on 6/22.           .30
6/21/23 BWK      Review and revise draft GSS Complaint and associated summons and cover            1.20
                 sheet, and coordinate filing of same.
6/21/23 CLT      Drafted adversary complaint against GSS.                                          6.10


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6/21/23 CLT      Worked with staff, AA, to draft cover sheet, request for summons for GSS           .60
                 complaint.
6/21/23 CLT      Solicited and exchanged comments with client, Pachulski team, re GSS               .40
                 complaint.
6/21/23    CLT   Received incorporated comments from Ben Kadden to GSS draft complaint.            .40
6/21/23    CLT   Created appendices for GSS complaint.                                             .90
6/21/23    AEA   Drafted cover sheet for the complaint                                             .40
6/21/23    AEA   Drafted the summonses.                                                            .80
6/21/23    AEA   Reviewed the draft Complaint and gave comments to Coleman Torrans.               1.30
6/22/23    BWK   Emails/calls with client group and co-counsel regarding the operation of the      .30
                                     stores during the pendency of litigation.
6/22/23 BWK      Emails and calls with court, client group and process server regarding service     .30
                 of the GSS summons.
6/22/23 BWK      Emails and call with co-counsel and counsel for GSS regarding the pending          .30
                 lawsuit and next steps in terms of commercial discussions.
6/22/23 BWK      Receipt and review of correspondence and documents relating to potential           .60
                 claims by BFM against the Debtors under the License Agreement, and emails
                 with co-counsel and opposing counsel regarding same.
6/22/23 BWK      Receipt and review of various objections to the Bidding Procedures Motion,       1.30
                 and analyze for impact on or from dealer litigation.
6/22/23 BWK      Receipt and review of the Notice and Order regarding exchanging of exhibits        .30
                 and witness lists in the GSS adversary.
6/22/23 BWK      Emails and calls with client group and co-counsel regarding continuing             .50
                 operation of the Imperial stores.
6/22/23 BWK      Review                                and analyze potential turnover claims.       .50
6/22/23 BWK      Review Samnosh filings and prepare for hearing on Motion to Compel                 .80
                 Rejection.
6/22/23 BWK      Participate in hearing on various contested matters.                             2.50
6/22/23 BWK      Receipt of summons in the GSS litigation and coordinate service.                  .30
6/22/23 BWK      Receipt and review of the Supplemental Order to Appear and Show Cause,            .30
                 and coordinate service of same by KCC.
6/22/23 BWK      Multiple emails and calls with Lisa C., Jay L., and client group regarding the     .30
                 subsequent Show Cause Hearing on 6/29.
6/22/23 BWK      Emails with client group and co-counsel regarding outcome of the hearing on        .30
                 the Samnosh Motion to Compel Rejection.
6/22/23 JEB      Strategize with Coleman Torrans whether can move for                               .60
                           ; send caselaw as to same.
6/22/23 CLT      Attended hearing on Samnosh's motion to compel rejection, bid procedures.        1.90
6/22/23 CLT      Emails with Ben Kadden, counsel for GSS, re complaint, Debtor's intentions        .40
                 re operating stores.
6/22/23 CLT      Emails with staff, client, coordinating personal service of GSS complaint,         .30
                 summons.
6/22/23 CLT      Emails with staff coordinating issuance of summonses.                              .30
6/22/23 CLT      Docket review.                                                                     .40


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6/22/23 CLT      Reviewed               , created summary of provisions regarding termination,       1.20
                 default, remedy.
6/23/23 BWK      Conference call, calls, and emails client group and co-counsel regarding the        1.30
                 operation of the                     stores during the pendency of litigation.
6/23/23 BWK      Follow-up emails with co-counsel regarding outcome of the hearing on the              .30
                 Samnosh Motion to Compel Rejection and go-forward strategy.
6/23/23 BWK      Emails with counsel for NY Dealers regarding the Supplemental Order to                .30
                 Show Cause and the hearing on 6/29/23.
6/23/23 BWK      Multiple emails with co-counsel and RJ regarding potential interest by                .60
                 in bidding process and status of pending litigation.
6/23/23 BWK      Emails and calls with counsel for NY Dealers, Lisa C., and client group               .70
                 regarding compliance inspections at 4 of the 6 subject dealers.
6/23/23 JEB      Meet with Benjamin Kadden regarding law on termination of lease and                   .70
                 acceleration of rent; evaluate and analyze caselaw as to same.
6/23/23    CLT   Call with MEX, professionals, re adversary proceedings.                              .60
6/23/23    CLT   Received and reviewed n                    forms from Jennifer Barriere.             .50
6/23/23    CLT   Researched, drafted memo on lessor remedies under LA law.                           6.50
6/25/23    CLT   Researched, drafted memo on lessor remedies under LA law.                           3.30
6/26/23    BWK   Multiple emails and calls with co-counsel, client group and counsel for NY          1.00
                 Dealers regarding compliance inspections at 4 of the 6 subject dealers.
6/26/23 BWK      Multiple emails and calls with co-counsel, client group and counsel for NY            .90
                 Dealers regarding potential for restoration of credit card networks and
                 blackboxes.
6/26/23 BWK      Further calls/emails with co-counsel and RJ regarding potential interest by           .30
                        in bidding process and status of pending litigation.
6/26/23 BWK      Further call/emails client group, co-counsel, and opposing counsel regarding        1.20
                 the operation of the                     stores during the pendency of
                 litigation.
6/26/23 BWK      Participate on bi-weekly professionals conference.                                   .80
6/26/23 BWK      Review and revise draft Memo re:                               in the Louisiana,    2.10
                 and emails regarding impact of research                      .
6/26/23 JEB      Review email from Coleman Torrans as to proposed conversations with new               .20
                 operators and respond to same.
6/26/23    JEB   Review and analyze proposed memorandum by Coleman Torrans.                           .40
6/26/23    CLT   Email with MEX's counsel re Samnosh objection.                                       .20
6/26/23    CLT   Analysis of                   available under LA law.                                .40
6/26/23    CLT   Reviewed BFM petitions; drafted summary and circulated to Ben Kadden.               1.20
6/27/23    BWK   Continue review of BFM transaction documents and correspondence, and                1.30
                 emails and calls with co-counsel and RJ regarding potential interest by
                 in bidding process and status of pending litigation.
6/27/23 BWK      Further emails/calls with co-counsel, client group and counsel for NY               2.00
                 Dealers regarding compliance inspections and restoration of credit card
                 systems and blackboxes and the upcoming hearing.
6/27/23 BWK      Review and revise Witness & Exhibit List for the supplemental show cause              .60


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            hearing and coordinate filing of same.
6/27/23 BWK Emails and calls with client group, opposing counsel, and co-counsel                .90
            regarding            dealer issues.
6/27/23 BWK Emails with co-counsel, client group and counsel for GSS regarding                  .50
                 issues.
6/27/23 BWK Receipt and review of letter and emails regarding        debranding effort.         .30
6/27/23 BWK Emails with counsel for                  and co-counsel regarding form and          .20
            substance of the Vendor Request Form.
6/27/23 BWK Emails with client group and co-counsel regarding continuing Samnosh                .30
            defaults.
6/27/23 BWK Coordinate with Court and counsel on proposed continuance of the Show             1.30
            Cause Hearing, and prepare emergency motion relating to same.
6/27/23 BWK Follow-up emails with counsel for landlord at                        and            .30
            emails with client group regarding same.
6/27/23 BWK Emails with MVI regarding completion of the inspections at all 6 New York           .30
            stores and emails with counsel for NY Dealers regarding same and next
            steps.
6/27/23 BWK Review and revise Emergency Motion to Reset Show Cause Hearing, and                 .80
            emails with counsel regarding same.
6/27/23 CLT Emails with Ben Kadden, debtor, co-counsel re         compliance resolution.        .40
6/28/23 BWK Emails with counsel for the NY dealers regarding form and substance of the          .30
            Emergency Motion to Continue Show Cause Hearing.
6/28/23 BWK Finalize, file and serve the Emergency Motion to Continue Show Cause              1.30
            Hearing, and emails with co-counsel, client group, and opposing counsel
            regarding same.
6/28/23 BWK Emails with counsel for Imperial dealers regarding ongoing breaches and the         .30
            pending litigation.
6/28/23 BWK Emails with client group and counsel for        regarding Notice of Violations      .30
            and associated Notice of Hearing relating to Store
                   .
6/28/23 BWK Emails and calls with counsel for NY dealers, client group, and co-counsel        1.20
            regarding restoration of credit card systems and blackboxes, and additional
            breaches.
6/28/23 BWK Receipt and review of the Order Resetting the Show Cause Hearing,                   .60
            coordinate with KCC on service, and emails with client group and co-counsel
            regarding same.
6/28/23 CLT Emails with Ben Kadden, debtor regarding restoration of CC systems at NY            .80
            dealer site.
6/29/23 BWK Multiple follow-up emails/calls with client group, M & Y, and NY dealer's         1.20
            counsel regarding restoration of credit card systems and blackboxes, and
            additional breaches.
6/29/23 BWK Receipt and review of Stipulation between the Debtors and DIP Lenders               .30
            regarding financing issues.
6/29/23 BWK Receipt and review of the Notice of Default from                           ,        .40


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                 and emails with co-counsel and opposing counsel regarding same.
6/29/23    BWK   Participate remotely in status conference.                                           .50
6/29/23    BWK   Prepare and send lengthy litigation summary email to co-counsel.                     .60
6/29/23    BWK   Follow-up emails with counsel and client group regarding GSS litigation.             .30
6/29/23    CLT   Emails with Ben Kadden, counsel for NY dealers regarding restoration of CC           .30
                 systems.
6/29/23 AEA      Reviewed time entries for consistency                                               1.00
6/30/23 BWK      Multiple emails and calls regarding rolling restoration of credit card networks      .80
                 and blackboxes at the six NY sites.
6/30/23 BWK      Extensive emails with counsel for Imperial, co-counsel and the client group         1.40
                 regarding the abandonment of Store No.        and potential compliance and
                 inspection issues.
6/30/23 BWK      Emails with co-counsel, client group, and co-counsel, regarding potential for        .80
                 agreement on use of credit card receipts for July rent at certain stores, as well
                 as recovery of fuel inventory from wholesale stores.
6/30/23 BWK      Emails with client group and co-counsel regarding                  .                 .20
6/30/23 CLT      Emails with client, Ben Kadden regarding             compliance issues.              .40
                 TOTALS                                                                            282.70


            TOTAL FEES:                                                                    $ 148,134.00

                                          TIME SUMMARY

Name                                                Hours             Rate                        Total
Kadden, Ben W.                                     137.60           650.00                    89,440.00
Autin, Avery                                        12.20           245.00                     2,989.00
Samuels, Armand                                      2.30           250.00                       575.00
Torrans, Coleman L.                                128.20           425.00                    54,485.00
Barriere, Jennifer                                   1.90           300.00                       570.00
Johnson, Ivy                                          .50           150.00                        75.00
TOTALS                                             282.70                                  $ 148,134.00




                                             EXPENSES

   Date Description                                                                   Amount
5/22/23 Veritext, Invoice 6587605 transctip of MLCJR taken on 05/16/23                 470.20
6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with Benjamin   10.90
        Kadden on 05/31/23
6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with Benjamin    5.93
        Kadden on 05/25/23


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6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with Benjamin      8.56
        Kadden on 05/25/23
6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with               8.82
        Benjamine Kadden on 05/23/23
6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with Benjamin      5.42
        Kadden on 05/15/23
6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with Benjamin     12.98
        Kadden on 05/08/23
6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with Benjamin      9.21
        Kadden on 05/04/23 01:58 pm
6/01/23 AT&T TeleConference Services, Invoice 306-005960 teleconference with Benjamin     14.08
        Kadden on 05/04/23 10:29 AM
6/02/23 U.S.B.C., Southern District of Texas, Invoice AXXXXXXXX filing fee               350.00
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to Kazi        70.90
        Omar Faruk Broadway Fuel Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to Panju       43.29
        Narang 575 Fuel Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to Manoj       49.90
        Narang VM Petro Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to Achla       43.29
        Duggal Prime Petro Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to Rejeev      43.29
        Malhotra Cmmack Fuel Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to Jahirul     49.90
        Alam Riverdal Fuel Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to Suleyman    43.29
        Issi Yonkers Fuel Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 to M&Y         70.54
        Pump Services, Inc
6/07/23 FedEx, Invoice 8-156-45659 Standard Overnight Delivery on 05/31/23 Suleyman       43.29
        Issi, American 1 Gas, Inc
6/13/23 Checkmate Investigative Services, Inc., Invoice 001398 fee for in depth bank     600.00
        records search
6/20/23 Benjamin W. Kadden, Invoice 062023 aiport parking, airfare, transporation, and   696.16
        meal to Houston,TX from New Orleans, LA to attend Hearing on Show Cause
        Order on 06/20/23
6/21/23 FedEx, Invoice 8-170-03146 Standard Overnight delivery on 05/31/23 to Varnder     43.29
        Nayar, Monto Food Mart, Inc
6/21/23 FedEx, Invoice 8-170-03146 Express Saver delivery on 06/15/23 to Bejamin W.       27.75
        Kadden
6/22/23 U.S.B.C., Southern District of Texas, Invoice 5623546 filing fee                 350.00
6/24/23 Opus Legalis, LLC, Invoice 62423 work order 224630 on 06/23/223 service on       172.50
        Sukhranjan Singh Multani, GSS Holdings LA



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          TOTAL EXPENSES                                                 $ 3,243.49


          TOTAL THIS INVOICE                                           $ 151,377.49




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                                              (504) 568-1990
                                           F.E.I. # XX-XXXXXXX




  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 296036
                                                                           July 11, 2023
____________________________________________________________________________________

                                       REMITTANCE ADVICE

For Professional Services Rendered Through June 30, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                             Total Fees                              $ 148,134.00
                             Total Expenses                             $ 3,243.49

                             TOTAL THIS INVOICE                      $ 151,377.49

                             Prior Balance Outstanding               $ 144,784.50

                             TOTAL BALANCE DUE                       $ 296,161.99


       To insure proper credit to your account please return this remittance with your payment.


PLEASE REFERENCE CLIENT.MATTER # AND INVOICE NO. ON YOUR CHECK




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Task Report
June 1, 2023 to June 30,2023
Mountain Express Oil Company

Date         SM/Task Name                    Hrs      Rate            Amt Narrative
                                                                          Emails and calls with client group and co-counsel
                                                                          regarding stay violations by certain                    and
06/01/2023   B190    Kadden, Ben W.          1.20 $ 650.00   $     780.00
                                                                          Review and revision of draft Complaint against
                                                                          entities and emails with counsel and client group
06/01/2023   B190    Kadden, Ben W.          1.40 $ 650.00   $     910.00 regarding same.
                                                                          Confirm no objections to the Lugenbuhl employment
                                                                          application and coordinate filing of Certificate of Counsel
06/01/2023   B160    Kadden, Ben W.          0.40 $ 650.00   $     260.00 and updated Agreed Order on same.
                                                                          Emails/calls with co-counsel, client group and counsel
                                                                                regarding pending defaults and potential resolution
06/01/2023   B190    Kadden, Ben W.          1.30 $ 650.00   $     845.00 of same.
                                                                          Worked with client to prepare appendices for
06/01/2023   B190    Torrans, Coleman L.     2.50 $ 425.00   $   1,062.50 complaint; damages calculations.
06/01/2023   B190    Torrans, Coleman L.     2.70 $ 425.00   $   1,147.50 Drafted          complaint.
                                                                          Exchanged comments with co-counsel re
06/01/2023   B190    Torrans, Coleman L.     2.60 $ 425.00   $   1,105.00 complaint. Incorporated into draft.
                                                                          Worked with AA to confirm compliance with BLRs and to
06/01/2023   B190    Torrans, Coleman L.     0.70 $ 425.00   $     297.50 prepare cover sheet and summonses.

                                                                            Access East Baton Rouge Parish Clerk of Court database
                                                                            to search Debtor and Non-Debtor Affiliate entities in civil
                                                                            records; download relevant pleadings; memo to Ben
06/01/2023   B110    Johnson, Ivy            0.50 $ 150.00   $      75.00   Kadden and Coleman Torrans regarding status
                                                                            Reviewed the draft complaint and checked SDTX local
06/01/2023   B190    Autin, Avery            1.30 $ 245.00   $    318.50    rules regarding adversary proceedings
06/01/2023   B190    Autin, Avery            1.40 $ 245.00   $    343.00    Checked lease references throughout the draft complaint
                                                                            Located a recent adversary complaint filed before Judge
06/01/2023   B190    Autin, Avery            0.20 $ 245.00   $      49.00   Jones and sent to Coleman Torrans and Ben Kadden
                                                                            Contacted clerk of court regarding the adversary
06/01/2023   B190    Autin, Avery            0.10 $ 245.00   $      24.50   proceeding cover sheet
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                                                                           Continue review and revision of draft Complaint against
06/02/2023   B190   Kadden, Ben W.          3.00 $ 650.00     $   1,950.00           entities.
06/02/2023   B190   Kadden, Ben W.          0.80 $ 650.00     $     520.00 Finalize and coordinate filing of the          Complaint.
                                                                           Multiple emails/calls with co-counsel, client group and
                                                                           counsel             regarding pending defaults and potential
06/02/2023   B190   Kadden, Ben W.          0.80 $ 650.00     $     520.00 resolution of same.
                                                                           Multiple emails/calls with client group and co-counsel
                                                                           regarding stay violations by certain dealers and            ,
                                                                           and emails with co-counsel and client group regarding
06/02/2023   B190   Kadden, Ben W.          2.30 $ 650.00     $   1,495.00 same.
                                                                           Multiple emails and calls with counsel for           as well
                                                                           as client group and co-counsel, regarding ongoing
06/02/2023   B190   Kadden, Ben W.          0.90 $ 650.00     $     585.00 defaults and impending litigation.
                                                                           Emails with client group and co-counsel regarding the
                                                                           pending Motion to Compel Rejection by               and
06/02/2023   B185   Kadden, Ben W.          0.30 $ 650.00     $     195.00 issues relating to same.
                                                                           Emails with client and counsel for             regarding
06/02/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $     195.00 credit card settlement issues.
                                                                           Multiple emails and calls with counsel for Valero, co-
                                                                           counsel, and client group regarding the potential impact of
06/02/2023   B190   Kadden, Ben W.          1.30 $ 650.00     $     845.00 the           defaults on
                                                                           Receipt and review of emails from counsel
                                                                           regarding insurance issues and emails with co-counsel
06/02/2023   B210   Kadden, Ben W.          0.30 $ 650.00     $     195.00 regarding same.
06/02/2023   B190   Torrans, Coleman L.     0.30 $ 425.00     $     127.50 Filed complaint against Imperial.
                                                                           Coordinated summons, service of Imperial complaint with
06/02/2023   B190   Torrans, Coleman L.     0.50 $ 425.00     $     212.50 AA.
                                                                           Emails, phone calls with company, co-counsel re branding
06/02/2023   B120   Torrans, Coleman L.     1.90 $ 425.00     $     807.50 issue.
06/02/2023   B190   Torrans, Coleman L.     4.10 $ 425.00     $   1,742.50 Research re enforcement of automatic stay.
                                                                           Located registered agent names and addresses for the NY
06/02/2023   B190   Autin, Avery            0.30   $ 245.00   $      73.50 and OK entities
06/02/2023   B190   Autin, Avery            0.80   $ 245.00   $     196.00 Drafted summonses for each of the named defendants
06/03/2023   B190   Torrans, Coleman L.     8.20   $ 425.00   $   3,485.00 Drafted emergency motion to enforce automatic stay.
06/04/2023   B190   Torrans, Coleman L.     8.10   $ 425.00   $   3,442.50 Drafted emergency motion to enforce automatic stay.
                                                                           Further emails/calls with client group and co-counsel
06/05/2023   B190   Kadden, Ben W.          2.00 $ 650.00     $   1,300.00 regarding stay violations by certain dealers and
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                                                                           Multiple emails and calls with client group regarding
06/05/2023   B190   Kadden, Ben W.          0.90 $ 650.00   $    585.00             branding and debranding issues.
                                                                           Emails with co-counsel and counsel              regarding
                                                                           the missing paperwork needed for processing credit card
06/05/2023   B120   Kadden, Ben W.          0.60 $ 650.00   $    390.00    settlements.
                                                                           Review and comment on the Stay Violation Motion to be
                                                                           filed against                                 , and
06/05/2023   B190   Kadden, Ben W.          2.20 $ 650.00   $   1,430.00   coordinate filing of same.
                                                                           Emails with client group, co-counsel, and counsel
                                                                           regarding additional payment defaults, including June
06/05/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    rent.
                                                                           Review and revise draft summons for the Imperial
06/05/2023   B190   Kadden, Ben W.          0.70 $ 650.00   $    455.00    adversary proceeding, and file same.
                                                                           Receipt and review of demand letter from counsel for
                                                                           Brink's U.S. regarding past due amount due by
06/05/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00                        .
06/05/2023   B110   Kadden, Ben W.          0.50 $ 650.00   $    325.00    Participate in bi-weekly professionals conference.
06/05/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    Follow-up emails with counsel for the dealer at Store 906.
                                                                           Conference call with FTI and Pachulski regarding various
06/05/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    litigation matters.
                                                                           Emails with counsel regarding timing and logistics for the
06/05/2023   B185   Kadden, Ben W.          0.30 $ 650.00   $    195.00    hearing on
06/05/2023   B190   Torrans, Coleman L.     0.30 $ 425.00   $    127.50    Coordinated filings and service for Imperial complaint.
                                                                           Calls, emails with company representatives regarding
06/05/2023   B190   Torrans, Coleman L.     2.10 $ 425.00   $    892.50    facts underlying stay enforcement mtn.
                                                                           Coordinated service of emergency stay enforcement
06/05/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $    212.50    motion with KCC.
                                                                           Redrafted stay enforcement motion. Incorporated edits
06/05/2023   B190   Torrans, Coleman L.     6.70 $ 425.00   $   2,847.50   from Ben Kadden, client, co-counsel to draft.
                                                                           Multiple follow-up emails with client group and counsel
                                                                           regarding the VM Petro emergency stay motion, including
                                                                           the need for declarations by MEX and MVI personnel
06/06/2023   B190   Kadden, Ben W.          1.50 $ 650.00   $    975.00    regarding ongoing stay violations.
                                                                           Coordinate with counsel and Kroll on service of the
06/06/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    Emergency Stay Motion involving VM Petro.
                                                                           Emails with client group and counsel regarding failure by
06/06/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00                                  to pay rent for June.
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                                                                           Follow-up emails with co-counsel and counsel
                                                                           regarding store-specific financial data and additional
06/06/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    paperwork needed for settlements.
                                                                           Receipt and review of the Summons in the Imperial
                                                                           litigation, coordinate service of the Complaint, and
06/06/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    calendar responsive pleading deadline.
                                                                           Multiple emails with client group and counsel regarding
06/06/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    defaults by
                                                                           Emails coordinating mail service of emergency filings with
06/06/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $    212.50    KCC.
                                                                           Drafted declarations in support of emergency relief
06/06/2023   B190   Torrans, Coleman L.     3.20 $ 425.00   $   1,360.00   motion; emails with client and co-counsel re same.
06/06/2023   B190   Torrans, Coleman L.     0.40 $ 425.00   $     170.00   Docket review.
                                                                           Reviewed evidence from client demonstrating stay
06/06/2023   B190   Torrans, Coleman L.     1.60 $ 425.00   $    680.00    violations.
                                                                           Further emails and calls with client group and co-counsel
                                                                           regarding the ongoing stay violations by 6 New York
                                                                           Dealers, M&Y, and VM Petro and preparation for a
                                                                           hearing on the Debtor's Emergency Motion to Enforce
06/07/2023   B190   Kadden, Ben W.          1.30 $ 650.00   $    845.00    Stay.
                                                                           Further review of Samnosh's Motion to Compel Rejection
06/07/2023   B185   Kadden, Ben W.          2.10 $ 650.00   $   1,365.00   and continue researching relevant issues.
                                                                           Review and revise proposed declarations in support of the
                                                                           Emergency Motion to Enforce Stay and coordinate filing
06/07/2023   B190   Kadden, Ben W.          0.90 $ 650.00   $    585.00    of same.
                                                                           Multiple follow-up emails client group and counsel
06/07/2023   B190   Kadden, Ben W.          0.60 $ 650.00   $    390.00    regarding defaults by
                                                                           Emails with counsel in the Paradise Shops litigation
                                                                           regarding status of litigation and effect of the automatic
06/07/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    stay.
                                                                           Emails and call with Lisa C. from MVI regarding the
                                                                                      refusal to allow access to MVI to conduct
06/07/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    inspections and testing of underground tanks.
                                                                           Multiple emails and calls with counsel                and
                                                                           client group regarding               demand for payment of
06/07/2023   B190   Kadden, Ben W.          0.50 $ 650.00   $    325.00    pre-petition amounts.
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                                                                           Multiple follow-up emails with client group and
                                                                           counsel regarding de-branding of           stores operated
06/07/2023   B190   Kadden, Ben W.          0.50 $ 650.00   $    325.00    by           entities.
                                                                           Emails and call with counsel for              regarding
                                                                           current payment defaults and broader legal and
06/07/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $    520.00    contractual issues.
                                                                           Emails with counsel            and co-counsel regarding
06/07/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    payment issues.
                                                                           Drafted declarations in support of emergency relief
06/07/2023   B190   Torrans, Coleman L.     2.90 $ 425.00   $   1,232.50   motion; emails with client and co-counsel re same.
                                                                           Updated exhibit tracking payment received from NY
06/07/2023   B110   Torrans, Coleman L.     1.20 $ 425.00   $     510.00   dealers.
06/07/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50   Coordinated filing, service of declaration of Jay Lally.
06/07/2023   B190   Torrans, Coleman L.     3.60 $ 425.00   $   1,530.00   Drafted objection to Samnosh's motion to compel.
                                                                           Follow-up emails and call with counsel for
                                                                           regarding current payment defaults and broader legal and
06/08/2023   B190   Kadden, Ben W.          1.00 $ 650.00   $    650.00    contractual issues.
                                                                           Multiple emails/calls with client group and co-counsel
                                                                           regarding the ongoing stay violations by
                                                                                                           and preparation for a
                                                                           hearing on the Debtor's Emergency Motion to Enforce
06/08/2023   B190   Kadden, Ben W.          2.80 $ 650.00   $   1,820.00   Stay.
                                                                           Emails with counsel and Lisa C. with MVI regarding a
06/08/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    declaration in support of the Emergency Stay Motion.
                                                                           Voicemail from and emails/calls with counsel for six NY
                                                                           dealers regarding ongoing stay violations and breaches of
06/08/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    their FSA's.
                                                                           Emails with M&Y regarding ongoing stay violations in NY
                                                                           on account of removal of credit card systems and black
06/08/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $    195.00    boxes.
                                                                           Further emails with client group and            counsel
                                                                           regarding de-branding of           stores operated by
06/08/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $    520.00             entities.
                                                                           Continued review of client documents to prepare response
                                                                           to of Samnosh's Motion to Compel Rejection and
06/08/2023   B185   Kadden, Ben W.          2.10 $ 650.00   $   1,365.00   researching relevant issues.
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                                                                           Emails with counsel                          regarding
06/08/2023   B210   Kadden, Ben W.          0.30 $ 650.00     $     195.00 payment and credit card issues.
                                                                           Review and revise the draft Objection to Samnosh's
                                                                           Motion to Compel Rejection, and emails with client group
06/08/2023   B185   Kadden, Ben W.          1.30 $ 650.00     $     845.00 and co-counsel regarding same.
                                                                           Emails with counsel            regarding alleged violations
                                                                           of the license agreement and related agreements, and
06/08/2023   B190   Kadden, Ben W.          1.30 $ 650.00     $     845.00 begin reviewing relevant documents.
                                                                           Phone call with JE, counsel for NY Dealers re stay
06/08/2023   B190   Torrans, Coleman L.     0.30 $ 425.00     $     127.50 violations.
                                                                           Emails with attorney team re NY Dealers' counsel's
06/08/2023   B190   Torrans, Coleman L.     0.30   $ 425.00   $     127.50 response to stay violations.
06/08/2023   B190   Torrans, Coleman L.     7.10   $ 425.00   $   3,017.50 Drafted opposition to Samnosh's MTC.
06/08/2023   B190   Torrans, Coleman L.     0.60   $ 425.00   $     255.00 Shepherdized citations in Samnosh opp.
06/08/2023   B190   Torrans, Coleman L.     0.20   $ 425.00   $      85.00 Email to M&Y regarding stay violation motion.
06/08/2023   B190   Torrans, Coleman L.     2.40   $ 425.00   $   1,020.00 Edited opposition to Samnosh's MTC.
                                                                           Emails with counsel           , co-counsel, and client group
06/09/2023   B190   Kadden, Ben W.          0.60 $ 650.00     $     390.00 regarding ongoing                 .
                                                                           Continued review/revision of the draft Objection to
                                                                           Samnosh's Motion to Compel Rejection, and further
06/09/2023   B185   Kadden, Ben W.          2.00 $ 650.00     $   1,300.00 emails with client group and co-counsel regarding same.
                                                                           Emails with counsel and review documents relating to
                                                                           personal guaranties by individual owners of dealer
06/09/2023   B210   Kadden, Ben W.          0.30 $ 650.00     $     195.00 entities.
                                                                           Emails/calls with client group and co-counsel regarding
                                                                           the ongoing stay violations by                       , as
06/09/2023   B190   Kadden, Ben W.          0.40 $ 650.00     $     260.00 well as partial payments by same for fuel.
                                                                           Follow-up emails with Lisa C. regarding inspection issues
06/09/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $     195.00 relating to the
                                                                           Multiple emails with counsel for             , co-counsel,
                                                                           and client group regarding ongoing defaults and potential
06/09/2023   B190   Kadden, Ben W.          0.80 $ 650.00     $     520.00 resolution.
                                                                           Emails with counsel for Ben Kadden and counsel for VM
06/09/2023   B110   Torrans, Coleman L.     0.30 $ 425.00     $     127.50 Petro.
06/09/2023   B190   Torrans, Coleman L.     0.40 $ 425.00     $     170.00 Filed objection to Samnosh's MTC.
06/09/2023   B110   Torrans, Coleman L.     0.30 $ 425.00     $     127.50 Phone call with JD; Incorporated comments from JD.
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                                                                         Incorporated comments from Ben Kadden, co-counsel to
06/09/2023   B190   Torrans, Coleman L.     2.70 $ 425.00   $   1,147.50 opp. to Samnosh's motion.
                                                                         Phone calls, emails with client and attorney group re stay
06/09/2023   B190   Torrans, Coleman L.     0.90 $ 425.00   $     382.50 enforcement motion against NY Dealers.
                                                                         Drafted, circulated declaration of MVI; emails with MVI
06/09/2023   B190   Torrans, Coleman L.     2.10 $ 425.00   $     892.50 representative re same.
                                                                         Analyzed lease; accessed La SOS to run entity; accessed
                                                                         Tangipahoa land records to run asset search; accessed
                                                                         Tangipahoa tax assessor to confirm homestead
                                                                         exemptions; drafted asset analysis for Coleman Torran's
06/09/2023   B120   Samuels, Armand         1.10 $ 250.00   $     275.00 review.
                                                                         Multiple emails with counsel for VM Petro, co-counsel,
                                                                         and client group regarding VM Petro's withdrawal of its
                                                                         demand for payment of pre-petition amounts and next
06/11/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $     520.00 steps relating to the Emergency Stay Motion.
                                                                         Review and comment on draft Declaration by Lisa Ciotoli
                                                                         in support of Emergency Motion to Enforce Stay Against
                                                                         NY Dealers, and calls/emails regarding the upcoming
06/12/2023   B190   Kadden, Ben W.          0.60 $ 650.00   $     390.00 hearing on June 20.
                                                                         Emails and calls with chambers and co-counsel regarding
                                                                         setting a hearing on the Samnosh Motion to Compel
06/12/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 Rejection.
                                                                         Receipt and review of the Order Granting Lugenbuhl's
06/12/2023   B160   Kadden, Ben W.          0.20 $ 650.00   $     130.00 Employment Application, and coordinate service of same.
                                                                         Emails with counsel regarding investigation of potential
06/12/2023   B120   Kadden, Ben W.          0.30 $ 650.00   $     195.00 assets held
                                                                         Receipt and review of the Order setting emergency
                                                                         hearing on the Stay Violation Motion, and emails with
06/12/2023   B190   Kadden, Ben W.          0.70 $ 650.00   $     455.00 counsel and client group regarding same.
                                                                         Review of environmental inspection report re NY Dealers'
                                                                         properties; communications with MVI, Debtors, and co-
06/12/2023   B190   Torrans, Coleman L.     2.10 $ 425.00   $     892.50 counsel re same. Edits to related MVI declaration.
06/12/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 Docket review, calendaring.
06/12/2023   B110   Torrans, Coleman L.     0.40 $ 425.00   $     170.00 Emails with KCC coordinating service of multiple filings.
                                                                         Emails with co-counsel re emergency hearing; witness
06/12/2023   B190   Torrans, Coleman L.     1.20 $ 425.00   $     510.00 preparation.
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                                                                       Emails with UCC counsel re hearing; pending requests for
06/12/2023   B190   Torrans, Coleman L.     0.30 $ 425.00   $   127.50 relief.
06/12/2023   B120   Samuels, Armand         0.20 $ 250.00   $    50.00 Submitted asset search forms to Checkmate services.

06/12/2023   B150   Samuels, Armand         0.70 $ 250.00   $   175.00 Analyzed invoices, emails, and AR; drafted demand letter.
                                                                       Multiple emails with client group and counsel regarding
                                                                       preparation for hearing on Emergency Stay Enforcement
06/13/2023   B190   Kadden, Ben W.          0.70 $ 650.00   $   455.00 Motion.
                                                                       Emails regarding preparation of Lugenbuhl's First Monthly
06/13/2023   B160   Kadden, Ben W.          0.20 $ 650.00   $   130.00 Fee Statement for April 2023.
                                                                       Receipt and review of executed summons for service of
                                                                       Complaint on all Imperial entities, and coordinate filing of
06/13/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $   195.00 same.
                                                                       Multiple emails with counsel for VM Petro, co-counsel and
                                                                       client group regarding its withdrawal of the demand for
                                                                       prepetition amounts and the effect of same on the
06/13/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $   520.00 pending emergency motion.

                                                                         Follow-up emails with Lisa C. from MVI regarding
                                                                         additional inspection issues relating to the 6 New York
                                                                         dealers subject to the stay motion and the need to prepare
06/13/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $   195.00   and file an updated declaration to reflect additional issues.
                                                                         Receipt, review and comment on the draft of Lugenbuhl's
06/13/2023   B160   Kadden, Ben W.          0.50 $ 650.00   $   325.00   First Monthly Fee Statement.
06/13/2023   B190   Torrans, Coleman L.     0.30 $ 425.00   $   127.50   Created, filed PHV app.
                                                                         Filed executed returns for summonses in Imperial
06/13/2023   B190   Torrans, Coleman L.     0.40 $ 425.00   $   170.00   adversary proceeding.
                                                                         Drafted declaration of Coleman Torrans in support of Stay
06/13/2023   B190   Torrans, Coleman L.     1.60 $ 425.00   $   680.00   Violation motion.
                                                                         Emails Ben Kadden, Debtor and witnesses, call with
                                                                         Daniel Turcot regarding preparation for emergency stay
                                                                         relief hearing, impact of in-person hearing on debtors,
06/13/2023   B190   Torrans, Coleman L.     1.60 $ 425.00   $   680.00   travel arrangements, et et.
06/13/2023   B190   Torrans, Coleman L.     1.20 $ 425.00   $   510.00   Attended DIP hearing.
                                                                         Prepared exhibits for interim fee application; prepared
06/13/2023   B190   Torrans, Coleman L.     0.60 $ 425.00   $   255.00   application for filing.
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                                                                         Investigation of            involvement in stay violations;
06/13/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 emails with co-counsel, client re same.
06/13/2023   B160   Autin, Avery            1.60 $ 245.00   $     392.00 Reviewed BIMs and drafted the April fee app
06/13/2023   B160   Autin, Avery            0.50 $ 245.00   $     122.50 Reviewed final fee app draft
                                                                         Multiple emails with calls and emails with client group, co-
                                                                         counsel, and counsel            regarding additional
06/14/2023   B190   Kadden, Ben W.          1.80 $ 650.00   $   1,170.00 payment and performance defaults.
                                                                         Further emails and calls with client group and counsel
                                                                         regarding preparation for hearing on Emergency Stay
                                                                         Enforcement Motion, including witness and exhibit
06/14/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $     520.00 preparation.
                                                                         Review and revise final draft of Lugenbuhl's First Monthly
06/14/2023   B160   Kadden, Ben W.          0.80 $ 650.00   $     520.00 Fee Statement, and file same.
                                                                         Receipt, review and revise draft Declaration by Coleman
                                                                         Torrans in Support of Emergency Stay Motion, and file
06/14/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $     520.00 same.
                                                                         Phone calls, emails with co-counsel re presentation of
06/14/2023   B190   Torrans, Coleman L.     0.60 $ 425.00   $     255.00 evidence at emergency hearing.
06/14/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 Docket review, calendaring.
                                                                         Worked with AA, BW to appropriately modify first interim
06/14/2023   B160   Torrans, Coleman L.     0.40 $ 425.00   $     170.00 fee app. to protect privileged information.
                                                                         Emails with client, co-counsel, Ben Kadden, regarding
06/14/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 improper use of Cash Collateral readers
                                                                         Reviewed client materials regarding          leases and
06/14/2023   B110   Torrans, Coleman L.     2.10 $ 425.00   $     892.50 supply agreements.
                                                                         Reviewed redacted time entries and applied to the task
06/14/2023   B160   Autin, Avery            1.20 $ 245.00   $     294.00 report and attorney report
                                                                         Emails with counsel for Paradise Shops regarding the
06/15/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 pending litigation in EDLA.
                                                                         Calls and emails with client group and co-counsel
                                                                         regarding preparation for the hearing on the Emergency
06/15/2023   B190   Kadden, Ben W.          1.70 $ 650.00   $   1,105.00 Stay Violation Motion.
06/15/2023   B110   Kadden, Ben W.          0.50 $ 650.00   $     325.00 Participate in bi-weekly professionals' call.
                                                                         Work on draft Witness and Exhibit List for hearing on
                                                                         Emergency Stay Motion and gather relevant exhibits, and
06/15/2023   B190   Kadden, Ben W.          3.00 $ 650.00   $   1,950.00 emails regarding same.
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                                                                         Multiple emails and calls with client group, FTI and co-
06/15/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $     520.00 counsel regarding GSS-specific issues.
                                                                         Receipt and review of Samnosh's counsel's response to
06/15/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 company demand letter.
                                                                         Emails with client group and counsel regarding
06/15/2023   B190   Kadden, Ben W.          0.60 $ 650.00   $     390.00 issues.
06/15/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 Receipt and review of Samnosh's Proof of Claim.
                                                                         Coordinated with witnesses regarding inspections of NY
06/15/2023   B110   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 dealer sites, witness travel.
                                                                         Receipt and review of Samnosh response to notice of
06/15/2023   B110   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 default; emails with attorney team re same.
                                                                         Emails with counsel for M&Y, co-counsel re motion to
06/15/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 appear by video conference.
                                                                         Emails with Ben Kadden, co-counsel re preparation for
06/15/2023   B190   Torrans, Coleman L.     0.70 $ 425.00   $     297.50 emergency hearing for stay enforcement relief.
                                                                         Multiple emails and calls with client group, FTI and co-
06/16/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 counsel regarding                 issues.
                                                                         Further calls and emails with client group and co-counsel
                                                                         regarding preparation for the hearing on the Emergency
06/16/2023   B190   Kadden, Ben W.          2.00 $ 650.00   $   1,300.00 Stay Violation Motion.
                                                                         Continue work on draft Witness and Exhibit List for
                                                                         hearing on Emergency Stay Motion and gather relevant
06/16/2023   B190   Kadden, Ben W.          1.60 $ 650.00   $   1,040.00 exhibits, and emails regarding same.
                                                                         Emails and conference call with counsel for Paradies
                                                                         regarding pending litigation issues and potential for
06/16/2023   B190   Kadden, Ben W.          0.50 $ 650.00   $     325.00 resolution of same.
                                                                         Multiple emails and call with counsel for VM Petro
                                                                         regarding its proposed emergency motion for relief from
06/16/2023   B190   Kadden, Ben W.          0.50 $ 650.00   $     325.00 the Show Cause Order.
                                                                         Finalize, file and serve Witness & Exhibit List for Show
06/16/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $     520.00 Cause Hearing.
                                                                         Receipt and review of VM Petro's Motion for Video
                                                                         Appearance, and share same with client group and co-
06/16/2023   B190   Kadden, Ben W.          0.40 $ 650.00   $     260.00 counsel.
                                                                         Receipt and review of NY Dealer's response, and share
06/16/2023   B190   Kadden, Ben W.          0.40 $ 650.00   $     260.00 same with client group and co-counsel.
06/16/2023   B190   Torrans, Coleman L.     0.40 $ 425.00   $     170.00 Coordinated service of W&E List for emergency hearing.
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06/16/2023   B120   Samuels, Armand         0.20 $ 250.00   $      50.00 Analyzed the checkmate asset report.
                                                                         Multiple emails and calls with co-counsel and witnesses
                                                                         for Show Cause Hearing regarding logistics and
06/17/2023   B190   Kadden, Ben W.          3.00 $ 650.00   $   1,950.00 preparation for hearing on 6/20.
                                                                         Review all relevant pleadings and exhibits and prepare
06/17/2023   B190   Kadden, Ben W.          1.80 $ 650.00   $   1,170.00 oral argument and witness examinations.
                                                                         Emails with counsel for VM Petro regarding its emergency
06/17/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 motion and the upcoming hearing.
                                                                         Receipt and review of VM Petro's updated emergency
                                                                         motion, and emails with co-counsel and client regarding
06/17/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 same.
                                                                         Emails with client group and co-counsel regarding
06/17/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 delivery of fuel to NY Dealers post-petition.
                                                                         Receipt and review of bank records searches for
06/17/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00
                                                                         Receipt, review and analyze Debtors' Bid Procedures
                                                                         Motion to determine relationship with various dealer-
06/17/2023   B130   Kadden, Ben W.          0.50 $ 650.00   $     325.00 specific issues.
06/17/2023   B190   Torrans, Coleman L.     0.20 $ 425.00   $      85.00 Coordinated with KCC re filing of COS.
                                                                         Further emails/calls with client group, co-counsel, and
                                                                         witnesses for Show Cause Hearing regarding logistics and
06/19/2023   B190   Kadden, Ben W.          0.90 $ 650.00   $     585.00 preparation for the Show Cause Hearing on 6/20.
                                                                         Review all relevant pleadings and exhibits and prepare
06/19/2023   B190   Kadden, Ben W.          1.30 $ 650.00   $     845.00 oral argument and witness examinations.
                                                                         Participate in bi-weekly video conference with
06/19/2023   B190   Kadden, Ben W.          0.80 $ 650.00   $     520.00 professionals regarding various litigation matters.
                                                                         Drafted form W&E list for Samnosh hearing; coordinated
06/19/2023   B190   Torrans, Coleman L.     0.40 $ 425.00   $     170.00 with Pachulski team re same via email.
                                                                         Coordinated with AA to develop tracking sheet of fee
                                                                         expenses regarding actions to enforce automatic stay with
06/19/2023   B170   Torrans, Coleman L.     0.30 $ 425.00   $     127.50 respect to NY dealers.
                                                                         Requested and received from client FSAs and leases re
06/19/2023   B185   Torrans, Coleman L.     0.30 $ 425.00   $     127.50                 store in MS.
                                                                         Reviewed                    and contractual amendments;
                                                                         created Excel workbook tracking information regarding
06/19/2023   B120   Torrans, Coleman L.     4.10 $ 425.00   $   1,742.50 each                  store.
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                                                                         Analyzed pre-checkmate asset search and uploaded to
06/19/2023   B120   Samuels, Armand         0.10 $ 250.00   $      25.00 client file.
                                                                         Reviewed all billing through mid June and created an
                                                                         excel spreadsheet to show total billing related to the
06/19/2023   B160   Autin, Avery            1.30 $ 245.00   $     318.50 potential stay violations
                                                                         Calls, emails and meetings with witnesses to prepare for
06/20/2023   B190   Kadden, Ben W.          1.30 $ 650.00   $     845.00 Show Cause hearing.
                                                                         Travel to and from Houston for emergency Show Cause
06/20/2023   B190   Kadden, Ben W.          2.60 $ 650.00   $   1,690.00 Hearing. Travel charged at ½ of actual time.
                                                                         Continue review/revision of oral argument and witness
                                                                         testimony outlines for Show Cause Hearing and prepare
06/20/2023   B190   Kadden, Ben W.          4.30 $ 650.00   $   2,795.00 witnesses.
                                                                         Multiple emails and calls with counsel for M & Y, client
                                                                         group, and co-counsel regarding the pending Show Cause
06/20/2023   B190   Kadden, Ben W.          1.50 $ 650.00   $     975.00 Hearing and issues impacting M & Y.
                                                                         Multiple emails and calls with co-counsel and client group
                                                                         regarding issues involving             forthcoming litigation
06/20/2023   B190   Kadden, Ben W.          0.60 $ 650.00   $     390.00 relating to same.
                                                                         Attend hearing on Order to Show Cause, and follow-up
06/20/2023   B190   Kadden, Ben W.          1.80 $ 650.00   $   1,170.00 emails regarding same.
                                                                         Receipt and review of Samnosh's Motion to Withdraw its
                                                                         Motion to Compel, and emails with co-counsel, opposing
06/20/2023   B190   Kadden, Ben W.          0.50 $ 650.00   $     325.00 counsel, and Court's chambers regarding same.
                                                                         Follow-up emails with co-counsel and counsel for
                                                                               regarding ongoing issues and potential resolution of
06/20/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 same.
                                                                         Emails with counsel           and co-counsel regarding bid
06/20/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 procedures and license agreement issues.
                                                                         Emails with Daniel Turcot regarding data required for
                                                                         calculated damages                        . Received and
06/20/2023   B110   Torrans, Coleman L.     0.80 $ 425.00   $     340.00 reviewed excel sheets.
06/20/2023   B190   Torrans, Coleman L.     4.50 $ 425.00   $   1,912.50 Drafted adversary complaint against GSS.
                                                                         Multiple emails and calls with client group and co-counsel
                                                                         regarding post-hearing issues relating to the need to
                                                                         submit an updated Order to Show Cause and work on
06/21/2023   B190   Kadden, Ben W.          1.50 $ 650.00   $     975.00 same.
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                                                                             Emails/calls with client group and co-counsel regarding
                                                                             drafting of GSS Complaint, including the calculation of
06/21/2023   B190   Kadden, Ben W.          0.80 $ 650.00     $    520.00    damages.
                                                                             Review existing Show Cause Order, and prepare updated
                                                                             draft of Show Cause Order to address the issues
06/21/2023   B190   Kadden, Ben W.          1.00 $ 650.00     $    650.00    discussed during the 6/20/23 hearing.
                                                                             Emails and call with counsel regarding the hearing on
06/21/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $    195.00    Samnosh's Motion to Compel Rejection.
                                                                             Emails with client group and co-counsel regarding
06/21/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $    195.00    Imperial store issues.
                                                                             Receipt, review and comment on the draft Agenda for the
06/21/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $    195.00    hearing on 6/22.
                                                                             Review and revise draft GSS Complaint and associated
06/21/2023   B190   Kadden, Ben W.          1.20 $ 650.00     $     780.00   summons and cover sheet, and coordinate filing of same.
06/21/2023   B190   Torrans, Coleman L.     6.10 $ 425.00     $   2,592.50   Drafted adversary complaint against GSS.
                                                                             Worked with staff, AA, to draft cover sheet, request for
06/21/2023   B190   Torrans, Coleman L.     0.60 $ 425.00     $    255.00    summons for GSS complaint.
                                                                             Solicited and exchanged comments with client, Pachulski
06/21/2023   B110   Torrans, Coleman L.     0.40 $ 425.00     $    170.00    team, re GSS complaint.
                                                                             Received incorporated comments from Ben Kadden to
06/21/2023   B190   Torrans, Coleman L.     0.40   $ 425.00   $    170.00    GSS draft complaint.
06/21/2023   B110   Torrans, Coleman L.     0.90   $ 425.00   $    382.50    Created appendices for GSS complaint.
06/21/2023   B190   Autin, Avery            0.40   $ 245.00   $     98.00    Drafted cover sheet for the complaint
06/21/2023   B190   Autin, Avery            0.80   $ 245.00   $    196.00    Drafted the summonses
                                                                             Reviewed the draft Complaint and gave comments to
06/21/2023   B190   Autin, Avery            1.30 $ 245.00     $    318.50    Coleman Torrans
                                                                             Emails/calls with client group and co-counsel regarding
                                                                             the operation of the                    stores during the
06/22/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $    195.00    pendency of litigation.
                                                                             Emails and calls with court, client group and process
06/22/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $    195.00    server regarding service of the GSS summons.
                                                                             Emails and call with co-counsel and counsel for GSS
                                                                             regarding the pending lawsuit and next steps in terms of
06/22/2023   B190   Kadden, Ben W.          0.30 $ 650.00     $    195.00    commercial discussions.
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                                                                            Receipt and review of correspondence and documents
                                                                            relating to potential claims by BFM against the Debtors
                                                                            under the License Agreement, and emails with co-counsel
06/22/2023   B190   Kadden, Ben W.           0.60 $ 650.00   $    390.00    and opposing counsel regarding same.
                                                                            Receipt and review of various objections to the Bidding
                                                                            Procedures Motion, and analyze for impact on or from
06/22/2023   B130   Kadden, Ben W.           1.30 $ 650.00   $    845.00    dealer litigation.
                                                                            Receipt and review of the Notice and Order regarding
                                                                            exchanging of exhibits and witness lists in the GSS
06/22/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $    195.00    adversary.
                                                                            Emails and calls with client group and co-counsel
06/22/2023   B190   Kadden, Ben W.           0.50 $ 650.00   $    325.00    regarding continuing operation of the Imperial stores.
                                                                            Review                                and analyze potential
06/22/2023   B190   Kadden, Ben W.           0.50 $ 650.00   $    325.00    turnover claims.
                                                                            Review Samnosh filings and prepare for hearing on
06/22/2023   B190   Kadden, Ben W.           0.80 $ 650.00   $     520.00   Motion to Compel Rejection.
06/22/2023   B190   Kadden, Ben W.           2.50 $ 650.00   $   1,625.00   Participate in hearing on various contested matters.
                                                                            Receipt of summons in the GSS litigation and coordinate
06/22/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $    195.00    service.
                                                                            Receipt and review of the Supplemental Order to Appear
                                                                            and Show Cause, and coordinate service of same by
06/22/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $    195.00    KCC.
                                                                            Multiple emails and calls with Lisa C., Jay L., and client
                                                                            group regarding the subsequent Show Cause Hearing on
06/22/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $    195.00    6/29.
                                                                            Emails with client group and co-counsel regarding
                                                                            outcome of the hearing on the Samnosh Motion to
06/22/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $    195.00    Compel Rejection.
                                                                            Attended hearing on Samnosh's motion to compel
06/22/2023   B150   Torrans, Coleman L.      1.90 $ 425.00   $    807.50    rejection, bid procedures.
                                                                            Emails with Ben Kadden, counsel for GSS, re complaint,
06/22/2023   B110   Torrans, Coleman L.      0.40 $ 425.00   $    170.00    Debtor's intentions re operating stores.
                                                                            Emails with staff, client, coordinating personal service of
06/22/2023   B190   Torrans, Coleman L.      0.30 $ 425.00   $    127.50    GSS complaint, summons. .
06/22/2023   B190   Torrans, Coleman L.      0.30 $ 425.00   $    127.50    Emails with staff coordinating issuance of summonses.
06/22/2023   B190   Torrans, Coleman L.      0.40 $ 425.00   $    170.00    Docket review.
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                                                                           Reviewed                  , created summary of provisions
06/22/2023   B130   Torrans, Coleman L.       1.20 $ 425.00   $     510.00 regarding termination, default, remedy.
                                                                           Strategize with C. Torrans whether can move for
06/22/2023   B410   Barriere, Jennifer        0.60 $ 300.00   $     180.00                          ; send caselaw as to same.
                                                                           Conference call, calls, and emails client group and co-
                                                                           counsel regarding the operation of the
06/23/2023   B190   Kadden, Ben W.            1.30 $ 650.00   $     845.00 stores during the pendency of litigation.
                                                                           Follow-up emails with co-counsel regarding outcome of
                                                                           the hearing on the Samnosh Motion to Compel Rejection
06/23/2023   B190   Kadden, Ben W.            0.30 $ 650.00   $     195.00 and go-forward strategy.
                                                                           Emails with counsel for NY Dealers regarding the
                                                                           Supplemental Order to Show Cause and the hearing on
06/23/2023   B190   Kadden, Ben W.            0.30 $ 650.00   $     195.00 6/29/23.
                                                                           Multiple emails with co-counsel and RJ regarding potential
                                                                           interest by        in bidding process and status of pending
06/23/2023   B190   Kadden, Ben W.            0.60 $ 650.00   $     390.00 litigation.
                                                                           Emails and calls with counsel for NY Dealers, Lisa C., and
                                                                           client group regarding compliance inspections at 4 of the
06/23/2023   B190   Kadden, Ben W.            0.70 $ 650.00   $     455.00 6 subject dealers.
06/23/2023   B190   Torrans, Coleman L.       0.60 $ 425.00   $     255.00 Call with MEX, professionals, re adversary proceedings.
                                                                           Received and reviewed                       forms from
06/23/2023   B190   Torrans, Coleman L.       0.50 $ 425.00   $     212.50 Jennifer   Barriere.
                                                                           Researched, drafted memo on lessor remedies under LA
06/23/2023   B110   Torrans, Coleman L.       6.50 $ 425.00   $   2,762.50 law.
                                                                           Meet with B. Kadden regarding law on termination of
                                                                           lease and acceleration of rent; evaluate and analyze
06/23/2023   B410   Barriere, Jennifer        0.70 $ 300.00   $     210.00 caselaw as to same.
                                                                           Researched, drafted memo on lessor remedies under LA
06/25/2023   B110   Torrans, Coleman L.       3.30 $ 425.00   $   1,402.50 law.
                                                                           Multiple emails and calls with co-counsel, client group and
                                                                           counsel for NY Dealers regarding compliance inspections
06/26/2023   B190   Kadden, Ben W.            1.00 $ 650.00   $     650.00 at 4 of the 6 subject dealers.
                                                                           Multiple emails and calls with co-counsel, client group and
                                                                           counsel for NY Dealers regarding potential for restoration
06/26/2023   B190   Kadden, Ben W.            0.90 $ 650.00   $     585.00 of credit card networks and blackboxes.
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                                                                             Further calls/emails with co-counsel and RJ regarding
                                                                             potential interest by       in bidding process and status of
06/26/2023   B190   Kadden, Ben W.            0.30 $ 650.00   $    195.00    pending litigation.
                                                                             Further call/emails client group, co-counsel, and opposing
                                                                             counsel regarding the operation of the
06/26/2023   B190   Kadden, Ben W.            1.20 $ 650.00   $    780.00    stores during the pendency of litigation.
06/26/2023   B110   Kadden, Ben W.            0.80 $ 650.00   $    520.00    Participate on bi-weekly professionals conference.
                                                                             Review and revise draft Memo re: l
                                                                                              in the Louisiana, and emails regarding
06/26/2023   B190   Kadden, Ben W.            2.10 $ 650.00   $   1,365.00   impact of research                     .
06/26/2023   B190   Torrans, Coleman L.       0.20 $ 425.00   $      85.00   Email with MEX's counsel re Samnosh objection.
06/26/2023   B110   Torrans, Coleman L.       0.40 $ 425.00   $     170.00   Analysis of                    available under LA law.
                                                                             Reviewed BFM petitions; drafted summary and circulated
06/26/2023   B190   Torrans, Coleman L.       1.20 $ 425.00   $    510.00    to Ben Kadden.
                                                                             Review email from C. Torrans as to proposed
06/26/2023   B410   Barriere, Jennifer        0.20 $ 300.00   $     60.00    conversations with new operators and respond to same.
                                                                             Review and analyze proposed memorandum by C.
06/26/2023   B410   Barriere, Jennifer        0.40 $ 300.00   $    120.00    Torrans.
                                                                             Continue review of BFM transaction documents and
                                                                             correspondence, and emails and calls with co-counsel and
                                                                             RJ regarding potential interest by        in bidding process
06/27/2023   B190   Kadden, Ben W.            1.30 $ 650.00   $    845.00    and status of pending litigation.
                                                                             Further emails/calls with co-counsel, client group and
                                                                             counsel for NY Dealers regarding compliance inspections
                                                                             and restoration of credit card systems and blackboxes and
06/27/2023   B190   Kadden, Ben W.            2.00 $ 650.00   $   1,300.00   the upcoming hearing.
                                                                             Review and revise Witness & Exhibit List for the
                                                                             supplemental show cause hearing and coordinate filing of
06/27/2023   B190   Kadden, Ben W.            0.60 $ 650.00   $    390.00    same.
                                                                             Emails and calls with client group, opposing counsel, and
06/27/2023   B190   Kadden, Ben W.            0.90 $ 650.00   $    585.00    co-counsel regarding             dealer issues.
                                                                             Emails with co-counsel, client group and counsel for GSS
06/27/2023   B190   Kadden, Ben W.            0.50 $ 650.00   $    325.00    regarding                issues.
                                                                             Receipt and review of letter and emails regarding
06/27/2023   B190   Kadden, Ben W.            0.30 $ 650.00   $    195.00    debranding effort.
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                                                                          Emails with counsel for                 and co-counsel
                                                                          regarding form and substance of the Vendor Request
06/27/2023   B210   Kadden, Ben W.           0.20 $ 650.00   $   130.00   Form.
                                                                          Emails with client group and co-counsel regarding
06/27/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $   195.00   continuing Samnosh defaults.
                                                                          Coordinate with Court and counsel on proposed
                                                                          continuance of the Show Cause Hearing, and prepare
06/27/2023   B190   Kadden, Ben W.           1.30 $ 650.00   $   845.00   emergency motion relating to same.
                                                                          Follow-up emails with counsel for landlord at
                                                                                           and emails with client group regarding
06/27/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $   195.00   same.
                                                                          Emails with MVI regarding completion of the inspections
                                                                          at all 6 New York stores and emails with counsel for NY
06/27/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $   195.00   Dealers regarding same and next steps.
                                                                          Review and revise Emergency Motion to Reset Show
06/27/2023   B190   Kadden, Ben W.           0.80 $ 650.00   $   520.00   Cause Hearing, and emails with counsel regarding same.
                                                                          Emails with Ben Kadden, debtor, co-counsel re
06/27/2023   B110   Torrans, Coleman L.      0.40 $ 425.00   $   170.00   compliance resolution.
                                                                          Emails with counsel for the NY dealers regarding form
                                                                          and substance of the Emergency Motion to Continue
06/28/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $   195.00   Show Cause Hearing.
                                                                          Finalize, file and serve the Emergency Motion to Continue
                                                                          Show Cause Hearing, and emails with co-counsel, client
06/28/2023   B190   Kadden, Ben W.           1.30 $ 650.00   $   845.00   group, and opposing counsel regarding same.
                                                                          Emails with counsel for Imperial dealers regarding
06/28/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $   195.00   ongoing breaches and the pending litigation.
                                                                          Emails with client group and counsel for        regarding
                                                                          Notice of Violations and associated Notice of Hearing
06/28/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $   195.00   relating to Store                                 .
                                                                          Emails and calls with counsel for NY dealers, client group,
                                                                          and co-counsel regarding restoration of credit card
06/28/2023   B190   Kadden, Ben W.           1.20 $ 650.00   $   780.00   systems and blackboxes, and additional breaches.
                                                                          Receipt and review of the Order Resetting the Show
                                                                          Cause Hearing, coordinate with KCC on service, and
06/28/2023   B190   Kadden, Ben W.           0.60 $ 650.00   $   390.00   emails with client group and co-counsel regarding same.
                                                                          Emails with Ben Kadden, debtor regarding restoration of
06/28/2023   B110   Torrans, Coleman L.      0.80 $ 425.00   $   340.00   CC systems at NY dealer site.
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                                                                            Multiple follow-up emails/calls with client group, M & Y,
                                                                            and NY dealer's counsel regarding restoration of credit
06/29/2023   B190   Kadden, Ben W.           1.20 $ 650.00   $    780.00    card systems and blackboxes, and additional breaches.
                                                                            Receipt and review of Stipulation between the Debtors
06/29/2023   B110   Kadden, Ben W.           0.30 $ 650.00   $    195.00    and DIP Lenders regarding financing issues.
                                                                            Receipt and review of the Notice of Default from
                                                                                                 , and emails with co-counsel and
06/29/2023   B190   Kadden, Ben W.           0.40 $ 650.00   $    260.00    opposing counsel regarding same.
06/29/2023   B110   Kadden, Ben W.           0.50 $ 650.00   $    325.00    Participate remotely in status conference.
                                                                            Prepare and send lengthy litigation summary email to co-
06/29/2023   B190   Kadden, Ben W.           0.60 $ 650.00   $    390.00    counsel.
                                                                            Follow-up emails with counsel and client group regarding
06/29/2023   B190   Kadden, Ben W.           0.30 $ 650.00   $    195.00    GSS litigation.
                                                                            Emails with Ben Kadden, counsel for NY dealers
06/29/2023   B110   Torrans, Coleman L.      0.30 $ 425.00   $    127.50    regarding restoration of CC systems.
06/29/2023   B160   Autin, Avery             1.00 $ 245.00   $    245.00    Reviewed time entries for consistency
                                                                            Multiple emails and calls regarding rolling restoration of
06/30/2023   B190   Kadden, Ben W.           0.80 $ 650.00   $    520.00    credit card networks and blackboxes at the six NY sites.
                                                                            Extensive emails with counsel for Imperial, co-counsel
                                                                            and the client group regarding the abandonment of Store
06/30/2023   B190   Kadden, Ben W.           1.40 $ 650.00   $    910.00    No.       and potential compliance and inspection issues.
                                                                            Emails with co-counsel, client group, and co-counsel,
                                                                            regarding potential for agreement on use of credit card
                                                                            receipts for July rent at certain stores, as well as recovery
06/30/2023   B190   Kadden, Ben W.           0.80 $ 650.00   $    520.00    of fuel inventory from wholesale stores.
                                                                            Emails with client group and co-counsel regarding
06/30/2023   B190   Kadden, Ben W.           0.20 $ 650.00   $    130.00          .
                                                                            Emails with client, Ben Kadden regarding
06/30/2023   B110   Torrans, Coleman L.      0.40 $ 425.00   $     170.00   compliance issues.
                                           282.70            $ 148,134.00
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Attorney Report
June 1, 2023 to June 30,2023
Mountain Express Oil Company

Date         SM/Task Name                           Hrs     Rate            Amt Narrative
                                                                                Emails and calls with client group and co-counsel
                                                                                regarding stay violations by certain
06/01/2023   B190      Kadden, Ben W.              1.20 $ 650.00   $     780.00 and VM Petro.
                                                                                Review and revision of draft Complaint against
                                                                                entities and emails with counsel and client group
06/01/2023   B190      Kadden, Ben W.              1.40 $ 650.00   $     910.00 regarding same.
                                                                                Confirm no objections to the Lugenbuhl employment
                                                                                application and coordinate filing of Certificate of
06/01/2023   B160      Kadden, Ben W.              0.40 $ 650.00   $     260.00 Counsel and updated Agreed Order on same.
                                                                                Emails/calls with co-counsel, client group and counsel
                                                                                          regarding pending defaults and potential
06/01/2023   B190      Kadden, Ben W.              1.30 $ 650.00   $     845.00 resolution of same.
                                                                                Continue review and revision of draft Complaint against
06/02/2023   B190      Kadden, Ben W.              3.00 $ 650.00   $   1,950.00           entities.

06/02/2023   B190      Kadden, Ben W.              0.80 $ 650.00   $     520.00 Finalize and coordinate filing of the          Complaint.
                                                                                Multiple emails/calls with co-counsel, client group and
                                                                                counsel            regarding pending defaults and
06/02/2023   B190      Kadden, Ben W.              0.80 $ 650.00   $     520.00 potential resolution of same.
                                                                                Multiple emails/calls with client group and co-counsel
                                                                                regarding stay violations by certain dealers and
                                                                                      , and emails with co-counsel and client group
06/02/2023   B190      Kadden, Ben W.              2.30 $ 650.00   $   1,495.00 regarding same.
                                                                                Multiple emails and calls with counsel for           as
                                                                                well as client group and co-counsel, regarding ongoing
06/02/2023   B190      Kadden, Ben W.              0.90 $ 650.00   $     585.00 defaults and impending litigation.
                                                                                Emails with client group and co-counsel regarding the
                                                                                pending Motion to Compel Rejection by               and
06/02/2023   B185      Kadden, Ben W.              0.30 $ 650.00   $     195.00 issues relating to same.
                                                                                Emails with client and counsel for             regarding
06/02/2023   B190      Kadden, Ben W.              0.30 $ 650.00   $     195.00 credit card settlement issues.
                                                                                Multiple emails and calls with counsel for Valero, co-
                                                                                counsel, and client group regarding the potential impact
06/02/2023   B190      Kadden, Ben W.              1.30 $ 650.00   $     845.00 of the          defaults on
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                                                                            Receipt and review of emails from counsel
                                                                            regarding insurance issues and emails with co-counsel
06/02/2023   B210   Kadden, Ben W.             0.30 $ 650.00   $     195.00 regarding same.
                                                                            Further emails/calls with client group and co-counsel
                                                                            regarding stay violations by certain dealers and
06/05/2023   B190   Kadden, Ben W.             2.00 $ 650.00   $   1,300.00
                                                                            Multiple emails and calls with client group regarding
06/05/2023   B190   Kadden, Ben W.             0.90 $ 650.00   $     585.00         branding and debranding issues.
                                                                            Emails with co-counsel and counsel             regarding
                                                                            the missing paperwork needed for processing credit
06/05/2023   B120   Kadden, Ben W.             0.60 $ 650.00   $     390.00 card settlements.
                                                                            Review and comment on the Stay Violation Motion to
                                                                            be filed against                                 , and
06/05/2023   B190   Kadden, Ben W.             2.20 $ 650.00   $   1,430.00 coordinate filing of same.
                                                                            Emails with client group, co-counsel, and counsel
                                                                                  regarding additional payment defaults, including
06/05/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $     195.00 June rent.
                                                                            Review and revise draft summons for the Imperial
06/05/2023   B190   Kadden, Ben W.             0.70 $ 650.00   $     455.00 adversary proceeding, and file same.
                                                                            Receipt and review of demand letter from counsel for
                                                                            Brink's U.S. regarding past due amount due by
06/05/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $     195.00                               .
06/05/2023   B110   Kadden, Ben W.             0.50 $ 650.00   $     325.00 Participate in bi-weekly professionals conference.
                                                                            Follow-up emails with counsel for the dealer at Store
06/05/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $     195.00 906.
                                                                            Conference call with FTI and Pachulski regarding
06/05/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $     195.00 various litigation matters.

                                                                           Emails with counsel regarding timing and logistics for
06/05/2023   B185   Kadden, Ben W.             0.30 $ 650.00   $    195.00 the hearing on

                                                                           Multiple follow-up emails with client group and counsel
                                                                           regarding the VM Petro emergency stay motion,
                                                                           including the need for declarations by MEX and MVI
06/06/2023   B190   Kadden, Ben W.             1.50 $ 650.00   $    975.00 personnel regarding ongoing stay violations.
                                                                           Coordinate with counsel and Kroll on service of the
06/06/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $    195.00 Emergency Stay Motion involving VM Petro.

                                                                           Emails with client group and counsel regarding failure
06/06/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $    195.00 by                              to pay rent for June.
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                                                                            Follow-up emails with co-counsel and counsel
                                                                            regarding store-specific financial data and additional
06/06/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   paperwork needed for settlements.
                                                                            Receipt and review of the Summons in the Imperial
                                                                            litigation, coordinate service of the Complaint, and
06/06/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   calendar responsive pleading deadline.
                                                                            Multiple emails with client group and counsel regarding
06/06/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   defaults by              .
                                                                            Further emails and calls with client group and co-
                                                                            counsel regarding the ongoing stay violations by 6 New
                                                                            York Dealers, M&Y, and VM Petro and preparation for
                                                                            a hearing on the Debtor's Emergency Motion to Enforce
06/07/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00   Stay.
                                                                            Further review of Samnosh's Motion to Compel
06/07/2023   B185   Kadden, Ben W.             2.10 $ 650.00   $ 1,365.00   Rejection and continue researching relevant issues.
                                                                            Review and revise proposed declarations in support of
                                                                            the Emergency Motion to Enforce Stay and coordinate
06/07/2023   B190   Kadden, Ben W.             0.90 $ 650.00   $   585.00   filing of same.
                                                                            Multiple follow-up emails client group and counsel
06/07/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00   regarding defaults by               .
                                                                            Emails with counsel in the Paradise Shops litigation
                                                                            regarding status of litigation and effect of the automatic
06/07/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   stay.

                                                                            Emails and call with Lisa C. from MVI regarding the
                                                                                      refusal to allow access to MVI to conduct
06/07/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   inspections and testing of underground tanks.
                                                                            Multiple emails and calls with counsel                 and
                                                                            client group regarding                demand for payment
06/07/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00   of pre-petition amounts.
                                                                            Multiple follow-up emails with client group and
                                                                            counsel regarding de-branding of            stores
06/07/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00   operated by             entities.
                                                                            Emails and call with counsel for               regarding
                                                                            current payment defaults and broader legal and
06/07/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   contractual issues.
                                                                            Emails with counsel               and co-counsel regarding
06/07/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   payment issues.
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                                                                          Follow-up emails and call with counsel for
                                                                          regarding current payment defaults and broader legal
06/08/2023   B190   Kadden, Ben W.             1.00 $ 650.00   $   650.00 and contractual issues.
                                                                          Multiple emails/calls with client group and co-counsel
                                                                          regarding the ongoing stay violations by
                                                                                                          and preparation for a
                                                                          hearing on the Debtor's Emergency Motion to Enforce
06/08/2023   B190   Kadden, Ben W.             2.80 $ 650.00   $ 1,820.00 Stay.

                                                                            Emails with counsel and Lisa C. with MVI regarding a
06/08/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $     195.00 declaration in support of the Emergency Stay Motion.
                                                                            Voicemail from and emails/calls with counsel for six NY
                                                                            dealers regarding ongoing stay violations and breaches
06/08/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $     195.00 of their FSA's.
                                                                            Emails with M&Y regarding ongoing stay violations in
                                                                            NY on account of removal of credit card systems and
06/08/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $     195.00 black boxes.
                                                                            Further emails with client group and         counsel
                                                                            regarding de-branding of         stores operated by
06/08/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $     520.00           entities.
                                                                            Continued review of client documents to prepare
                                                                            response to of Samnosh's Motion to Compel Rejection
06/08/2023   B185   Kadden, Ben W.             2.10 $ 650.00   $   1,365.00 and researching relevant issues.
                                                                            Emails with counsel for                    regarding
06/08/2023   B210   Kadden, Ben W.             0.30 $ 650.00   $     195.00 payment and credit card issues.
                                                                            Review and revise the draft Objection to Samnosh's
                                                                            Motion to Compel Rejection, and emails with client
06/08/2023   B185   Kadden, Ben W.             1.30 $ 650.00   $     845.00 group and co-counsel regarding same.

                                                                          Emails with counsel for        regarding alleged
                                                                          violations of the license agreement and related
06/08/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00 agreements, and begin reviewing relevant documents.
                                                                          Emails with counsel           , co-counsel, and client
06/09/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00 group regarding ongoing                 .
                                                                          Continued review/revision of the draft Objection to
                                                                          Samnosh's Motion to Compel Rejection, and further
                                                                          emails with client group and co-counsel regarding
06/09/2023   B185   Kadden, Ben W.             2.00 $ 650.00   $ 1,300.00 same.
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                                                                          Emails with counsel and review documents relating to
                                                                          personal guaranties by individual owners of dealer
06/09/2023   B210   Kadden, Ben W.             0.30 $ 650.00   $   195.00 entities.

                                                                          Emails/calls with client group and co-counsel regarding
                                                                          the ongoing stay violations by                     , as
06/09/2023   B190   Kadden, Ben W.             0.40 $ 650.00   $   260.00 well as partial payments by same for fuel.
                                                                          Follow-up emails with Lisa C. regarding inspection
06/09/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 issues relating to the            .
                                                                          Multiple emails with counsel for           , co-counsel,
                                                                          and client group regarding ongoing defaults and
06/09/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00 potential resolution.

                                                                            Multiple emails with counsel for VM Petro, co-counsel,
                                                                            and client group regarding VM Petro's withdrawal of its
                                                                            demand for payment of pre-petition amounts and next
06/11/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   steps relating to the Emergency Stay Motion.
                                                                            Review and comment on draft Declaration by Lisa
                                                                            Ciotoli in support of Emergency Motion to Enforce Stay
                                                                            Against NY Dealers, and calls/emails regarding the
06/12/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00   upcoming hearing on June 20.
                                                                            Emails and calls with chambers and co-counsel
                                                                            regarding setting a hearing on the Samnosh Motion to
06/12/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   Compel Rejection.
                                                                            Receipt and review of the Order Granting Lugenbuhl's
                                                                            Employment Application, and coordinate service of
06/12/2023   B160   Kadden, Ben W.             0.20 $ 650.00   $   130.00   same.
                                                                            Emails with counsel regarding investigation of potential
06/12/2023   B120   Kadden, Ben W.             0.30 $ 650.00   $   195.00   assets held
                                                                            Receipt and review of the Order setting emergency
                                                                            hearing on the Stay Violation Motion, and emails with
06/12/2023   B190   Kadden, Ben W.             0.70 $ 650.00   $   455.00   counsel and client group regarding same.
                                                                            Multiple emails with client group and counsel regarding
                                                                            preparation for hearing on Emergency Stay
06/13/2023   B190   Kadden, Ben W.             0.70 $ 650.00   $   455.00   Enforcement Motion.
                                                                            Emails regarding preparation of Lugenbuhl's First
06/13/2023   B160   Kadden, Ben W.             0.20 $ 650.00   $   130.00   Monthly Fee Statement for April 2023.
                                                                            Receipt and review of executed summons for service of
                                                                            Complaint on all Imperial entities, and coordinate filing
06/13/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   of same.
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                                                                            Multiple emails with counsel for VM Petro, co-counsel
                                                                            and client group regarding its withdrawal of the demand
                                                                            for prepetition amounts and the effect of same on the
06/13/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   pending emergency motion.
                                                                            Follow-up emails with Lisa C. from MVI regarding
                                                                            additional inspection issues relating to the 6 New York
                                                                            dealers subject to the stay motion and the need to
                                                                            prepare and file an updated declaration to reflect
06/13/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   additional issues.
                                                                            Receipt, review and comment on the draft of
06/13/2023   B160   Kadden, Ben W.             0.50 $ 650.00   $   325.00   Lugenbuhl's First Monthly Fee Statement.
                                                                            Multiple emails with calls and emails with client group,
                                                                            co-counsel, and counsel             regarding additional
06/14/2023   B190   Kadden, Ben W.             1.80 $ 650.00   $ 1,170.00   payment and performance defaults.
                                                                            Further emails and calls with client group and counsel
                                                                            regarding preparation for hearing on Emergency Stay
                                                                            Enforcement Motion, including witness and exhibit
06/14/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   preparation.
                                                                            Review and revise final draft of Lugenbuhl's First
06/14/2023   B160   Kadden, Ben W.             0.80 $ 650.00   $   520.00   Monthly Fee Statement, and file same.
                                                                            Receipt, review and revise draft Declaration by
                                                                            Coleman Torrans in Support of Emergency Stay
06/14/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   Motion, and file same.
                                                                            Emails with counsel for Paradise Shops regarding the
06/15/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   pending litigation in EDLA.
                                                                            Calls and emails with client group and co-counsel
                                                                            regarding preparation for the hearing on the Emergency
06/15/2023   B190   Kadden, Ben W.             1.70 $ 650.00   $ 1,105.00   Stay Violation Motion.
06/15/2023   B110   Kadden, Ben W.             0.50 $ 650.00   $   325.00   Participate in bi-weekly professionals' call.
                                                                            Work on draft Witness and Exhibit List for hearing on
                                                                            Emergency Stay Motion and gather relevant exhibits,
06/15/2023   B190   Kadden, Ben W.             3.00 $ 650.00   $ 1,950.00   and emails regarding same.
                                                                            Multiple emails and calls with client group, FTI and co-
06/15/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   counsel regarding GSS-specific issues.
                                                                            Receipt and review of Samnosh's counsel's response
06/15/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   to company demand letter.
                                                                            Emails with client group and counsel regarding
06/15/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00              issues.
06/15/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   Receipt and review of Samnosh's Proof of Claim.
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                                                                            Multiple emails and calls with client group, FTI and co-
06/16/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   counsel regarding                 issues.
                                                                            Further calls and emails with client group and co-
                                                                            counsel regarding preparation for the hearing on the
06/16/2023   B190   Kadden, Ben W.             2.00 $ 650.00   $ 1,300.00   Emergency Stay Violation Motion.
                                                                            Continue work on draft Witness and Exhibit List for
                                                                            hearing on Emergency Stay Motion and gather relevant
06/16/2023   B190   Kadden, Ben W.             1.60 $ 650.00   $ 1,040.00   exhibits, and emails regarding same.
                                                                            Emails and conference call with counsel for Paradies
                                                                            regarding pending litigation issues and potential for
06/16/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00   resolution of same.
                                                                            Multiple emails and call with counsel for VM Petro
                                                                            regarding its proposed emergency motion for relief from
06/16/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00   the Show Cause Order.
                                                                            Finalize, file and serve Witness & Exhibit List for Show
06/16/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   Cause Hearing.
                                                                            Receipt and review of VM Petro's Motion for Video
                                                                            Appearance, and share same with client group and co-
06/16/2023   B190   Kadden, Ben W.             0.40 $ 650.00   $   260.00   counsel.
                                                                            Receipt and review of NY Dealer's response, and share
06/16/2023   B190   Kadden, Ben W.             0.40 $ 650.00   $   260.00   same with client group and co-counsel.
                                                                            Multiple emails and calls with co-counsel and witnesses
                                                                            for Show Cause Hearing regarding logistics and
06/17/2023   B190   Kadden, Ben W.             3.00 $ 650.00   $ 1,950.00   preparation for hearing on 6/20.
                                                                            Review all relevant pleadings and exhibits and prepare
06/17/2023   B190   Kadden, Ben W.             1.80 $ 650.00   $ 1,170.00   oral argument and witness examinations.
                                                                            Emails with counsel for VM Petro regarding its
06/17/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   emergency motion and the upcoming hearing.
                                                                            Receipt and review of VM Petro's updated emergency
                                                                            motion, and emails with co-counsel and client regarding
06/17/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   same.
                                                                            Emails with client group and co-counsel regarding
06/17/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   delivery of fuel to NY Dealers post-petition.
                                                                            Receipt and review of bank records searches for
06/17/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00
                                                                          Receipt, review and analyze Debtors' Bid Procedures
                                                                          Motion to determine relationship with various dealer-
06/17/2023   B130   Kadden, Ben W.             0.50 $ 650.00   $   325.00 specific issues.
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                                                                            Further emails/calls with client group, co-counsel, and
                                                                            witnesses for Show Cause Hearing regarding logistics
06/19/2023   B190   Kadden, Ben W.             0.90 $ 650.00   $   585.00   and preparation for the Show Cause Hearing on 6/20.
                                                                            Review all relevant pleadings and exhibits and prepare
06/19/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00   oral argument and witness examinations.
                                                                            Participate in bi-weekly video conference with
06/19/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   professionals regarding various litigation matters.
                                                                            Calls, emails and meetings with witnesses to prepare
06/20/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00   for Show Cause hearing.
                                                                            Travel to and from Houston for emergency Show
06/20/2023   B190   Kadden, Ben W.             2.60 $ 650.00   $ 1,690.00   Cause Hearing. Travel charged at ½ of actual time.
                                                                            Continue review/revision of oral argument and witness
                                                                            testimony outlines for Show Cause Hearing and
06/20/2023   B190   Kadden, Ben W.             4.30 $ 650.00   $ 2,795.00   prepare witnesses.
                                                                            Multiple emails and calls with counsel for M & Y, client
                                                                            group, and co-counsel regarding the pending Show
06/20/2023   B190   Kadden, Ben W.             1.50 $ 650.00   $   975.00   Cause Hearing and issues impacting M & Y.
                                                                            Multiple emails and calls with co-counsel and client
                                                                            group regarding issues involving             forthcoming
06/20/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00   litigation relating to same.
                                                                            Attend hearing on Order to Show Cause, and follow-up
06/20/2023   B190   Kadden, Ben W.             1.80 $ 650.00   $ 1,170.00   emails regarding same.
                                                                            Receipt and review of Samnosh's Motion to Withdraw
                                                                            its Motion to Compel, and emails with co-counsel,
                                                                            opposing counsel, and Court's chambers regarding
06/20/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00   same.
                                                                            Follow-up emails with co-counsel and counsel for
                                                                                    regarding ongoing issues and potential resolution
06/20/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   of same.

                                                                          Emails with counsel           and co-counsel regarding
06/20/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 bid procedures and license agreement issues.
                                                                          Multiple emails and calls with client group and co-
                                                                          counsel regarding post-hearing issues relating to the
                                                                          need to submit an updated Order to Show Cause and
06/21/2023   B190   Kadden, Ben W.             1.50 $ 650.00   $   975.00 work on same.
                                                                          Emails/calls with client group and co-counsel regarding
                                                                          drafting of GSS Complaint, including the calculation of
06/21/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00 damages.
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                                                                            Review existing Show Cause Order, and prepare
                                                                            updated draft of Show Cause Order to address the
06/21/2023   B190   Kadden, Ben W.             1.00 $ 650.00   $   650.00   issues discussed during the 6/20/23 hearing.
                                                                            Emails and call with counsel regarding the hearing on
06/21/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   Samnosh's Motion to Compel Rejection.
                                                                            Emails with client group and co-counsel regarding
06/21/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   Imperial store issues.
                                                                            Receipt, review and comment on the draft Agenda for
06/21/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   the hearing on 6/22.
                                                                            Review and revise draft GSS Complaint and associated
                                                                            summons and cover sheet, and coordinate filing of
06/21/2023   B190   Kadden, Ben W.             1.20 $ 650.00   $   780.00   same.
                                                                            Emails/calls with client group and co-counsel regarding
                                                                            the operation of the                   stores during the
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   pendency of litigation.

                                                                          Emails and calls with court, client group and process
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 server regarding service of the GSS summons.
                                                                          Emails and call with co-counsel and counsel for GSS
                                                                          regarding the pending lawsuit and next steps in terms
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 of commercial discussions.

                                                                          Receipt and review of correspondence and documents
                                                                          relating to potential claims by BFM against the Debtors
                                                                          under the License Agreement, and emails with co-
06/22/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00 counsel and opposing counsel regarding same.
                                                                          Receipt and review of various objections to the Bidding
                                                                          Procedures Motion, and analyze for impact on or from
06/22/2023   B130   Kadden, Ben W.             1.30 $ 650.00   $   845.00 dealer litigation.
                                                                          Receipt and review of the Notice and Order regarding
                                                                          exchanging of exhibits and witness lists in the GSS
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 adversary.

                                                                            Emails and calls with client group and co-counsel
06/22/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00   regarding continuing operation of the Imperial stores.
                                                                            Review                              and analyze
06/22/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00   potential turnover claims.
                                                                            Review Samnosh filings and prepare for hearing on
06/22/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   Motion to Compel Rejection.
06/22/2023   B190   Kadden, Ben W.             2.50 $ 650.00   $ 1,625.00   Participate in hearing on various contested matters.
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                                                                            Receipt of summons in the GSS litigation and
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   coordinate service.
                                                                            Receipt and review of the Supplemental Order to
                                                                            Appear and Show Cause, and coordinate service of
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   same by KCC.
                                                                            Multiple emails and calls with Lisa C., Jay L., and client
                                                                            group regarding the subsequent Show Cause Hearing
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   on 6/29.
                                                                            Emails with client group and co-counsel regarding
                                                                            outcome of the hearing on the Samnosh Motion to
06/22/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   Compel Rejection.
                                                                            Conference call, calls, and emails client group and co-
                                                                            counsel regarding the operation of the
06/23/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00            stores during the pendency of litigation.
                                                                            Follow-up emails with co-counsel regarding outcome of
                                                                            the hearing on the Samnosh Motion to Compel
06/23/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   Rejection and go-forward strategy.
                                                                            Emails with counsel for NY Dealers regarding the
                                                                            Supplemental Order to Show Cause and the hearing on
06/23/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   6/29/23.
                                                                            Multiple emails with co-counsel and RJ regarding
                                                                            potential interest by     in bidding process and status
06/23/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00   of pending litigation.
                                                                            Emails and calls with counsel for NY Dealers, Lisa C.,
                                                                            and client group regarding compliance inspections at 4
06/23/2023   B190   Kadden, Ben W.             0.70 $ 650.00   $   455.00   of the 6 subject dealers.

                                                                          Multiple emails and calls with co-counsel, client group
                                                                          and counsel for NY Dealers regarding compliance
06/26/2023   B190   Kadden, Ben W.             1.00 $ 650.00   $   650.00 inspections at 4 of the 6 subject dealers.

                                                                          Multiple emails and calls with co-counsel, client group
                                                                          and counsel for NY Dealers regarding potential for
06/26/2023   B190   Kadden, Ben W.             0.90 $ 650.00   $   585.00 restoration of credit card networks and blackboxes.
                                                                          Further calls/emails with co-counsel and RJ regarding
                                                                          potential interest by      in bidding process and status
06/26/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 of pending litigation.
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                                                                            Further call/emails client group, co-counsel, and
                                                                            opposing counsel regarding the operation of the
06/26/2023   B190   Kadden, Ben W.             1.20 $ 650.00   $   780.00                 stores during the pendency of litigation.
06/26/2023   B110   Kadden, Ben W.             0.80 $ 650.00   $   520.00   Participate on bi-weekly professionals conference.
                                                                            Review and revise draft Memo re:
                                                                                             in the Louisiana, and emails regarding
06/26/2023   B190   Kadden, Ben W.             2.10 $ 650.00   $ 1,365.00   impact of research on
                                                                            Continue review of BFM transaction documents and
                                                                            correspondence, and emails and calls with co-counsel
                                                                            and RJ regarding potential interest by       in bidding
06/27/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00   process and status of pending litigation.
                                                                            Further emails/calls with co-counsel, client group and
                                                                            counsel for NY Dealers regarding compliance
                                                                            inspections and restoration of credit card systems and
06/27/2023   B190   Kadden, Ben W.             2.00 $ 650.00   $ 1,300.00   blackboxes and the upcoming hearing.
                                                                            Review and revise Witness & Exhibit List for the
                                                                            supplemental show cause hearing and coordinate filing
06/27/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00   of same.

                                                                          Emails and calls with client group, opposing counsel,
06/27/2023   B190   Kadden, Ben W.             0.90 $ 650.00   $   585.00 and co-counsel regarding            dealer issues.
                                                                          Emails with co-counsel, client group and counsel for
06/27/2023   B190   Kadden, Ben W.             0.50 $ 650.00   $   325.00 GSS regarding                 issues.
                                                                          Receipt and review of letter and emails regarding
06/27/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 debranding effort.
                                                                          Emails with counsel for                 and co-counsel
                                                                          regarding form and substance of the Vendor Request
06/27/2023   B210   Kadden, Ben W.             0.20 $ 650.00   $   130.00 Form.
                                                                          Emails with client group and co-counsel regarding
06/27/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 continuing Samnosh defaults.
                                                                          Coordinate with Court and counsel on proposed
                                                                          continuance of the Show Cause Hearing, and prepare
06/27/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00 emergency motion relating to same.
                                                                          Follow-up emails with counsel for landlord at
                                                                                          and emails with client group regarding
06/27/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 same.
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                                                                            Emails with MVI regarding completion of the
                                                                            inspections at all 6 New York stores and emails with
06/27/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   counsel for NY Dealers regarding same and next steps.
                                                                            Review and revise Emergency Motion to Reset Show
                                                                            Cause Hearing, and emails with counsel regarding
06/27/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   same.
                                                                            Emails with counsel for the NY dealers regarding form
                                                                            and substance of the Emergency Motion to Continue
06/28/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   Show Cause Hearing.
                                                                            Finalize, file and serve the Emergency Motion to
                                                                            Continue Show Cause Hearing, and emails with co-
                                                                            counsel, client group, and opposing counsel regarding
06/28/2023   B190   Kadden, Ben W.             1.30 $ 650.00   $   845.00   same.
                                                                            Emails with counsel for Imperial dealers regarding
06/28/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   ongoing breaches and the pending litigation.

                                                                          Emails with client group and counsel for      regarding
                                                                          Notice of Violations and associated Notice of Hearing
06/28/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00 relating to Store

                                                                          Emails and calls with counsel for NY dealers, client
                                                                          group, and co-counsel regarding restoration of credit
06/28/2023   B190   Kadden, Ben W.             1.20 $ 650.00   $   780.00 card systems and blackboxes, and additional breaches.
                                                                          Receipt and review of the Order Resetting the Show
                                                                          Cause Hearing, coordinate with KCC on service, and
                                                                          emails with client group and co-counsel regarding
06/28/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00 same.

                                                                          Multiple follow-up emails/calls with client group, M & Y,
                                                                          and NY dealer's counsel regarding restoration of credit
06/29/2023   B190   Kadden, Ben W.             1.20 $ 650.00   $   780.00 card systems and blackboxes, and additional breaches.

                                                                          Receipt and review of Stipulation between the Debtors
06/29/2023   B110   Kadden, Ben W.             0.30 $ 650.00   $   195.00 and DIP Lenders regarding financing issues.
                                                                          Receipt and review of the Notice of Default from
                                                                                               and emails with co-counsel and
06/29/2023   B190   Kadden, Ben W.             0.40 $ 650.00   $   260.00 opposing counsel regarding same.
06/29/2023   B110   Kadden, Ben W.             0.50 $ 650.00   $   325.00 Participate remotely in status conference.
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                                                                            Prepare and send lengthy litigation summary email to
06/29/2023   B190   Kadden, Ben W.             0.60 $ 650.00   $   390.00   co-counsel.
                                                                            Follow-up emails with counsel and client group
06/29/2023   B190   Kadden, Ben W.             0.30 $ 650.00   $   195.00   regarding GSS litigation.
                                                                            Multiple emails and calls regarding rolling restoration of
                                                                            credit card networks and blackboxes at the six NY
06/30/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00   sites.
                                                                            Extensive emails with counsel for Imperial, co-counsel
                                                                            and the client group regarding the abandonment of
                                                                            Store No.      and potential compliance and inspection
06/30/2023   B190   Kadden, Ben W.             1.40 $ 650.00   $   910.00   issues.

                                                                          Emails with co-counsel, client group, and co-counsel,
                                                                          regarding potential for agreement on use of credit card
                                                                          receipts for July rent at certain stores, as well as
06/30/2023   B190   Kadden, Ben W.             0.80 $ 650.00   $   520.00 recovery of fuel inventory from wholesale stores.
                                                                          Emails with client group and co-counsel regarding
06/30/2023   B190   Kadden, Ben W.             0.20 $ 650.00   $   130.00
                                                                          Reviewed the draft complaint and checked SDTX local
06/01/2023   B190   Autin, Avery               1.30 $ 245.00   $   318.50 rules regarding adversary proceedings
                                                                          Checked lease references throughout the draft
06/01/2023   B190   Autin, Avery               1.40 $ 245.00   $   343.00 complaint
                                                                          Located a recent adversary complaint filed before
                                                                          Judge Jones and sent to Coleman Torrans and Ben
06/01/2023   B190   Autin, Avery               0.20 $ 245.00   $    49.00 Kadden
                                                                          Contacted clerk of court regarding the adversary
06/01/2023   B190   Autin, Avery               0.10 $ 245.00   $    24.50 proceeding cover sheet
                                                                          Located registered agent names and addresses for the
06/02/2023   B190   Autin, Avery               0.30 $ 245.00   $    73.50 NY and OK entities

06/02/2023   B190   Autin, Avery               0.80 $ 245.00   $   196.00 Drafted summonses for each of the named defendants
06/13/2023   B160   Autin, Avery               1.60 $ 245.00   $   392.00 Reviewed BIMs and drafted the April fee app
06/13/2023   B160   Autin, Avery               0.50 $ 245.00   $   122.50 Reviewed final fee app draft
                                                                          Reviewed redacted time entries and applied to the task
06/14/2023   B160   Autin, Avery               1.20 $ 245.00   $   294.00 report and attorney report
                                                                          Reviewed all billing through mid June and created an
                                                                          excel spreadsheet to show total billing related to the
06/19/2023   B160   Autin, Avery               1.30 $ 245.00   $   318.50 potential stay violations
06/21/2023   B190   Autin, Avery               0.40 $ 245.00   $    98.00 Drafted cover sheet for the complaint
06/21/2023   B190   Autin, Avery               0.80 $ 245.00   $   196.00 Drafted the summonses
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                                                                           Reviewed the draft Complaint and gave comments to
06/21/2023   B190   Autin, Avery               1.30 $ 245.00   $    318.50 Coleman Torrans
06/29/2023   B160   Autin, Avery               1.00 $ 245.00   $    245.00 Reviewed time entries for consistency
                                                                           Analyzed lease; accessed La SOS to run entity;
                                                                           accessed Tangipahoa land records to run asset search;
                                                                           accessed Tangipahoa tax assessor to confirm
                                                                           homestead exemptions; drafted asset analysis for
06/09/2023   B120   Samuels, Armand            1.10 $ 250.00   $    275.00 Coleman Torran's review.

06/12/2023   B120   Samuels, Armand            0.20 $ 250.00   $      50.00 Submitted asset search forms to Checkmate services.
                                                                            Analyzed invoices, emails, and AR; drafted demand
06/12/2023   B150   Samuels, Armand            0.70 $ 250.00   $     175.00 letter.
06/16/2023   B120   Samuels, Armand            0.20 $ 250.00   $      50.00 Analyzed the checkmate asset report.
                                                                            Analyzed pre-checkmate asset search and uploaded to
06/19/2023   B120   Samuels, Armand            0.10 $ 250.00   $      25.00 client file.
                                                                            Worked with client to prepare appendices for
06/01/2023   B190   Torrans, Coleman L.        2.50 $ 425.00   $   1,062.50 complaint; damages calculations.
06/01/2023   B190   Torrans, Coleman L.        2.70 $ 425.00   $   1,147.50 Drafted          complaint.
                                                                            Exchanged comments with co-counsel re
06/01/2023   B190   Torrans, Coleman L.        2.60 $ 425.00   $   1,105.00 complaint. Incorporated into draft.
                                                                            Worked with AA to confirm compliance with BLRs and
06/01/2023   B190   Torrans, Coleman L.        0.70 $ 425.00   $     297.50 to prepare cover sheet and summonses.
06/02/2023   B190   Torrans, Coleman L.        0.30 $ 425.00   $     127.50 Filed complaint against Imperial.
                                                                            Coordinated summons, service of Imperial complaint
06/02/2023   B190   Torrans, Coleman L.        0.50 $ 425.00   $     212.50 with AA.
                                                                            Emails, phone calls with company, co-counsel re
06/02/2023   B120   Torrans, Coleman L.        1.90 $ 425.00   $     807.50 branding issue.
06/02/2023   B190   Torrans, Coleman L.        4.10 $ 425.00   $   1,742.50 Research re enforcement of automatic stay.

06/03/2023   B190   Torrans, Coleman L.        8.20 $ 425.00   $ 3,485.00 Drafted emergency motion to enforce automatic stay.

06/04/2023   B190   Torrans, Coleman L.        8.10 $ 425.00   $ 3,442.50 Drafted emergency motion to enforce automatic stay.

06/05/2023   B190   Torrans, Coleman L.        0.30 $ 425.00   $   127.50 Coordinated filings and service for Imperial complaint.
                                                                          Calls, emails with company representatives regarding
06/05/2023   B190   Torrans, Coleman L.        2.10 $ 425.00   $   892.50 facts underlying stay enforcement mtn.
                                                                          Coordinated service of emergency stay enforcement
06/05/2023   B190   Torrans, Coleman L.        0.50 $ 425.00   $   212.50 motion with KCC.
                                                                          Redrafted stay enforcement motion. Incorporated edits
06/05/2023   B190   Torrans, Coleman L.        6.70 $ 425.00   $ 2,847.50 from Ben Kadden, client, co-counsel to draft.
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                                                                               Emails coordinating mail service of emergency filings
06/06/2023   B190   Torrans, Coleman L.        0.50 $ 425.00     $    212.50   with KCC.
                                                                               Drafted declarations in support of emergency relief
06/06/2023   B190   Torrans, Coleman L.        3.20 $ 425.00     $ 1,360.00    motion; emails with client and co-counsel re same.
06/06/2023   B190   Torrans, Coleman L.        0.40 $ 425.00     $   170.00    Docket review.
                                                                               Reviewed evidence from client demonstrating stay
06/06/2023   B190   Torrans, Coleman L.        1.60 $ 425.00     $    680.00   violations.
                                                                               Drafted declarations in support of emergency relief
06/07/2023   B190   Torrans, Coleman L.        2.90 $ 425.00     $ 1,232.50    motion; emails with client and co-counsel re same.
                                                                               Updated exhibit tracking payment received from NY
06/07/2023   B110   Torrans, Coleman L.        1.20 $ 425.00     $   510.00    dealers.
06/07/2023   B190   Torrans, Coleman L.        0.50 $ 425.00     $   212.50    Coordinated filing, service of declaration of Jay Lally.
06/07/2023   B190   Torrans, Coleman L.        3.60 $ 425.00     $ 1,530.00    Drafted objection to Samnosh's motion to compel.
                                                                               Phone call with JE, counsel for NY Dealers re stay
06/08/2023   B190   Torrans, Coleman L.        0.30 $ 425.00     $    127.50   violations.
                                                                               Emails with attorney team re NY Dealers' counsel's
06/08/2023   B190   Torrans, Coleman L.        0.30   $ 425.00   $   127.50    response to stay violations.
06/08/2023   B190   Torrans, Coleman L.        7.10   $ 425.00   $ 3,017.50    Drafted opposition to Samnosh's MTC.
06/08/2023   B190   Torrans, Coleman L.        0.60   $ 425.00   $   255.00    Shepherdized citations in Samnosh opp.
06/08/2023   B190   Torrans, Coleman L.        0.20   $ 425.00   $    85.00    Email to M&Y regarding stay violation motion.
06/08/2023   B190   Torrans, Coleman L.        2.40   $ 425.00   $ 1,020.00    Edited opposition to Samnosh's MTC.
                                                                               Emails with counsel for Ben Kadden and counsel for
06/09/2023   B110   Torrans, Coleman L.        0.30 $ 425.00     $    127.50   VM Petro.
06/09/2023   B190   Torrans, Coleman L.        0.40 $ 425.00     $    170.00   Filed objection to Samnosh's MTC.

06/09/2023   B110   Torrans, Coleman L.        0.30 $ 425.00     $     127.50 Phone call with JD; Incorporated comments from JD.
                                                                              Incorporated comments from Ben Kadden, co-counsel
06/09/2023   B190   Torrans, Coleman L.        2.70 $ 425.00     $   1,147.50 to opp. to Samnosh's motion.
                                                                              Phone calls, emails with client and attorney group re
06/09/2023   B190   Torrans, Coleman L.        0.90 $ 425.00     $     382.50 stay enforcement motion against NY Dealers.
                                                                              Drafted, circulated declaration of MVI; emails with MVI
06/09/2023   B190   Torrans, Coleman L.        2.10 $ 425.00     $     892.50 representative re same.
                                                                              Review of environmental inspection report re NY
                                                                              Dealers' properties; communications with MVI, Debtors,
                                                                              and co-counsel re same. Edits to related MVI
06/12/2023   B190   Torrans, Coleman L.        2.10 $ 425.00     $     892.50 declaration.
06/12/2023   B190   Torrans, Coleman L.        0.50 $ 425.00     $     212.50 Docket review, calendaring.

06/12/2023   B110   Torrans, Coleman L.        0.40 $ 425.00     $    170.00 Emails with KCC coordinating service of multiple filings.
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                                                                            Emails with co-counsel re emergency hearing; witness
06/12/2023   B190   Torrans, Coleman L.        1.20 $ 425.00   $   510.00   preparation.
                                                                            Emails with UCC counsel re hearing; pending requests
06/12/2023   B190   Torrans, Coleman L.        0.30 $ 425.00   $   127.50   for relief.
06/13/2023   B190   Torrans, Coleman L.        0.30 $ 425.00   $   127.50   Created, filed PHV app.
                                                                            Filed executed returns for summonses in Imperial
06/13/2023   B190   Torrans, Coleman L.        0.40 $ 425.00   $   170.00   adversary proceeding.
                                                                            Drafted declaration of Coleman Torrans in support of
06/13/2023   B190   Torrans, Coleman L.        1.60 $ 425.00   $   680.00   Stay Violation motion.
                                                                            Emails Ben Kadden, Debtor and witnesses, call with
                                                                            Daniel Turcot regarding preparation for emergency stay
                                                                            relief hearing, impact of in-person hearing on debtors,
06/13/2023   B190   Torrans, Coleman L.        1.60 $ 425.00   $   680.00   travel arrangements, et et.
06/13/2023   B190   Torrans, Coleman L.        1.20 $ 425.00   $   510.00   Attended DIP hearing.
                                                                            Prepared exhibits for interim fee application; prepared
06/13/2023   B190   Torrans, Coleman L.        0.60 $ 425.00   $   255.00   application for filing.
                                                                            Investigation of            involvement in stay violations;
06/13/2023   B190   Torrans, Coleman L.        0.50 $ 425.00   $   212.50   emails with co-counsel, client re same.
                                                                            Phone calls, emails with co-counsel re presentation of
06/14/2023   B190   Torrans, Coleman L.        0.60 $ 425.00   $   255.00   evidence at emergency hearing.
06/14/2023   B190   Torrans, Coleman L.        0.50 $ 425.00   $   212.50   Docket review, calendaring.
                                                                            Worked with AA, BW to appropriately modify first
06/14/2023   B160   Torrans, Coleman L.        0.40 $ 425.00   $   170.00   interim fee app. to protect privileged information.

                                                                          Emails with client, co-counsel, Ben Kadden, regarding
06/14/2023   B190   Torrans, Coleman L.        0.50 $ 425.00   $   212.50 improper use of Cash Collateral readers
                                                                          Reviewed client materials regarding      leases and
06/14/2023   B110   Torrans, Coleman L.        2.10 $ 425.00   $   892.50 supply agreements.
                                                                          Coordinated with witnesses regarding inspections of
06/15/2023   B110   Torrans, Coleman L.        0.50 $ 425.00   $   212.50 NY dealer sites, witness travel.
                                                                          Receipt and review of Samnosh response to notice of
06/15/2023   B110   Torrans, Coleman L.        0.50 $ 425.00   $   212.50 default; emails with attorney team re same.
                                                                          Emails with counsel for M&Y, co-counsel re motion to
06/15/2023   B190   Torrans, Coleman L.        0.50 $ 425.00   $   212.50 appear by video conference.
                                                                          Emails with Ben Kadden, co-counsel re preparation for
06/15/2023   B190   Torrans, Coleman L.        0.70 $ 425.00   $   297.50 emergency hearing for stay enforcement relief.
                                                                          Coordinated service of W&E List for emergency
06/16/2023   B190   Torrans, Coleman L.        0.40 $ 425.00   $   170.00 hearing.
06/17/2023   B190   Torrans, Coleman L.        0.20 $ 425.00   $    85.00 Coordinated with KCC re filing of COS.
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                                                                             Drafted form W&E list for Samnosh hearing;
06/19/2023   B190   Torrans, Coleman L.        0.40 $ 425.00   $    170.00   coordinated with Pachulski team re same via email.
                                                                             Coordinated with AA to develop tracking sheet of fee
                                                                             expenses regarding actions to enforce automatic stay
06/19/2023   B170   Torrans, Coleman L.        0.30 $ 425.00   $    127.50   with respect to NY dealers.
                                                                             Requested and received from client FSAs and leases
06/19/2023   B185   Torrans, Coleman L.        0.30 $ 425.00   $    127.50   re                 store in MS.
                                                                             Reviewed                    and contractual amendments;
                                                                             created Excel workbook tracking information regarding
06/19/2023   B120   Torrans, Coleman L.        4.10 $ 425.00   $ 1,742.50    each                   store.
                                                                             Emails with Daniel Turcot regarding data required for
                                                                             calculated damages                         Received and
06/20/2023   B110   Torrans, Coleman L.        0.80 $ 425.00   $   340.00    reviewed excel sheets.
06/20/2023   B190   Torrans, Coleman L.        4.50 $ 425.00   $ 1,912.50    Drafted adversary complaint against GSS.
06/21/2023   B190   Torrans, Coleman L.        6.10 $ 425.00   $ 2,592.50    Drafted adversary complaint against GSS.
                                                                             Worked with staff, AA, to draft cover sheet, request for
06/21/2023   B190   Torrans, Coleman L.        0.60 $ 425.00   $    255.00   summons for GSS complaint.
                                                                             Solicited and exchanged comments with client,
06/21/2023   B110   Torrans, Coleman L.        0.40 $ 425.00   $    170.00   Pachulski team, re GSS complaint.
                                                                             Received incorporated comments from Ben Kadden to
06/21/2023   B190   Torrans, Coleman L.        0.40 $ 425.00   $    170.00   GSS draft complaint.
06/21/2023   B110   Torrans, Coleman L.        0.90 $ 425.00   $    382.50   Created appendices for GSS complaint.
                                                                             Attended hearing on Samnosh's motion to compel
06/22/2023   B150   Torrans, Coleman L.        1.90 $ 425.00   $    807.50   rejection, bid procedures.
                                                                             Emails with Ben Kadden, counsel for GSS, re
06/22/2023   B110   Torrans, Coleman L.        0.40 $ 425.00   $    170.00   complaint, Debtor's intentions re operating stores.
                                                                             Emails with staff, client, coordinating personal service
06/22/2023   B190   Torrans, Coleman L.        0.30 $ 425.00   $    127.50   of GSS complaint, summons. .

06/22/2023   B190   Torrans, Coleman L.        0.30 $ 425.00   $     127.50 Emails with staff coordinating issuance of summonses.
06/22/2023   B190   Torrans, Coleman L.        0.40 $ 425.00   $     170.00 Docket review.
                                                                            Reviewed               , created summary of provisions
06/22/2023   B130   Torrans, Coleman L.        1.20 $ 425.00   $     510.00 regarding termination, default, remedy.
                                                                            Call with MEX, professionals, re adversary
06/23/2023   B190   Torrans, Coleman L.        0.60 $ 425.00   $     255.00 proceedings.
                                                                            Received and reviewed                    forms from
06/23/2023   B190   Torrans, Coleman L.        0.50 $ 425.00   $     212.50 Jennifer Barriere.
                                                                            Researched, drafted memo on lessor remedies under
06/23/2023   B110   Torrans, Coleman L.        6.50 $ 425.00   $   2,762.50 LA law.
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                                                                              Researched, drafted memo on lessor remedies under
06/25/2023   B110   Torrans, Coleman L.        3.30 $ 425.00   $   1,402.50   LA law.
06/26/2023   B190   Torrans, Coleman L.        0.20 $ 425.00   $      85.00   Email with MEX's counsel re Samnosh objection.
06/26/2023   B110   Torrans, Coleman L.        0.40 $ 425.00   $     170.00   Analysis of                    available under LA law.
                                                                              Reviewed BFM petitions; drafted summary and
06/26/2023   B190   Torrans, Coleman L.        1.20 $ 425.00   $    510.00    circulated to Ben Kadden.
                                                                              Emails with Ben Kadden, debtor, co-counsel re
06/27/2023   B110   Torrans, Coleman L.        0.40 $ 425.00   $    170.00    compliance resolution.
                                                                              Emails with Ben Kadden, debtor regarding restoration
06/28/2023   B110   Torrans, Coleman L.        0.80 $ 425.00   $    340.00    of CC systems at NY dealer site.
                                                                              Emails with Ben Kadden, counsel for NY dealers
06/29/2023   B110   Torrans, Coleman L.        0.30 $ 425.00   $    127.50    regarding restoration of CC systems.
                                                                              Emails with client, Ben Kadden regarding
06/30/2023   B110   Torrans, Coleman L.        0.40 $ 425.00   $    170.00                          .
                                                                              Strategize with C. Torrans whether can move for
06/22/2023   B410   Barriere, Jennifer         0.60 $ 300.00   $    180.00                             ; send caselaw as to same.
                                                                              Meet with B. Kadden regarding law on termination of
                                                                              lease and acceleration of rent; evaluate and analyze
06/23/2023   B410   Barriere, Jennifer         0.70 $ 300.00   $    210.00    caselaw as to same.
                                                                              Review email from C. Torrans as to proposed
                                                                              conversations with new operators and respond to
06/26/2023   B410   Barriere, Jennifer         0.20 $ 300.00   $     60.00    same.
                                                                              Review and analyze proposed memorandum by C.
06/26/2023   B410   Barriere, Jennifer         0.40 $ 300.00   $    120.00    Torrans.
                                                                              Access East Baton Rouge Parish Clerk of Court
                                                                              database to search Debtor and Non-Debtor Affiliate
                                                                              entities in civil records; download relevant pleadings;
                                                                              memo to Ben Kadden and Coleman Torrans regarding
06/01/2023   B110   Johnson, Ivy               0.50 $ 150.00   $      75.00   status
                                             282.70            $ 148,134.00
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors.1                        (Jointly Administered)

             FOURTH MONTHLY FEE STATEMENT OF LUGENBUHL, WHEATON,
                 PECK, RANKIN & HUBBARD FOR COMPENSATION FOR
                    SERVICES AND REIMBURSEMENT OF EXPENSES
                  AS SPECIAL LITIGATION COUNSEL TO THE DEBTORS
               FOR THE PERIOD FROM JULY 1, 2023 THROUGH JULY 31, 2023

             Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [Docket No. 408] (the “Compensation Order”),

Lugenbuhl, Wheaton, Peck, Rankin & Hubbard (“Lugenbuhl”), attorneys for the above-captioned

debtors and debtors in possession (the “Debtors”), submits this monthly statement (“Statement”)

of services rendered and expenses incurred in these Chapter 11 Cases for the period from July 1,

2023 through July 31, 2023 (the “Statement Period”).

I.           Itemization of Services Rendered by Lugenbuhl:

             A.    The following is a list of individuals and their respective titles that provided

services during the Statement Period. It includes information regarding their respective billing

rates and the total number of hours spent by each individual providing services during the

Statement Period for which Lugenbuhl seeks compensation.




1     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.
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                                            SUMMARY

                                       State of Bar
                       Position /                      Hourly                        Total
        Name                           Admission /                     Hours
                        Dept.                           Rate                      Compensation
                                          Year
  Benjamin W.        Managing          LA 2005
                                                      $650.00           63.00     $40,950.00
  Kadden             Shareholder       TX 2011
  Avery E.
                     Associate         LA 2022        $245.00           10.40      $2,548.00
  Autin
  Coleman L.
                     Associate         LA 2019        $425.00           87.10     $37,017.50
  Torrans
  Jennifer E.
                     Counsel           LA 2012        $300.00             0.60       $180.00
  Barriere
  Susan D.
                     Paralegal                        $150.00             0.30        $45.00
  Eaton
  Total:                                                               161.40      $80,740.50

         B.     The time records of Lugenbuhl consisting of a daily breakdown of the time spent

by each person on each day are attached as Exhibit A to this Statement.

II.      Itemization of Services Rendered and Disbursements Incurred By Category

         The following itemization presents the services rendered by Lugenbuhl by Task

Categories, and provides a summary of disbursements incurred by category of disbursement.

                1.      Services Rendered

         The following services were rendered in the following Task Categories:

       SM/Task                   Task Category                 Hours          Fees Earned
       B110                                             6.1                 $2,907.50
                     Case Administration
       B120          Asset Analysis and Recovery        27.8                $13,300.00
       B130          Asset Disposition                  0.2                 $130.00
       B150          Creditor Communications            2.2                 $935.00
       B160          Fee/Employment Applications        12.2                $4,307.50
       B185          Assumption/Rejection of            26.6                $13,525.00
                     Leases/Contracts
       B190          Other Contested Matters            85.7                $45,245.50
       B210                                             0.6                 $390.00
                     Business Operations
                     Total                              161.4               $80,740.50
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       A detailed itemization of the services rendered in each of the above Task Categories is set

forth in Exhibit A.

              2.      Disbursements Incurred

       The disbursements incurred by Lugenbuhl for this Statement are as follows:

          Expense Category                                            Total Expenses
          AT&T TeleConference Services, Invoice 307-005720            $3.17
          teleconference with Ben Kadden on 06/02/23
          AT&T TeleConference Services, Invoice 307-005720            $1.32
          teleconference with Ben Kadden on 06/07/23
          AT&T TeleConference Services, Invoice 307-005720            $15.31
          teleconference with Ben Kadden on 06/23/23
          AT&T TeleConference Services, Invoice 307-005720            $4.66
          teleconference with Ben Kadden on 06/26/23
          AT&T TeleConference Services, Invoice 307-005720            $0.31
          teleconference with Ben Kadden on 06/27/23
          AT&T TeleConference Services, Invoice 307-005720            $0.13
          teleconference with Ben Kadden on 06/27/23
          Benjamin W. Kadden, Invoice 071023: airfare, airport
          parking, transportation, and meal costs for Show Cause      $909.72
          Hearing on 07/10/23

                                                                      $934.62

              3.      Accordingly, the amount of compensation and expenses payable for this
                      Statement Period is $65,527.02, which is calculated as follows:

         Total Fees for Services Rendered During Statement Period              $80,740.50
         Twenty Percent (20%) Holdback                                         $16,148.10
         Fees Minus Holdback                                                   $64,592.40
         Costs (100%)                                                             $934.62
         TOTAL                                                                 $65,527.02

       WHEREFORE, pursuant to the Interim Compensation Order, Lugenbuhl requests

payment of compensation in the amount of (i) $64,592.40 (80% of $80,740.50) on account of

actual, reasonable and necessary professional services rendered to the Debtors by Lugenbuhl and

(ii) reimbursement of actual and necessary costs and expenses in the amount of $934.62 incurred

on behalf of the Debtors by Lugenbuhl.
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                                        Respectfully submitted,

 Dated: August 10, 2023                 /s/ Benjamin W. Kadden
 New Orleans, LA                        LUGENBUHL, WHEATON, PECK, RANKIN &
                                        HUBBARD
                                        Benjamin W. Kadden (TX 24077542)
                                        Coleman L. Torrans (Pro Hac Vice)
                                        601 Poydras St., 27th Floor
                                        New Orleans, LA
                                        (t) 504.568.1990
                                        (f) 504.310.9195
                                        bkadden@lawla.com
                                        ctorrans@lawla.com

                                        Special Litigation Counsel to the Debtors and Debtors in
                                        Possession




                                CERTIFICATE OF SERVICE


       I hereby certify that on this 10th day of August, 2023, a true and correct copy of the above
and foregoing has been served on all parties that are registered to receive electronic transmission
through this Court’s CM/ECF filing system in these cases.


                                                     /s/ Benjamin W. Kadden
                                                     Benjamin W. Kadden
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                               Exhibit A
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               L UGENBUHL , W HEATON , P ECK , R ANKIN & H UBBARD
                                           A LAW CORPORATION
                                6 0 1 P O Y DR A S S T R E E T , S U I T E 2 7 7 5
                              NE W O R L E A NS , L O U I S I A NA   70130 -6041
                                              (504) 568-1990
                                           F.E.I. # XX-XXXXXXX



  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 297923
                                                                        August 4, 2023
____________________________________________________________________________________

                                      INVOICE SUMMARY

For Professional Services Rendered Through July 31, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                             Total Fees                                $ 80,740.50
                             Total Expenses                               $ 934.62

                             TOTAL THIS INVOICE                        $ 81,675.12

                             Prior Balance Outstanding               $ 180,279.99

                             TOTAL BALANCE DUE                       $ 261,955.11




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                                           LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 297923                                                                            August 4, 2023

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                                                    FEES

   Date Atty Description of Services                                                                  Hours
7/02/23 CLT Docket review and calendaring.                                                              .50
7/03/23 BWK Multiple emails with client group and counsel regarding transfer of                         .80
             operations at Store        to new dealer.
7/03/23 BWK Further emails with counsel for Imperial, co-counsel and the client group                   .80
             regarding the abandonment of Store No.           and potential compliance and
             inspection issues.
7/03/23 BWK Further calls/emails with counsel for NY Dealers, client group, and co-                     .80
             counsel regarding restoration of credit card networks and blackboxes.
7/03/23 BWK Emails with counsel for GSS, client group, and co-counsel, regarding                        .80
             potential for agreement on                                             t at certain
             stores, as well as                                                       .
7/03/23 BWK Follow-up emails with client group and co-counsel regarding                         .       .30
7/03/23 BWK Follow-up emails with client group and counsel for                        regarding         .30
             lease issues.
7/03/23 BWK Receipt and review of emails and documents relating to              debranding of           .80
             certain stores in           , and emails with counsel for        , co-counsel and
             client group regarding same.
7/03/23 BWK Emails with client group and co-counsel regarding                             taking        .40
             over certain properties abandoned by the Debtors and impact on pending
             litigation.
7/04/23 BWK Emails with client group, co-counsel, and counsel for BFM regarding BFM's                   .40
             potential cure claim amount and reconciliation of same.
7/05/23 BWK Follow-up emails with counsel for               , co-counsel and the client group           .60
             regarding the abandonment of Store No.          , the restoration of power at the
             store and need for compliance inspections.
7/05/23 BWK Further calls/emails with counsel for NY Dealers, M & Y, client group, and                  .50
             co-counsel regarding restoration of credit card networks and blackboxes.
7/05/23 BWK Follow-up emails with counsel for GSS, client group, and co-counsel,                        .60
             regarding potential for agreement on use of
             at certain stores, as well as                                                        .
7/05/23 BWK Emails with counsel for Imperial and client group regarding Imperial's                      .30
             forthcoming abstention motion and request for consent to extension of time
             to answer the complaint.
7/05/23 BWK Emails with counsel for BFM and client group regarding                                      .30
                  .
7/05/23 BWK Emails with in-house counsel for              , co-counsel, and FTI regarding               .30
             cure issues raised by            .
7/05/23 BWK Multiple follow-up emails and calls with counsel for           , client group, and         1.20


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                 co-counsel regarding the                regarding debranding of certain stores in
                            , and review relevant documentation relating to same.
7/05/23 BWK      Receipt and review of Imperial's Emergency Motion for Extension of Time to           .30
                 Answer and emails with court and co-counsel regarding intention to object to
                 same.
7/05/23 BWK      Review and revise the 2nd Monthly Fee Statement for Lugenbuhl. (                     .40
7/05/23 BWK      Multiple emails and calls with co-counsel and client group regarding                 .60
                 potential sale of Store       to a third party and the impact of same on the
                 rights of the Debtors.
7/05/23 BWK      Receipt and initial review of Imperial's Motion for Abstention filed in the         1.20
                 Imperial litigation and emails with counsel regarding same.
7/05/23 CLT      Reviewed procedures for extension of time to answer.                                 .50
7/05/23 CLT      Emails with counsel for Imperial, Ben Kadden, regarding abstention,                  .30
                 extension of time to answer.
7/05/23 CLT      Emails with courtroom deputy regarding objection to motion for extension of          .30
                 time.
7/05/23 CLT      Redactions to May fee statement.                                                     .40
7/05/23 CLT      Drafted Debtor's objection to motion to extend time to file answer in               1.20
                 Imperial.
7/05/23 CLT      Receipt and initial review of abstention motion.                                     .50
7/05/23 CLT      Review of authorities regarding judicial economy considerations,                    1.20
                 applicability.
7/05/23 AEA      Drafted the second monthly fee app                                                  1.00
7/05/23 AEA      Consolidated time reports and created the Exhibits to the second monthly fee         .40
                 app
7/05/23 AEA      Redacted the Attorney Report and Task Report for the second monthly fee              .90
                 app
7/06/23 BWK      Multiple emails and calls with counsel for NY Dealers, M & Y, client group,         2.30
                 and co-counsel regarding restoration work, payment of past due balances and
                 July rent.
7/06/23 BWK      Emails and calls with client group and co-counsel regarding Imperial dealer          .80
                 issues.
7/06/23 BWK      Receipt and review of inspection information for all Imperial stores, and            .70
                 emails with client group and co-counsel regarding same.
7/06/23 BWK      Emails/calls and research regarding the possible transfer of leasehold at Store      .80
                      .
7/06/23 BWK      Emails and calls with co-counsel and client group regarding strategy for the         .80
                 Show Cause Hearing on 7/10.
7/06/23 BWK      Participate on bi-weekly call with professionals.                                    .50
7/06/23 BWK      Review and revise the draft Objection to Imperial's Motion for Extension of         1.50
                 Time to Answer Compliant, and file/serve same.
7/06/23 BWK      Follow-up emails with in-house counsel for               , co-counsel, and FTI       .60
                 regarding cure issues raised by            .
7/06/23 BWK      Continue review of Imperial's Motion for Abstention filed in the Imperial           1.10


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            litigation and begin researching relevant issues.
7/06/23 BWK Further emails/call with counsel for     , client group, and co-counsel          .80
            regarding the              regarding debanding of certain stores in        ,
            and review relevant documentation relating to same.
7/06/23 BWK Receipt and initial review of Imperial's Answer and emails with co-counsel       .80
            regarding same.
7/06/23 CLT Coordinated edit, filing of opposition to motion by Imperial to continue         .30
            deadline to answer complaint.
7/06/23 AEA Reviewed the Objection to the Extension Motion and provided comments on         1.20
            same
7/07/23 BWK Multiple emails and calls with client group and co-counsel regarding failure    1.50
            of Imperial and GSS to pay rent and issues relating to same.
7/07/23 BWK Follow-up emails with counsel for Imperial and the Court regarding the           .30
            withdrawal of the extension motion based on the answer filed by Imperial.
7/07/23 BWK Call and emails with counsel for GSS, client group and co-counsel regarding      .80
            dealer-specific issues.
7/07/23 BWK Call and emails with counsel for Imperial, client group and co-counsel          1.30
            regarding dealer-specific issues.
7/07/23 BWK Receipt and review of the Order denying Defendants' Motion to Extend Time        .10
            to Answer filed in the Imperial matter.
7/07/23 BWK Follow-up emails with counsel for NY Dealers, M & Y, client group, and co-      1.40
            counsel regarding restoration work, payment of past due balances and July
            rent.
7/07/23 CLT Review of community concerns raised re                    properties;            .40
            correspondence with Ben Kadden regarding same
7/07/23 CLT Emails with Ben Kadden, client regarding non-compliance issues involving        1.40
            operator-dealers, GSS.
7/07/23 CLT Emails with client regarding non-compliance issues involving operator-          1.60
            dealers, Imperial.
7/07/23 CLT Coordinated with AA calculation of damages caused by NY Dealers stay             .60
            violations.
7/07/23 CLT Emails with Ben Kadden, counsel for GSS regarding ACH bounces.                   .80
7/07/23 CLT Emails with Ben Kadden, counsel for Imperial regarding non-compliance           1.10
            issues.
7/07/23 AEA Updated the spreadsheet of legal expenses re stay violations for expenses       1.00
            through the month of June
7/10/23 BWK Travel to and from Houston for Show Cause Hearing relating to NY Dealers.       3.20
            Billed at ½ time.
7/10/23 BWK Emails with co-counsel regarding various litigation matters.                     .30
7/10/23 BWK Review pleadings and emails with counsel for NY Dealers and co-counsel to        .50
            prepare for Show Cause Hearing.
7/10/23 BWK Calls and emails with counsel for NY Dealers and client regarding               1.40
            completion of restoration work and payment of amounts due for June and
            July.


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7/10/23 BWK Participate in bi-weekly conference call with professionals.                          .50
7/10/23 BWK Emails with client group and                            regarding bounced fuel        .30
            drafts at multiple stores and the potential need to seek emergency relief.
7/10/23 BWK Follow-up emails with counsel and client group regarding Samnosh's                    .70
            withdrawal of its motion and potential grounds for resolving disputes with
            same.
7/10/23 BWK Emails with client group regarding abandonment by            of the store located     .30
            at                 and issues arising out of same.
7/10/23 BWK Attend Show Cause Hearing and emails with client group and co-counsel                1.30
            regarding outcome and next steps.
7/10/23 BWK Emails and call with Daniel regarding history of returns by dealers for fuel          .30
            and rent.
7/10/23 CLT Attended show cause hearing on emergency motion.                                      .70
7/10/23 CLT Emails with co-counsel regarding pending litigation.                                  .30
7/10/23 CLT Emails with co-counsel; regarding Samnosh motion.                                     .40
7/10/23 CLT Emails with client, co-counsel regarding                  dispute.                    .40
7/10/23 CLT Docket review, calendaring.                                                           .50
7/10/23 CLT Preparation for stay enforcement motion against NY Dealers.                          2.70
7/10/23 CLT Emails with co-counsel regarding stay violation hearing.                              .40
7/11/23 BWK Multiple emails with client group and co-counsel regarding potential                  .30
            rejection of the Samnosh contract and issues relating to same.
7/11/23 BWK Multiple emails and calls with counsel for client group and counsel regarding        2.20
            issues relating to        abandonment of the store at                  and
            interaction with landlord.
7/11/23 BWK Multiple emails and calls with counsel for client group and co-counsel                .60
            regarding issues relating to                          s non-payment for fuel.
7/11/23 BWK Emails/calls with client group and counsel for the NY Dealers regarding               .70
            discovery relating to the Sanction Hearing involving the NY Dealers.
7/11/23 CLT Emails with client regarding lease rejection.                                         .30
7/11/23 CLT Correspondence with Ben Kadden, client regarding                      dispute.        .70
7/11/23 CLT Correspondence with Ben Kadden, co-counsel regarding                                  .50
            dispute.
7/11/23 CLT Emails with co-counsel Ben Kadden, regarding bankruptcy strategy, lease               .60
            assumption and rejection issues, lessor non-compliance.
7/11/23 CLT Prepared summary of landlord-debtor dispute for store no.          .                 3.60
7/12/23 BWK Follow-up emails with Greg and Neil regarding the proposed rejection of the           .30
            Samnosh contracts and claims against same.
7/12/23 BWK Follow-up emails counsel for the NY Dealers regarding discovery relating to           .80
            the Sanction Hearing.
7/12/23 BWK Receipt and review of cure objections filed by Imperial-related entities to           .80
            determine impact on pending litigation, and emails regarding same.
7/12/23 BWK Review and revise report to Michael Healy and client group regarding issues          1.30
            relating to Store       located at               , and emails regarding same.
7/12/23 BWK Receipt and initial review of the Adversary Complaint filed by Samnosh and            .50


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                 emails with co-counsel regarding same.
7/12/23 CLT      Provided summary of debtor-landlord dispute regarding lease; appendices for        1.60
                 same to client, co-counsel.
7/12/23 CLT      Analysis, emails and calls with co-counsel regarding consequences of               2.80
                 rejection and post-petition claim for rents.
7/13/23 BWK      Emails with counsel for GSS, client and co-counsel regarding GSS' objection         .40
                 to the Debtors' Notice of Cure Amounts.
7/13/23 BWK      Emails with counsel for GSS, client and co-counsel regarding a proposed             .40
                 seven-day extension of time to file its answer to the Adversary Complaint.
7/13/23 BWK      Emails with counsel for operator of       convenience stores and co-counsel         .30
                 regarding extension of deadline to respond to Debtors' cure notice.
7/13/23 BWK      Follow-up emails with co-counsel and client regarding issues relating to            .90
                 Store       located at                 .
7/13/23 BWK      Participate in bi-weekly professionals conference                                   .40
7/13/23 BWK      Review docket in the Samnosh adversary to determine potential deadlines.            .30
7/13/23 BWK      Emails and call with co-counsel and client group regarding potential rejection     1.00
                 of the Samnosh contract and go-forward litigation strategy.
7/13/23 BWK      Receipt and review of various cure objections and emails with co-counsel            .90
                 and FTI regarding same.
7/13/23 BWK      Review and revise the draft Stipulation and Agreed Order to be presented to         .50
                 the landlord at                 relating to rejection of the principal lease and
                 related issues.
7/13/23 BWK      Emails with client and counsel for NY dealers regarding payment for fuel.           .30
7/13/23 BWK      Voicemail and email from counsel for potential interested party in the bid          .20
                 process, and emails with client group regarding same.
7/13/23 CLT      Phone call with M. Warner regarding stipulation to reject lease for Store No.       .30
                       .
7/13/23 CLT      Emails with Pachulski team regarding consequences of lease rejection.               .90
7/13/23 CLT      Drafted stipulation for rejection of lease.                                        1.20
7/13/23 CLT      Emails with MEX, co-counsel regarding removal of estate property at Store           .40
                 No.       .
7/13/23 CLT      Emails and analysis with co-counsel regarding cure objections, adversary            .60
                 proceedings.
7/13/23 AEA      Completed the third monthly fee app.                                               1.00
7/14/23 BWK      Receipt and review of additional cure objections and emails with co-counsel        1.10
                 and FTI regarding same.
7/14/23 BWK      Review and revise the draft Monthly Fee Statement for Lugenbuhl for June            .60
                 2023 and coordinate filing of same.
7/14/23 BWK      Receipt and initial review of BFM's discovery requests, and emails with             .40
                 counsel regarding same.
7/14/23 CLT      Phone calls with landlord, emails with debtors regarding dispute same.             2.40
7/14/23 CLT      Receipt, review and calendaring of response deadlines for BFM's first               .80
                 discovery.
7/14/23 CLT      Emails with co-counsel regarding discovery in contested matter.                     .50


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7/17/23 BWK Review and comment on final draft of Lugenbuhl's 3rd Monthly Fee                   .40
            Statement.
7/17/23 BWK Coordinate filing and service of Lugenbuhl's 3rd Monthly Fee Statement.            .30
7/17/23 BWK Receipt and review of multiple cure objections, and emails with professionals      .70
            regarding same.
7/17/23 BWK Multiple emails regarding proposed resolution of the issues pertaining to          .60
            Store       .
7/17/23 BWK Emails with counsel for landlord at                       .                        .20
7/17/23 BWK Emails pertaining to fuel and rent issues involving the 6 NY dealers.              .20
7/17/23 CLT Emails with client, co-counsel, FTI re Store No.          .                        .50
7/17/23 CLT Docket review.                                                                     .60
7/17/23 CLT Redacted June statement for confidential, privileged information.                  .60
7/17/23 CLT Emails with co-counsel re Store no.         , stipulation.                         .20
7/17/23 CLT Email with owner of Store No.          responding to inquiries regarding rent,     .30
            citations, rejection.
7/17/23 CLT Reviewed Samnosh adversary complaint filings.                                      .60
7/17/23 SDE Westlaw dockets online re: filings for issuance of summons                         .10
7/17/23 AEA Redacted the attorney and task reports to be used as Exhibits to the third        1.20
            monthly fee app and made changes to fee app per Ben Kadden.
7/18/23 BWK Emails with co-counsel and counsel for                regarding outstanding        .30
            amounts owed by the Debtors and related cure issues.
7/18/23 CLT Emails and phone call with landlord for store regarding lease disputes.            .60
7/18/23 CLT Emails with co-counsel regarding litigation issues.                                .40
7/18/23 CLT Phone call and emails with MW regarding stipulation to reject and terminate        .50
            lease.
7/18/23 CLT Edits to stipulation to reject and terminate lease.                               1.20
7/18/23 SDE Westlaw dockets online, download Doc 3 - Order Regarding the Exchange              .20
            Exhibits and Witness Lists. Download same to team.
7/19/23 BWK Receipt and review of comments to the proposed Stipulation and Agreed              .80
            Order re: Store       , and emails/calls regarding same.
7/19/23 BWK Receipt and review of multiple cure objections, and emails with professionals      .60
            regarding same.
7/19/23 BWK Receipt and review of emails with counsel for         c-stores and emails with     .40
            client group and co-counsel regarding cure objections and deadline for
            asserting same.
7/19/23 BWK Receipt of the summons request by Samnosh, and emails with counsel for             .80
            Samnosh, client group, and co-counsel regarding extension of deadline for
            answering same.
7/19/23 CLT Incorporated comments and changes from MW into stipulation to reject and           .90
            terminate lease.
7/19/23 CLT Emails with counsel to Samnosh, co-counsel, regarding summons, service,            .90
            and continuance of deadline to file responsive pleading.
7/19/23 CLT Emails with MW, co-counsel, regarding stipulation to reject/ terminate lease.     2.10
7/20/23 BWK Follow-up emails/calls with co-counsel regarding the form and substance of        1.30


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                 the proposed Stipulation and Agreed Order re: Store          and review/revise
                 updated draft.
7/20/23 BWK      Multiple emails with client group and counsel for the NY Dealers regarding          .30
                 continuing returns of ACH and fuel issues.
7/20/23 BWK      Conference call with co-counsel regarding various litigation matters.               .30
7/20/23 BWK      Emails with client group regarding preparation of analysis relating to the fuel     .30
                 inventory misappropriated by the NY Dealers and other damages.
7/20/23 BWK      Review and revise Stipulation extending responsive pleading deadline in the         .40
                 Samnosh matter, and emails regarding same.
7/20/23 BWK      Continue review of BFM's discovery requests, and emails with counsel                .60
                 regarding extension of time to respond to same.
7/20/23 BWK      Emails with co-counsel and BFM regarding sales process issues.                      .30
7/20/23 JEB      Review proposed stipulation and make edits to same; draft email response to         .60
                 B. Kadden and C. Torrans.
7/20/23 CLT      Received edits from Jennifer Barriere, incorporated edits into stipulation to       .50
                 reject lease.
7/20/23 CLT      Call with co-counsel regarding litigation status.                                   .40
7/20/23 CLT      Incorporated edits from MW into stipulation to reject lease, preserve claims;      1.50
                 emails with Jennifer Barriere, Ben Kadden co-counsel regarding same.
7/21/23 BWK      Multiple emails with counsel for BFM and co-counsel regarding the BFM               .60
                 discovery requests.
7/21/23 BWK      Follow-up emails with co-counsel, Raymond James, and BFM regarding                  .30
                 sales process issues.
7/21/23 BWK      Further emails with client group and counsel for the NY Dealers regarding           .60
                 continuing returns of ACH and fuel issues.
7/21/23 BWK      Begin work on Lugenbuhl's First Interim Fee Application.                            .60
7/21/23 BWK      Emails with client group and        regarding damage caused to pump by              .30
                 customer at Store        and requirement for       to address.
7/21/23   CLT    Review and analysis of Imperial's motion to abstain.                                .80
7/21/23   AEA    Began working on the First Interim Fee App                                          .80
7/23/23   CLT    Researched, drafted response to Imperial's abstention motion.                     12.10
7/24/23   CLT    Phone call and emails with co-counsel regarding debtor dealer-dispute.              .60
7/24/23   CLT    Edits to draft response to Imperial's motion for abstention.                       5.60
7/24/23   AEA    Completed the First Interim Fee App and sent to Coleman Torrans                    1.20
7/25/23   CLT    Reviewed discovery from BFM; reviewed FRCP relevant authorities; drafted           2.60
                 reservation of rights statement.
7/25/23 CLT      Emails with co-counsel regarding BFM reservation of rights statement.               .30
7/25/23 CLT      Emailed counsel for BFM reservation of rights statement.                            .20
7/26/23 CLT      Emails with client regarding abstention motion response, solicited comments         .50
                 regarding same.
7/26/23 CLT      Emails with co-counsel regarding abstention motion response, solicited              .30
                 comments regarding same.
7/26/23 CLT      Emails with co-counsel regarding EROA access issue.                                 .30
7/26/23 CLT      Solicited comments from FTI regarding response to abstention motion.                .30


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7/26/23   CLT    Emails with client regarding non-compliance issues with NY Dealers.              1.40
7/26/23   CLT    Edits to abstention motion.                                                      2.10
7/26/23   CLT    Worked with staff to file stipulation in Samnosh matter.                          .30
7/26/23   CLT    Follow up emails with counsel for NY Dealers regarding compliance issues.         .50
7/26/23   CLT    Email to counsel for BFM providing reservation of rights statement.               .60
7/26/23   AEA    Reviewed and revised the Objection to the Motion to Abstain                      1.20
7/26/23   AEA    Reviewed the First Interim App and made revisions to same                         .50
7/27/23   CLT    Phone calls with MEX and co-counsel teams regarding unbranded fuel                .50
                 claims.
7/27/23 CLT      Emails with professional teams regarding Imperial adversary.                     1.50
7/27/23 CLT      Emails with KCC team regarding service.                                           .20
7/27/23 CLT      Emails with MEX team regarding NY Dealers on-compliance issues,                   .40
                 bounced fuel payments.
7/27/23 CLT      Emails with counsel for NY Dealers non-compliance issues, bounced fuel            .60
                 payments.
7/27/23 CLT      Edits to interim fee application; worked with staff to file and serve same.       .70
7/27/23 CLT      Created breakdown of post-breach balances for NY Dealers.                         .90
7/28/23 CLT      Emails, call with co-counsel re notices of citations with regard to               .80
                 properties.
7/28/23 CLT      Emails with client regarding PQA inquiry at             operated store.           .60
7/28/23 CLT      Reviewed             supply agreements and leases for indemnity obligations,     2.40
                 PQA inquiry notice, client materials, and OK admin. code; drafted demand
                 for records and cease and desist letter.
7/28/23   CLT    Review of property citations.                                                     .40
7/31/23   CLT    Emails with UST office regarding LEDES data request.                              .30
7/31/23   CLT    Review of OK regulations, statutes regarding fuel retail, UST compliance.        2.20
7/31/23   CLT    Phone call and emails with client regarding demand for records.                   .40
7/31/23   CLT    Amended demand letter to               incorporated client edits.                 .90
7/31/23   CLT    Emails with counsel to            regarding OK PQA.                               .30
                 TOTALS                                                                         161.40


          TOTAL FEES:                                                                      $ 80,740.50

                                         TIME SUMMARY

Name                                                   Hours           Rate                      Total
Kadden, Ben W.                                         63.00         650.00                  40,950.00
Autin, Avery                                           10.40         245.00                   2,548.00
Torrans, Coleman L.                                    87.10         425.00                  37,017.50
Barriere, Jennifer                                       .60         300.00                     180.00
Eaton, Susan D.                                          .30         150.00                      45.00
TOTALS                                                161.40                               $ 80,740.50



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                                            EXPENSES

   Date Description                                                                          Amount
7/01/23 AT&T TeleConference Services, Invoice 307-005720 teleconference with Ben               3.17
        Kadden on 06/02/23
7/01/23 AT&T TeleConference Services, Invoice 307-005720 teleconference with Ben                1.32
        Kadden on 06/07/23
7/01/23 AT&T TeleConference Services, Invoice 307-005720 teleconference with Ben               15.31
        Kadden on 06/23/23
7/01/23 AT&T TeleConference Services, Invoice 307-005720 teleconference with Ben                4.66
        Kadden on 06/26/23
7/01/23 AT&T TeleConference Services, Invoice 307-005720 teleconference with Ben                  .31
        Kadden on 06/27/23
7/01/23 AT&T TeleConference Services, Invoice 307-005720 teleconference with Ben                  .13
        Kadden on 06/27/23
7/10/23 Benjamin W. Kadden, Invoice 071023 airfare, airport parking, transporation, and       909.72
        lunch to Houston, TX from New Orleans, LA to attend Show Cause Hearing on
        07/10/23


          TOTAL EXPENSES                                                                    $ 934.62


          TOTAL THIS INVOICE                                                              $ 81,675.12




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                                               (504) 568-1990
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  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 297923
                                                                         August 4, 2023
____________________________________________________________________________________

                                        REMITTANCE ADVICE

For Professional Services Rendered Through July 31, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                              Total Fees                                $ 80,740.50
                              Total Expenses                               $ 934.62

                              TOTAL THIS INVOICE                        $ 81,675.12

                              Prior Balance Outstanding               $ 180,279.99

                              TOTAL BALANCE DUE                       $ 261,955.11


        To insure proper credit to your account please return this remittance with your payment.


PLEASE REFERENCE CLIENT.MATTER # AND INVOICE NO. ON YOUR CHECK




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Task Report
July 1, 2023 to July 31, 2023
Mountain Express Oil Company

Date         SM/Task    Name                   Hrs     Rate          Amt Narrative
07/02/2023   B110       Torrans, Coleman L.   0.50 $ 425.00 $     212.50 Docket review and calendaring.
07/06/2023   B110       Kadden, Ben W.        0.50 $ 650.00 $     325.00 Participate on bi-weekly call with professionals.

07/10/2023   B110       Kadden, Ben W.        0.50 $ 650.00   $   325.00 Participate in bi-weekly conference call with professionals.
                                                                         Emails with client, co-counsel regarding
07/10/2023   B110       Torrans, Coleman L.   0.40 $ 425.00   $ 170.00 dispute.
07/10/2023   B110       Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 Docket review, calendaring.
07/13/2023   B110       Kadden, Ben W.        0.40 $ 650.00   $ 260.00 Participate in bi-weekly professionals conference
07/17/2023   B110       Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 Emails with client, co-counsel, FTI re Store No.
07/26/2023   B110       Torrans, Coleman L.   0.30 $ 425.00   $ 127.50 Emails with co-counsel regarding EROA access issue.
                                                                         Solicited comments from FTI regarding response to
07/26/2023   B110       Torrans, Coleman L.   0.30 $ 425.00   $ 127.50 abstention motion.
                                                                         Emails with client regarding non-compliance issues with NY
07/26/2023   B110       Torrans, Coleman L.   1.40 $ 425.00   $ 595.00 Dealers.
                                                                         Follow up emails with counsel for NY Dealers regarding
07/26/2023   B110       Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 compliance issues.
07/31/2023   B110       Torrans, Coleman L.   0.30 $ 425.00   $ 127.50 Emails with UST office regarding LEDES data request.
                                                                         Multiple emails and calls with client group and co-counsel
                                                                         regarding failure of Imperial and GSS to pay rent and issues
07/07/2023   B120       Kadden, Ben W.        1.50 $ 650.00   $ 975.00 relating to same.
                                                                         Follow-up emails with counsel for Imperial and the Court
                                                                         regarding the withdrawal of the extension motion based on
07/07/2023   B120       Kadden, Ben W.        0.30 $ 650.00   $ 195.00 the answer filed by Imperial.
                                                                         Call and emails with counsel for GSS, client group and co-
07/07/2023   B120       Kadden, Ben W.        0.80 $ 650.00   $ 520.00 counsel regarding dealer-specific issues.
                                                                         Review of community concerns raised re GSS operated
                                                                         properties; correspondence with Ben Kadden regarding
07/07/2023   B120       Torrans, Coleman L.   0.40 $ 425.00   $ 170.00 same
                                                                         Emails with Ben Kadden, client regarding non-compliance
07/07/2023   B120       Torrans, Coleman L.   1.40 $ 425.00   $ 595.00 issues involving operator-dealers, GSS.
                                                                         Emails with client regarding non-compliance issues involving
07/07/2023   B120       Torrans, Coleman L.   1.60 $ 425.00   $ 680.00 operator-dealers, Imperial.
                                                                         Emails with Ben Kadden, counsel for GSS regarding ACH
07/07/2023   B120       Torrans, Coleman L.   0.80 $ 425.00   $ 340.00 bounces.
                                                                         Emails with Ben Kadden, counsel for Imperial regarding non-
07/07/2023   B120       Torrans, Coleman L.   1.10 $ 425.00   $ 467.50 compliance issues.
                                                                         Emails with client group and                Company
                                                                         regarding bounced fuel drafts at multiple stores and the
07/10/2023   B120       Kadden, Ben W.        0.30 $ 650.00   $ 195.00 potential need to seek emergency relief.
                                                                         Emails with client group regarding abandonment by GSS of
                                                                         the store located at                and issues arising out of
07/10/2023   B120       Kadden, Ben W.        0.30 $ 650.00   $ 195.00 same.
                                                                         Multiple emails and calls with counsel for client group and
                                                                         counsel regarding issues relating to GSS's abandonment of
07/11/2023   B120       Kadden, Ben W.        2.20 $ 650.00   $ 1,430.00 the store at                and interaction with landlord.
                                                                         Multiple emails and calls with counsel for client group and co-
                                                                         counsel regarding issues relating to                Company's
07/11/2023   B120       Kadden, Ben W.        0.60 $ 650.00   $ 390.00 non-payment for fuel.
                                                                         Correspondence with Ben Kadden, client regarding
07/11/2023   B120       Torrans, Coleman L.   0.70 $ 425.00   $ 297.50       dispute.
                                                                         Correspondence with Ben Kadden, co-counsel regarding
07/11/2023   B120       Torrans, Coleman L.   0.50 $ 425.00   $ 212.50                 dispute.
                                                                         Emails with co-counsel Ben Kadden, regarding bankruptcy
                                                                         strategy, lease assumption and rejection issues, lessor non-
07/11/2023   B120       Torrans, Coleman L.   0.60 $ 425.00   $ 255.00 compliance.
                                                                         Prepared summary of landlord-debtor dispute for store no.
07/11/2023   B120       Torrans, Coleman L.   3.60 $ 425.00   $ 1,530.00
                                                                         Provided summary of debtor-landlord dispute regarding
07/12/2023   B120       Torrans, Coleman L.   1.60 $ 425.00   $ 680.00 lease; appendices for same to client, co-counsel.
                                                                         Emails with MEX, co-counsel regarding removal of estate
07/13/2023   B120       Torrans, Coleman L.   0.40 $ 425.00   $ 170.00 property at Store No.
                                                                         Email with owner of Store No.         responding to inquiries
07/17/2023   B120       Torrans, Coleman L.   0.30 $ 425.00   $ 127.50 regarding rent, citations, rejection.
                                                                         Emails with co-counsel and BFM regarding sales process
07/20/2023   B120       Kadden, Ben W.        0.30 $ 650.00   $ 195.00 issues.
                                                                         Received edits from Jennifer Barriere, incorporated edits into
07/20/2023   B120       Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 stipulation to reject lease.
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                                                                     Incorporated edits from MW into stipulation to reject lease,
                                                                     preserve claims; emails with Jennifer Barriere, Ben Kadden
07/20/2023   B120   Torrans, Coleman L.   1.50 $ 425.00   $   637.50 co-counsel regarding same.
                                                                     Follow-up emails with co-counsel, Raymond James, and
07/21/2023   B120   Kadden, Ben W.        0.30 $ 650.00   $   195.00 BFM regarding sales process issues.
                                                                     Emails with counsel for NY Dealers non-compliance issues,
07/27/2023   B120   Torrans, Coleman L.   0.60 $ 425.00   $   255.00 bounced fuel payments.
                                                                     Emails, call with co-counsel re notices of citations with
07/28/2023   B120   Torrans, Coleman L.   0.80 $ 425.00   $   340.00 regard to       properties.
                                                                     Emails with client regarding PQA inquiry at Imperial operated
07/28/2023   B120   Torrans, Coleman L.   0.60 $ 425.00   $   255.00 store.
07/28/2023   B120   Torrans, Coleman L.   0.40 $ 425.00   $   170.00 Review of property citations.
                                                                     Review of OK regulations, statutes regarding fuel retail, UST
07/31/2023   B120   Torrans, Coleman L.   2.20 $ 425.00   $   935.00 compliance.
                                                                     Phone call and emails with client regarding demand for
07/31/2023   B120   Torrans, Coleman L.   0.40 $ 425.00   $   170.00 records.

07/31/2023   B120   Torrans, Coleman L.   0.90 $ 425.00   $   382.50 Amended demand letter to Imperial; incorporated client edits.
07/31/2023   B120   Torrans, Coleman L.   0.30 $ 425.00   $   127.50 Emails with counsel to          regarding OK PQA.
                                                                     Voicemail and email from counsel for potential interested
                                                                     party in the bid process, and emails with client group
07/13/2023   B130   Kadden, Ben W.        0.20 $ 650.00   $   130.00 regarding same.
07/10/2023   B150   Torrans, Coleman L.   0.70 $ 425.00   $   297.50 Attended show cause hearing on emergency motion.

07/27/2023   B150   Torrans, Coleman L.   1.50 $ 425.00   $   637.50 Emails with professional teams regarding Imperial adversary.
                                                                     Review and revise the 2nd Monthly Fee Statement for
07/05/2023   B160   Kadden, Ben W.        0.40 $ 650.00   $   260.00 Lugenbuhl. (
07/05/2023   B160   Autin, Avery          1.00 $ 245.00   $   245.00 Drafted the second monthly fee app
                                                                     Consolidated time reports and created the Exhibits to the
07/05/2023   B160   Autin, Avery          0.40 $ 245.00   $    98.00 second monthly fee app
                                                                     Redacted the Attorney Report and Task Report for the
07/05/2023   B160   Autin, Avery          0.90 $ 245.00   $   220.50 second monthly fee app
07/05/2023   B160   Torrans, Coleman L.   0.40 $ 425.00   $   170.00 Redactions to May fee statement.
                                                                     Updated the spreadsheet of legal expenses re stay violations
07/07/2023   B160   Autin, Avery          1.00 $ 245.00   $   245.00 for expenses through the month of June
07/13/2023   B160   Autin, Avery          1.00 $ 245.00   $   245.00 Completed the third monthly fee app.
                                                                     Review and revise the draft Monthly Fee Statement for
07/14/2023   B160   Kadden, Ben W.        0.60 $ 650.00   $   390.00 Lugenbuhl for June 2023 and coordinate filing of same.
                                                                     Redacted the attorney and task reports to be used as Exhibits
                                                                     to the third monthly fee app and made changes to fee app
07/17/2023   B160   Autin, Avery          1.20 $ 245.00   $   294.00 per Ben Kadden.
                                                                     Review and comment on final draft of Lugenbuhl's 3rd
07/17/2023   B160   Kadden, Ben W.        0.40 $ 650.00   $   260.00 Monthly Fee Statement.
                                                                     Coordinate filing and service of Lugenbuhl's 3rd Monthly Fee
07/17/2023   B160   Kadden, Ben W.        0.30 $ 650.00   $   195.00 Statement.
                                                                     Emails pertaining to fuel and rent issues involving the 6 NY
07/17/2023   B160   Kadden, Ben W.        0.20 $ 650.00   $   130.00 dealers.
                                                                     Redacted June statement for confidential, privileged
07/17/2023   B160   Torrans, Coleman L.   0.60 $ 425.00   $   255.00 information.
07/21/2023   B160   Autin, Avery          0.80 $ 245.00   $   196.00 Began working on the First Interim Fee App
07/21/2023   B160   Kadden, Ben W.        0.60 $ 650.00   $   390.00 Begin work on Lugenbuhl's First Interim Fee Application.
                                                                     Completed the First Interim Fee App and sent to Coleman
07/24/2023   B160   Autin, Avery          1.20 $ 245.00   $   294.00 Torrans

07/26/2023   B160   Autin, Avery          0.50 $ 245.00   $   122.50 Reviewed the First Interim App and made revisions to same
                                                                     Edits to interim fee application; worked with staff to file and
07/27/2023   B160   Torrans, Coleman L.   0.70 $ 425.00   $   297.50 serve same.
                                                                     Multiple emails with client group and counsel regarding
07/03/2023   B185   Kadden, Ben W.        0.80 $ 650.00   $   520.00 transfer of operations at Store       to new dealer.
                                                                     Emails with client group, co-counsel, and counsel for BFM
                                                                     regarding BFM's potential cure claim amount and
07/04/2023   B185   Kadden, Ben W.        0.40 $ 650.00   $   260.00 reconciliation of same.
                                                                     Multiple emails and calls with co-counsel and client group
                                                                     regarding potential sale of Store       to a third party and the
07/05/2023   B185   Kadden, Ben W.        0.60 $ 650.00   $   390.00 impact of same on the rights of the Debtors.
                                                                     Emails/calls and research regarding the possible transfer of
07/06/2023   B185   Kadden, Ben W.        0.80 $ 650.00   $   520.00 leasehold at Store
                                                                     Multiple emails with client group and co-counsel regarding
                                                                     potential rejection of the Samnosh contract and issues
07/11/2023   B185   Kadden, Ben W.        0.30 $ 650.00   $   195.00 relating to same.
07/11/2023   B185   Torrans, Coleman L.   0.30 $ 425.00   $   127.50 Emails with client regarding lease rejection.

                                                                     Follow-up emails with Greg and Neil regarding the proposed
07/12/2023   B185   Kadden, Ben W.        0.30 $ 650.00   $   195.00 rejection of the Samnosh contracts and claims against same.
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                                                                     Analysis, emails and calls with co-counsel regarding
07/12/2023   B185   Torrans, Coleman L.   2.80 $ 425.00   $ 1,190.00 consequences of rejection and post-petition claim for rents.
                                                                     Emails with counsel for GSS, client and co-counsel
                                                                     regarding GSS' objection to the Debtors' Notice of Cure
07/13/2023   B185   Kadden, Ben W.        0.40 $ 650.00   $ 260.00 Amounts.
                                                                     Follow-up emails with co-counsel and client regarding issues
07/13/2023   B185   Kadden, Ben W.        0.90 $ 650.00   $ 585.00 relating to Store         located at
                                                                     Emails and call with co-counsel and client group regarding
                                                                     potential rejection of the Samnosh contract and go-forward
07/13/2023   B185   Kadden, Ben W.        1.00 $ 650.00   $ 650.00 litigation strategy.
                                                                     Receipt and review of various cure objections and emails
07/13/2023   B185   Kadden, Ben W.        0.90 $ 650.00   $ 585.00 with co-counsel and FTI regarding same.
                                                                     Review and revise the draft Stipulation and Agreed Order to
                                                                     be presented to the landlord at                   relating to
07/13/2023   B185   Kadden, Ben W.        0.50 $ 650.00   $ 325.00 rejection of the principal lease and related issues.
                                                                     Phone call with M. Warner regarding stipulation to reject
07/13/2023   B185   Torrans, Coleman L.   0.30 $ 425.00   $ 127.50 lease for Store No.
                                                                     Emails with Pachulski team regarding consequences of
07/13/2023   B185   Torrans, Coleman L.   0.90 $ 425.00   $ 382.50 lease rejection.
07/13/2023   B185   Torrans, Coleman L.   1.20 $ 425.00   $ 510.00 Drafted stipulation for rejection of lease.
                                                                     Receipt and review of additional cure objections and emails
07/14/2023   B185   Kadden, Ben W.        1.10 $ 650.00   $ 715.00 with co-counsel and FTI regarding same.
                                                                     Phone calls with landlord, emails with debtors regarding
07/14/2023   B185   Torrans, Coleman L.   2.40 $ 425.00   $ 1,020.00 dispute same.
                                                                     Receipt and review of multiple cure objections, and emails
07/17/2023   B185   Kadden, Ben W.        0.70 $ 650.00   $ 455.00 with professionals regarding same.
                                                                     Multiple emails regarding proposed resolution of the issues
07/17/2023   B185   Kadden, Ben W.        0.60 $ 650.00   $ 390.00 pertaining to Store
07/17/2023   B185   Kadden, Ben W.        0.20 $ 650.00   $ 130.00 Emails with counsel for landlord at                         .
07/17/2023   B185   Torrans, Coleman L.   0.20 $ 425.00   $    85.00 Emails with co-counsel re Store no.           stipulation.
                                                                     Emails with co-counsel and counsel for                 regarding
                                                                     outstanding amounts owed by the Debtors and related cure
07/18/2023   B185   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 issues.
                                                                     Emails and phone call with landlord for store regarding lease
07/18/2023   B185   Torrans, Coleman L.   0.60 $ 425.00   $ 255.00 disputes.
                                                                     Phone call and emails with MW regarding stipulation to reject
07/18/2023   B185   Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 and terminate lease.
07/18/2023   B185   Torrans, Coleman L.   1.20 $ 425.00   $ 510.00 Edits to stipulation to reject and terminate lease.
                                                                     Receipt and review of emails with counsel for         c-stores
                                                                     and emails with client group and co-counsel regarding cure
07/19/2023   B185   Kadden, Ben W.        0.40 $ 650.00   $ 260.00 objections and deadline for asserting same.
                                                                     Incorporated comments and changes from MW into
07/19/2023   B185   Torrans, Coleman L.   0.90 $ 425.00   $ 382.50 stipulation to reject and terminate lease.
                                                                     Emails with MW, co-counsel, regarding stipulation to reject/
07/19/2023   B185   Torrans, Coleman L.   2.10 $ 425.00   $ 892.50 terminate lease.
                                                                     Review proposed stipulation and make edits to same; draft
07/20/2023   B185   Barriere, Jennifer    0.60 $ 300.00   $ 180.00 email response to B. Kadden and C. Torrans.
                                                                     Reviewed Imperial supply agreements and leases for
                                                                     indemnity obligations, PQA inquiry notice, client materials,
                                                                     and OK admin. code; drafted demand for records and cease
07/28/2023   B185   Torrans, Coleman L.   2.40 $ 425.00   $ 1,020.00 and desist letter.
                                                                     Further emails with counsel for Imperial, co-counsel and the
                                                                     client group regarding the abandonment of Store No.            and
07/03/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 potential compliance and inspection issues.
                                                                     Further calls/emails with counsel for NY Dealers, client
                                                                     group, and co-counsel regarding restoration of credit card
07/03/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 networks and blackboxes.
                                                                     Emails with counsel for GSS, client group, and co-counsel,
                                                                     regarding potential for agreement on use of credit card
                                                                     receipts for July rent at certain stores, as well as recovery of
07/03/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 fuel inventory from wholesale stores.
                                                                     Follow-up emails with client group and co-counsel regarding
07/03/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 Loomis safes.
                                                                     Follow-up emails with client group and counsel for LHJ
07/03/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 Property regarding lease issues.
                                                                     Receipt and review of emails and documents relating to
                                                                     debranding of certain stores in              and emails with
                                                                     counsel            co-counsel and client group regarding
07/03/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 same.

                                                                     Emails with client group and co-counsel regarding
                                                                              taking over certain properties abandoned by the
07/03/2023   B190   Kadden, Ben W.        0.40 $ 650.00   $   260.00 Debtors and impact on pending litigation.
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                                                                     Follow-up emails with counsel for Imperial, co-counsel and
                                                                     the client group regarding the abandonment of Store No.
                                                                     the restoration of power at the store and need for compliance
07/05/2023   B190   Kadden, Ben W.        0.60 $ 650.00   $   390.00 inspections.
                                                                     Further calls/emails with counsel for NY Dealers, M & Y,
                                                                     client group, and co-counsel regarding restoration of credit
07/05/2023   B190   Kadden, Ben W.        0.50 $ 650.00   $   325.00 card networks and blackboxes.
                                                                     Follow-up emails with counsel for GSS, client group, and co-
                                                                     counsel, regarding potential for agreement on use of
                                                                                                                , as well as
07/05/2023   B190   Kadden, Ben W.        0.60 $ 650.00   $   390.00                                                  .

                                                                     Emails with counsel for Imperial and client group regarding
                                                                     Imperial's forthcoming abstention motion and request for
07/05/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 consent to extension of time to answer the complaint.
                                                                     Emails with counsel for BFM and client group regarding
07/05/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 payment issues with SEI.
                                                                     Emails with in-house counsel for               co-counsel, and
07/05/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 FTI regarding cure issues raised by
                                                                     Multiple follow-up emails and calls with counsel for
                                                                     client group, and co-counsel regarding the         Notice
                                                                     regarding debranding of certain stores in              and
07/05/2023   B190   Kadden, Ben W.        1.20 $ 650.00   $ 780.00 review relevant documentation relating to same.
                                                                     Receipt and review of Imperial's Emergency Motion for
                                                                     Extension of Time to Answer and emails with court and co-
07/05/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 counsel regarding intention to object to same.
                                                                     Receipt and initial review of Imperial's Motion for Abstention
                                                                     filed in the Imperial litigation and emails with counsel
07/05/2023   B190   Kadden, Ben W.        1.20 $ 650.00   $ 780.00 regarding same.
07/05/2023   B190   Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 Reviewed procedures for extension of time to answer.
                                                                     Emails with counsel for Imperial, Ben Kadden, regarding
07/05/2023   B190   Torrans, Coleman L.   0.30 $ 425.00   $ 127.50 abstention, extension of time to answer.
                                                                     Emails with courtroom deputy regarding objection to motion
07/05/2023   B190   Torrans, Coleman L.   0.30 $ 425.00   $ 127.50 for extension of time.
                                                                     Drafted Debtor's objection to motion to extend time to file
07/05/2023   B190   Torrans, Coleman L.   1.20 $ 425.00   $ 510.00 answer in Imperial.
07/05/2023   B190   Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 Receipt and initial review of abstention motion.
                                                                     Review of authorities regarding judicial economy
07/05/2023   B190   Torrans, Coleman L.   1.20 $ 425.00   $ 510.00 considerations, applicability.
                                                                     Multiple emails and calls with counsel for NY Dealers, M & Y,
                                                                     client group, and co-counsel regarding restoration work,
07/06/2023   B190   Kadden, Ben W.        2.30 $ 650.00   $ 1,495.00 payment of past due balances and July rent.
                                                                     Emails and calls with client group and co-counsel regarding
07/06/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 Imperial dealer issues.
                                                                     Receipt and review of inspection information for all Imperial
                                                                     stores, and emails with client group and co-counsel
07/06/2023   B190   Kadden, Ben W.        0.70 $ 650.00   $ 455.00 regarding same.
                                                                     Emails and calls with co-counsel and client group regarding
07/06/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 strategy for the Show Cause Hearing on 7/10.

                                                                     Review and revise the draft Objection to Imperial's Motion for
07/06/2023   B190   Kadden, Ben W.        1.50 $ 650.00   $   975.00 Extension of Time to Answer Compliant, and file/serve same.

                                                                     Continue review of Imperial's Motion for Abstention filed in
07/06/2023   B190   Kadden, Ben W.        1.10 $ 650.00   $   715.00 the Imperial litigation and begin researching relevant issues.
                                                                     Further emails/call with counsel for       client group, and co-
                                                                     counsel regarding the        Notice regarding debanding of
                                                                     certain stores in            and review relevant
07/06/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $   520.00 documentation relating to same.
                                                                     Receipt and initial review of Imperial's Answer and emails
07/06/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $   520.00 with co-counsel regarding same.
                                                                     Reviewed the Objection to the Extension Motion and provided
07/06/2023   B190   Autin, Avery          1.20 $ 245.00   $   294.00 comments on same
                                                                     Coordinated edit, filing of opposition to motion by Imperial to
07/06/2023   B190   Torrans, Coleman L.   0.30 $ 425.00   $   127.50 continue deadline to answer complaint.
                                                                     Call and emails with counsel for Imperial, client group and co-
07/07/2023   B190   Kadden, Ben W.        1.30 $ 650.00   $   845.00 counsel regarding dealer-specific issues.

                                                                     Receipt and review of the Order denying Defendants' Motion
07/07/2023   B190   Kadden, Ben W.        0.10 $ 650.00   $    65.00 to Extend Time to Answer filed in the Imperial matter.
                                                                     Follow-up emails with counsel for NY Dealers, M & Y, client
                                                                     group, and co-counsel regarding restoration work, payment
07/07/2023   B190   Kadden, Ben W.        1.40 $ 650.00   $   910.00 of past due balances and July rent.
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                                                                     Coordinated with AA calculation of damages caused by NY
07/07/2023   B190   Torrans, Coleman L.   0.60 $ 425.00   $   255.00 Dealers stay violations.
                                                                     Travel to and from Houston for Show Cause Hearing relating
07/10/2023   B190   Kadden, Ben W.        3.20 $ 650.00   $ 2,080.00 to NY Dealers. Billed at ½ time.

07/10/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $   195.00 Emails with co-counsel regarding various litigation matters.
                                                                     Review pleadings and emails with counsel for NY Dealers
07/10/2023   B190   Kadden, Ben W.        0.50 $ 650.00   $   325.00 and co-counsel to prepare for Show Cause Hearing.
                                                                     Calls and emails with counsel for NY Dealers and client
                                                                     regarding completion of restoration work and payment of
07/10/2023   B190   Kadden, Ben W.        1.40 $ 650.00   $   910.00 amounts due for June and July.
                                                                     Follow-up emails with counsel and client group regarding
                                                                     Samnosh's withdrawal of its motion and potential grounds for
07/10/2023   B190   Kadden, Ben W.        0.70 $ 650.00   $   455.00 resolving disputes with same.
                                                                     Attend Show Cause Hearing and emails with client group and
07/10/2023   B190   Kadden, Ben W.        1.30 $ 650.00   $   845.00 co-counsel regarding outcome and next steps.
                                                                     Emails and call with Daniel regarding history of returns by
07/10/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $   195.00 dealers for fuel and rent.
07/10/2023   B190   Torrans, Coleman L.   0.30 $ 425.00   $   127.50 Emails with co-counsel regarding pending litigation.
07/10/2023   B190   Torrans, Coleman L.   0.40 $ 425.00   $   170.00 Emails with co-counsel; regarding Samnosh motion.

07/10/2023   B190   Torrans, Coleman L.   2.70 $ 425.00   $ 1,147.50 Preparation for stay enforcement motion against NY Dealers.
07/10/2023   B190   Torrans, Coleman L.   0.40 $ 425.00   $ 170.00 Emails with co-counsel regarding stay violation hearing.
                                                                     Emails/calls with client group and counsel for the NY Dealers
                                                                     regarding discovery relating to the Sanction Hearing involving
07/11/2023   B190   Kadden, Ben W.        0.70 $ 650.00   $ 455.00 the NY Dealers.
                                                                     Follow-up emails counsel for the NY Dealers regarding
07/12/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 discovery relating to the Sanction Hearing.
                                                                     Receipt and review of cure objections filed by Imperial-
                                                                     related entities to determine impact on pending litigation, and
07/12/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $ 520.00 emails regarding same.
                                                                     Review and revise report to Michael Healy and client group
                                                                     regarding issues relating to Store       located at
07/12/2023   B190   Kadden, Ben W.        1.30 $ 650.00   $ 845.00          and emails regarding same.
                                                                     Receipt and initial review of the Adversary Complaint filed by
07/12/2023   B190   Kadden, Ben W.        0.50 $ 650.00   $ 325.00 Samnosh and emails with co-counsel regarding same.
                                                                     Emails with counsel for GSS, client and co-counsel
                                                                     regarding a proposed seven-day extension of time to file its
07/13/2023   B190   Kadden, Ben W.        0.40 $ 650.00   $ 260.00 answer to the Adversary Complaint.
                                                                     Emails with counsel for operator of     convenience stores
                                                                     and co-counsel regarding extension of deadline to respond to
07/13/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 Debtors' cure notice.
                                                                     Review docket in the Samnosh adversary to determine
07/13/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 potential deadlines.
                                                                     Emails with client and counsel for NY dealers regarding
07/13/2023   B190   Kadden, Ben W.        0.30 $ 650.00   $ 195.00 payment for fuel.
                                                                     Emails and analysis with co-counsel regarding cure
07/13/2023   B190   Torrans, Coleman L.   0.60 $ 425.00   $ 255.00 objections, adversary proceedings.
                                                                     Receipt and initial review of BFM's discovery requests, and
07/14/2023   B190   Kadden, Ben W.        0.40 $ 650.00   $ 260.00 emails with counsel regarding same.
                                                                     Receipt, review and calendaring of response deadlines for
07/14/2023   B190   Torrans, Coleman L.   0.80 $ 425.00   $ 340.00 BFM's first discovery.
                                                                     Emails with co-counsel regarding discovery in contested
07/14/2023   B190   Torrans, Coleman L.   0.50 $ 425.00   $ 212.50 matter.

07/17/2023   B190   Eaton, Susan D.       0.10 $ 150.00   $    15.00 Westlaw dockets online re: filings for issuance of summons
07/17/2023   B190   Torrans, Coleman L.   0.60 $ 425.00   $   255.00 Docket review.
07/17/2023   B190   Torrans, Coleman L.   0.60 $ 425.00   $   255.00 Reviewed Samnosh adversary complaint filings.
                                                                     Westlaw dockets online, download Doc 3 - Order Regarding
                                                                     the Exchange Exhibits and Witness Lists. Download same to
07/18/2023   B190   Eaton, Susan D.       0.20 $ 150.00   $    30.00 team.
07/18/2023   B190   Torrans, Coleman L.   0.40 $ 425.00   $   170.00 Emails with co-counsel regarding litigation issues.
                                                                     Receipt and review of comments to the proposed Stipulation
                                                                     and Agreed Order re: Store         and emails/calls regarding
07/19/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $   520.00 same.
                                                                     Receipt and review of multiple cure objections, and emails
07/19/2023   B190   Kadden, Ben W.        0.60 $ 650.00   $   390.00 with professionals regarding same.

                                                                     Receipt of the summons request by Samnosh, and emails
                                                                     with counsel for Samnosh, client group, and co-counsel
07/19/2023   B190   Kadden, Ben W.        0.80 $ 650.00   $   520.00 regarding extension of deadline for answering same.
                                                                     Emails with counsel to Samnosh, co-counsel, regarding
                                                                     summons, service, and continuance of deadline to file
07/19/2023   B190   Torrans, Coleman L.   0.90 $ 425.00   $   382.50 responsive pleading.
         Case
          Case23-90147
               23-90147 Document
                         Document1720-4
                                  1236-1 Filed
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                                                    TXSBon
                                                         on11/15/23
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                                                                         Follow-up emails/calls with co-counsel regarding the form
                                                                         and substance of the proposed Stipulation and Agreed Order
07/20/2023   B190   Kadden, Ben W.          1.30 $ 650.00   $     845.00 re: Store    and review/revise updated draft.

                                                                         Multiple emails with client group and counsel for the NY
07/20/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 Dealers regarding continuing returns of ACH and fuel issues.
                                                                         Conference call with co-counsel regarding various litigation
07/20/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 matters.
                                                                         Emails with client group regarding preparation of analysis
                                                                         relating to the fuel inventory misappropriated by the NY
07/20/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $     195.00 Dealers and other damages.

                                                                         Review and revise Stipulation extending responsive pleading
07/20/2023   B190   Kadden, Ben W.          0.40 $ 650.00   $     260.00 deadline in the Samnosh matter, and emails regarding same.

                                                                         Continue review of BFM's discovery requests, and emails
07/20/2023   B190   Kadden, Ben W.          0.60 $ 650.00   $     390.00 with counsel regarding extension of time to respond to same.
07/20/2023   B190   Torrans, Coleman L.     0.40 $ 425.00   $     170.00 Call with co-counsel regarding litigation status.
                                                                         Multiple emails with counsel for BFM and co-counsel
07/21/2023   B190   Kadden, Ben W.          0.60 $ 650.00   $     390.00 regarding the BFM discovery requests.

                                                                       Further emails with client group and counsel for the NY
07/21/2023   B190   Kadden, Ben W.          0.60 $ 650.00   $   390.00 Dealers regarding continuing returns of ACH and fuel issues.
                                                                       Emails with client group and GSS regarding damage caused
                                                                       to pump by customer at Store           and requirement for GSS
07/21/2023   B190   Kadden, Ben W.          0.30 $ 650.00   $ 195.00 to address.
07/21/2023   B190   Torrans, Coleman L.     0.80 $ 425.00   $ 340.00 Review and analysis of Imperial's motion to abstain.
                                                                       Researched, drafted response to Imperial's abstention
07/23/2023   B190   Torrans, Coleman L.    12.10 $ 425.00   $ 5,142.50 motion.
                                                                       Phone call and emails with co-counsel regarding debtor
07/24/2023   B190   Torrans, Coleman L.     0.60 $ 425.00   $ 255.00 dealer-dispute.
07/24/2023   B190   Torrans, Coleman L.     5.60 $ 425.00   $ 2,380.00 Edits to draft response to Imperial's motion for abstention.
                                                                       Reviewed discovery from BFM; reviewed FRCP relevant
07/25/2023   B190   Torrans, Coleman L.     2.60 $ 425.00   $ 1,105.00 authorities; drafted reservation of rights statement.
                                                                       Emails with co-counsel regarding BFM reservation of rights
07/25/2023   B190   Torrans, Coleman L.     0.30 $ 425.00   $ 127.50 statement.
07/25/2023   B190   Torrans, Coleman L.     0.20 $ 425.00   $    85.00 Emailed counsel for BFM reservation of rights statement.

07/26/2023   B190   Autin, Avery            1.20 $ 245.00   $     294.00 Reviewed and revised the Objection to the Motion to Abstain
                                                                         Emails with client regarding abstention motion response,
07/26/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 solicited comments regarding same.
                                                                         Emails with co-counsel regarding abstention motion
07/26/2023   B190   Torrans, Coleman L.     0.30 $ 425.00   $     127.50 response, solicited comments regarding same.
07/26/2023   B190   Torrans, Coleman L.     2.10 $ 425.00   $     892.50 Edits to abstention motion.
07/26/2023   B190   Torrans, Coleman L.     0.30 $ 425.00   $     127.50 Worked with staff to file stipulation in Samnosh matter.
                                                                         Email to counsel for BFM providing reservation of rights
07/26/2023   B190   Torrans, Coleman L.     0.60 $ 425.00   $     255.00 statement.
                                                                         Phone calls with MEX and co-counsel teams regarding
07/27/2023   B190   Torrans, Coleman L.     0.50 $ 425.00   $     212.50 unbranded fuel claims.
07/27/2023   B190   Torrans, Coleman L.     0.20 $ 425.00   $      85.00 Emails with KCC team regarding service.
                                                                         Emails with MEX team regarding NY Dealers on-compliance
07/27/2023   B190   Torrans, Coleman L.     0.40 $ 425.00   $     170.00 issues, bounced fuel payments.

07/27/2023   B190   Torrans, Coleman L.     0.90 $ 425.00   $     382.50 Created breakdown of post-breach balances for NY Dealers.

                                                                          Follow-up emails with in-house counsel for          co-
07/06/2023   B210   Kadden, Ben W.          0.60 $ 650.00   $     390.00 counsel, and FTI regarding cure issues raised by
                                          161.40                80,740.50
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              Case23-90147
                   23-90147 Document
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Attorney Report
July 1, 2023 to July 31, 2023
Mountain Express Oil Company

Date          SM/Task   Name                  Hrs    Rate      Amt Narrative
07/05/2023    B160      Autin, Avery         1.00 $245.00 $ 245.00 Drafted the second monthly fee app
                                                                   Consolidated time reports and created the Exhibits to the
07/05/2023    B160      Autin, Avery         0.40 $245.00 $  98.00 second monthly fee app
                                                                   Redacted the Attorney Report and Task Report for the
07/05/2023    B160      Autin, Avery         0.90 $245.00 $ 220.50 second monthly fee app
                                                                   Updated the spreadsheet of legal expenses re stay violations
07/07/2023    B160      Autin, Avery         1.00 $245.00 $ 245.00 for expenses through the month of June
07/13/2023    B160      Autin, Avery         1.00 $245.00 $ 245.00 Completed the third monthly fee app.
                                                                   Redacted the attorney and task reports to be used as
                                                                   Exhibits to the third monthly fee app and made changes to
07/17/2023    B160      Autin, Avery         1.20 $245.00 $ 294.00 fee app per Ben Kadden.
07/21/2023    B160      Autin, Avery         0.80 $245.00 $ 196.00 Began working on the First Interim Fee App
                                                                   Completed the First Interim Fee App and sent to Coleman
07/24/2023    B160      Autin, Avery         1.20 $245.00 $ 294.00 Torrans

07/26/2023    B160      Autin, Avery         0.50 $245.00   $ 122.50 Reviewed the First Interim App and made revisions to same
                                                                     Reviewed the Objection to the Extension Motion and
07/06/2023    B190      Autin, Avery         1.20 $245.00   $ 294.00 provided comments on same

07/26/2023    B190      Autin, Avery         1.20 $245.00   $ 294.00 Reviewed and revised the Objection to the Motion to Abstain
                                                                     Review proposed stipulation and make edits to same; draft
07/20/2023    B185      Barriere, Jennifer   0.60 $300.00   $ 180.00 email response to B. Kadden and C. Torrans.

07/17/2023    B190      Eaton, Susan D.      0.10 $150.00   $  15.00 Westlaw dockets online re: filings for issuance of summons
                                                                     Westlaw dockets online, download Doc 3 - Order Regarding
                                                                     the Exchange Exhibits and Witness Lists. Download same to
07/18/2023    B190      Eaton, Susan D.      0.20 $150.00   $  30.00 team.
07/06/2023    B110      Kadden, Ben W.       0.50 $650.00   $ 325.00 Participate on bi-weekly call with professionals.

07/10/2023    B110      Kadden, Ben W.       0.50 $650.00   $ 325.00 Participate in bi-weekly conference call with professionals.
07/13/2023    B110      Kadden, Ben W.       0.40 $650.00   $ 260.00 Participate in bi-weekly professionals conference
                                                                       Multiple emails and calls with client group and co-counsel
                                                                       regarding failure of Imperial and GSS to pay rent and issues
07/07/2023    B120      Kadden, Ben W.       1.50 $650.00   $ 975.00 relating to same.
                                                                       Follow-up emails with counsel for Imperial and the Court
                                                                       regarding the withdrawal of the extension motion based on
07/07/2023    B120      Kadden, Ben W.       0.30 $650.00   $ 195.00 the answer filed by Imperial.
                                                                       Call and emails with counsel for GSS, client group and co-
07/07/2023    B120      Kadden, Ben W.       0.80 $650.00   $ 520.00 counsel regarding dealer-specific issues.
                                                                       Emails with client group and                Company
                                                                       regarding bounced fuel drafts at multiple stores and the
07/10/2023    B120      Kadden, Ben W.       0.30 $650.00   $ 195.00 potential need to seek emergency relief.
                                                                       Emails with client group regarding abandonment by GSS of
                                                                       the store located at                 and issues arising out of
07/10/2023    B120      Kadden, Ben W.       0.30 $650.00   $ 195.00 same.
                                                                       Multiple emails and calls with counsel for client group and
                                                                       counsel regarding issues relating to GSS's abandonment of
07/11/2023    B120      Kadden, Ben W.       2.20 $650.00   $ 1,430.00 the store at                and interaction with landlord.
                                                                       Multiple emails and calls with counsel for client group and co-
                                                                       counsel regarding issues relating to                Company's
07/11/2023    B120      Kadden, Ben W.       0.60 $650.00   $ 390.00 non-payment for fuel.
                                                                       Emails with co-counsel and BFM regarding sales process
07/20/2023    B120      Kadden, Ben W.       0.30 $650.00   $ 195.00 issues.
                                                                       Follow-up emails with co-counsel, Raymond James, and
07/21/2023    B120      Kadden, Ben W.       0.30 $650.00   $ 195.00 BFM regarding sales process issues.
                                                                       Voicemail and email from counsel for potential interested
                                                                       party in the bid process, and emails with client group
07/13/2023    B130      Kadden, Ben W.       0.20 $650.00   $ 130.00 regarding same.
                                                                       Review and revise the 2nd Monthly Fee Statement for
07/05/2023    B160      Kadden, Ben W.       0.40 $650.00   $ 260.00 Lugenbuhl. (
                                                                       Review and revise the draft Monthly Fee Statement for
07/14/2023    B160      Kadden, Ben W.       0.60 $650.00   $ 390.00 Lugenbuhl for June 2023 and coordinate filing of same.
                                                                       Review and comment on final draft of Lugenbuhl's 3rd
07/17/2023    B160      Kadden, Ben W.       0.40 $650.00   $ 260.00 Monthly Fee Statement.
                                                                       Coordinate filing and service of Lugenbuhl's 3rd Monthly Fee
07/17/2023    B160      Kadden, Ben W.       0.30 $650.00   $ 195.00 Statement.
                                                                       Emails pertaining to fuel and rent issues involving the 6 NY
07/17/2023    B160      Kadden, Ben W.       0.20 $650.00   $ 130.00 dealers.
07/21/2023    B160      Kadden, Ben W.       0.60 $650.00   $ 390.00 Begin work on Lugenbuhl's First Interim Fee Application.
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              Case23-90147
                   23-90147 Document
                             Document1720-4
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                                                                   Multiple emails with client group and counsel regarding
07/03/2023    B185   Kadden, Ben W.        0.80 $650.00   $ 520.00 transfer of operations at Store      to new dealer.
                                                                   Emails with client group, co-counsel, and counsel for BFM
                                                                   regarding BFM's potential cure claim amount and
07/04/2023    B185   Kadden, Ben W.        0.40 $650.00   $ 260.00 reconciliation of same.
                                                                   Multiple emails and calls with co-counsel and client group
                                                                   regarding potential sale of Store      to a third party and the
07/05/2023    B185   Kadden, Ben W.        0.60 $650.00   $ 390.00 impact of same on the rights of the Debtors.
                                                                   Emails/calls and research regarding the possible transfer of
07/06/2023    B185   Kadden, Ben W.        0.80 $650.00   $ 520.00 leasehold at Store
                                                                   Multiple emails with client group and co-counsel regarding
                                                                   potential rejection of the Samnosh contract and issues
07/11/2023    B185   Kadden, Ben W.        0.30 $650.00   $ 195.00 relating to same.

                                                                   Follow-up emails with Greg and Neil regarding the proposed
07/12/2023    B185   Kadden, Ben W.        0.30 $650.00   $ 195.00 rejection of the Samnosh contracts and claims against same.

                                                                   Emails with counsel for GSS, client and co-counsel regarding
07/13/2023    B185   Kadden, Ben W.        0.40 $650.00   $ 260.00 GSS' objection to the Debtors' Notice of Cure Amounts.
                                                                   Follow-up emails with co-counsel and client regarding issues
07/13/2023    B185   Kadden, Ben W.        0.90 $650.00   $ 585.00 relating to Store        located at                .
                                                                   Emails and call with co-counsel and client group regarding
                                                                   potential rejection of the Samnosh contract and go-forward
07/13/2023    B185   Kadden, Ben W.        1.00 $650.00   $ 650.00 litigation strategy.
                                                                   Receipt and review of various cure objections and emails
07/13/2023    B185   Kadden, Ben W.        0.90 $650.00   $ 585.00 with co-counsel and FTI regarding same.
                                                                   Review and revise the draft Stipulation and Agreed Order to
                                                                   be presented to the landlord at                   relating to
07/13/2023    B185   Kadden, Ben W.        0.50 $650.00   $ 325.00 rejection of the principal lease and related issues.
                                                                   Receipt and review of additional cure objections and emails
07/14/2023    B185   Kadden, Ben W.        1.10 $650.00   $ 715.00 with co-counsel and FTI regarding same.
                                                                   Receipt and review of multiple cure objections, and emails
07/17/2023    B185   Kadden, Ben W.        0.70 $650.00   $ 455.00 with professionals regarding same.
                                                                   Multiple emails regarding proposed resolution of the issues
07/17/2023    B185   Kadden, Ben W.        0.60 $650.00   $ 390.00 pertaining to Store
07/17/2023    B185   Kadden, Ben W.        0.20 $650.00   $ 130.00 Emails with counsel for landlord at                       .
                                                                   Emails with co-counsel and counsel for                regarding
                                                                   outstanding amounts owed by the Debtors and related cure
07/18/2023    B185   Kadden, Ben W.        0.30 $650.00   $ 195.00 issues.
                                                                   Receipt and review of emails with counsel for        c-stores and
                                                                   emails with client group and co-counsel regarding cure
07/19/2023    B185   Kadden, Ben W.        0.40 $650.00   $ 260.00 objections and deadline for asserting same.
                                                                   Further emails with counsel for Imperial, co-counsel and the
                                                                   client group regarding the abandonment of Store No.           and
07/03/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 potential compliance and inspection issues.
                                                                   Further calls/emails with counsel for NY Dealers, client
                                                                   group, and co-counsel regarding restoration of credit card
07/03/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 networks and blackboxes.
                                                                   Emails with counsel for GSS, client group, and co-counsel,
                                                                   regarding potential for agreement on use of credit card
                                                                   receipts for July rent at certain stores, as well as recovery of
07/03/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 fuel inventory from wholesale stores.
                                                                   Follow-up emails with client group and co-counsel regarding
07/03/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00 Loomis safes.
                                                                   Follow-up emails with client group and counsel for LHJ
07/03/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00 Property regarding lease issues.

                                                                   Receipt and review of emails and documents relating to
                                                                   debranding of certain stores in           and emails with
07/03/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 counsel for      co-counsel and client group regarding same.

                                                                      Emails with client group and co-counsel regarding Imperial
                                                                      Reliance taking over certain properties abandoned by the
07/03/2023    B190   Kadden, Ben W.        0.40 $650.00   $ 260.00    Debtors and impact on pending litigation.
                                                                      Follow-up emails with counsel for Imperial, co-counsel and
                                                                      the client group regarding the abandonment of Store No.
                                                                      the restoration of power at the store and need for compliance
07/05/2023    B190   Kadden, Ben W.        0.60 $650.00   $ 390.00    inspections.
                                                                      Further calls/emails with counsel for NY Dealers, M & Y,
                                                                      client group, and co-counsel regarding restoration of credit
07/05/2023    B190   Kadden, Ben W.        0.50 $650.00   $ 325.00    card networks and blackboxes.
                                                                      Follow-up emails with counsel for GSS, client group, and co-
                                                                      counsel, regarding potential for agreement on use of credit
                                                                      card receipts for July rent at certain stores, as well as
07/05/2023    B190   Kadden, Ben W.        0.60 $650.00   $ 390.00    recovery of fuel inventory from wholesale stores.
             Case
              Case23-90147
                   23-90147 Document
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                                                                       Emails with counsel for Imperial and client group regarding
                                                                       Imperial's forthcoming abstention motion and request for
07/05/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00     consent to extension of time to answer the complaint.
                                                                       Emails with counsel for BFM and client group regarding
07/05/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00     payment issues with SEI.
                                                                       Emails with in-house counsel for                co-counsel, and
07/05/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00     FTI regarding cure issues raised by
                                                                       Multiple follow-up emails and calls with counsel for         client
                                                                       group, and co-counsel regarding the          Notice regarding
                                                                       debranding of certain stores in              and review relevant
07/05/2023    B190   Kadden, Ben W.        1.20 $650.00   $ 780.00     documentation relating to same.
                                                                       Receipt and review of Imperial's Emergency Motion for
                                                                       Extension of Time to Answer and emails with court and co-
07/05/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00     counsel regarding intention to object to same.
                                                                       Receipt and initial review of Imperial's Motion for Abstention
                                                                       filed in the Imperial litigation and emails with counsel
07/05/2023    B190   Kadden, Ben W.        1.20 $650.00   $ 780.00     regarding same.
                                                                       Multiple emails and calls with counsel for NY Dealers, M & Y,
                                                                       client group, and co-counsel regarding restoration work,
07/06/2023    B190   Kadden, Ben W.        2.30 $650.00   $ 1,495.00   payment of past due balances and July rent.
                                                                       Emails and calls with client group and co-counsel regarding
07/06/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00     Imperial dealer issues.
                                                                       Receipt and review of inspection information for all Imperial
                                                                       stores, and emails with client group and co-counsel regarding
07/06/2023    B190   Kadden, Ben W.        0.70 $650.00   $ 455.00     same.
                                                                       Emails and calls with co-counsel and client group regarding
07/06/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00     strategy for the Show Cause Hearing on 7/10.

                                                                   Review and revise the draft Objection to Imperial's Motion for
07/06/2023    B190   Kadden, Ben W.        1.50 $650.00   $ 975.00 Extension of Time to Answer Compliant, and file/serve same.

                                                                   Continue review of Imperial's Motion for Abstention filed in
07/06/2023    B190   Kadden, Ben W.        1.10 $650.00   $ 715.00 the Imperial litigation and begin researching relevant issues.
                                                                   Further emails/call with counsel for       client group, and co-
                                                                   counsel regarding the        Notice regarding debanding of
                                                                   certain stores in            and review relevant
07/06/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 documentation relating to same.
                                                                   Receipt and initial review of Imperial's Answer and emails
07/06/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 with co-counsel regarding same.
                                                                   Call and emails with counsel for Imperial, client group and co-
07/07/2023    B190   Kadden, Ben W.        1.30 $650.00   $ 845.00 counsel regarding dealer-specific issues.

                                                                     Receipt and review of the Order denying Defendants' Motion
07/07/2023    B190   Kadden, Ben W.        0.10 $650.00   $    65.00 to Extend Time to Answer filed in the Imperial matter.
                                                                     Follow-up emails with counsel for NY Dealers, M & Y, client
                                                                     group, and co-counsel regarding restoration work, payment
07/07/2023    B190   Kadden, Ben W.        1.40 $650.00   $ 910.00 of past due balances and July rent.
                                                                     Travel to and from Houston for Show Cause Hearing relating
07/10/2023    B190   Kadden, Ben W.        3.20 $650.00   $ 2,080.00 to NY Dealers. Billed at ½ time.

07/10/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00 Emails with co-counsel regarding various litigation matters.
                                                                   Review pleadings and emails with counsel for NY Dealers
07/10/2023    B190   Kadden, Ben W.        0.50 $650.00   $ 325.00 and co-counsel to prepare for Show Cause Hearing.
                                                                   Calls and emails with counsel for NY Dealers and client
                                                                   regarding completion of restoration work and payment of
07/10/2023    B190   Kadden, Ben W.        1.40 $650.00   $ 910.00 amounts due for June and July.
                                                                   Follow-up emails with counsel and client group regarding
                                                                   Samnosh's withdrawal of its motion and potential grounds for
07/10/2023    B190   Kadden, Ben W.        0.70 $650.00   $ 455.00 resolving disputes with same.
                                                                   Attend Show Cause Hearing and emails with client group and
07/10/2023    B190   Kadden, Ben W.        1.30 $650.00   $ 845.00 co-counsel regarding outcome and next steps.
                                                                   Emails and call with Daniel regarding history of returns by
07/10/2023    B190   Kadden, Ben W.        0.30 $650.00   $ 195.00 dealers for fuel and rent.
                                                                   Emails/calls with client group and counsel for the NY Dealers
                                                                   regarding discovery relating to the Sanction Hearing involving
07/11/2023    B190   Kadden, Ben W.        0.70 $650.00   $ 455.00 the NY Dealers.
                                                                   Follow-up emails counsel for the NY Dealers regarding
07/12/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 discovery relating to the Sanction Hearing.
                                                                   Receipt and review of cure objections filed by Imperial-related
                                                                   entities to determine impact on pending litigation, and emails
07/12/2023    B190   Kadden, Ben W.        0.80 $650.00   $ 520.00 regarding same.
                                                                   Review and revise report to Michael Healy and client group
                                                                   regarding issues relating to Store      located at
07/12/2023    B190   Kadden, Ben W.        1.30 $650.00   $ 845.00       , and emails regarding same.
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                                                                     Receipt and initial review of the Adversary Complaint filed by
07/12/2023    B190   Kadden, Ben W.        0.50 $650.00     $ 325.00 Samnosh and emails with co-counsel regarding same.
                                                                     Emails with counsel for GSS, client and co-counsel regarding
                                                                     a proposed seven-day extension of time to file its answer to
07/13/2023    B190   Kadden, Ben W.        0.40 $650.00     $ 260.00 the Adversary Complaint.
                                                                     Emails with counsel for operator of     convenience stores
                                                                     and co-counsel regarding extension of deadline to respond to
07/13/2023    B190   Kadden, Ben W.        0.30 $650.00     $ 195.00 Debtors' cure notice.
                                                                     Review docket in the Samnosh adversary to determine
07/13/2023    B190   Kadden, Ben W.        0.30 $650.00     $ 195.00 potential deadlines.
                                                                     Emails with client and counsel for NY dealers regarding
07/13/2023    B190   Kadden, Ben W.        0.30 $650.00     $ 195.00 payment for fuel.
                                                                     Receipt and initial review of BFM's discovery requests, and
07/14/2023    B190   Kadden, Ben W.        0.40 $650.00     $ 260.00 emails with counsel regarding same.
                                                                     Receipt and review of comments to the proposed Stipulation
                                                                     and Agreed Order re: Store          and emails/calls regarding
07/19/2023    B190   Kadden, Ben W.        0.80 $650.00     $ 520.00 same.
                                                                     Receipt and review of multiple cure objections, and emails
07/19/2023    B190   Kadden, Ben W.        0.60 $650.00     $ 390.00 with professionals regarding same.

                                                                     Receipt of the summons request by Samnosh, and emails
                                                                     with counsel for Samnosh, client group, and co-counsel
07/19/2023    B190   Kadden, Ben W.        0.80 $650.00     $ 520.00 regarding extension of deadline for answering same.
                                                                     Follow-up emails/calls with co-counsel regarding the form
                                                                     and substance of the proposed Stipulation and Agreed Order
07/20/2023    B190   Kadden, Ben W.        1.30 $650.00     $ 845.00 re: Store      and review/revise updated draft.

                                                                     Multiple emails with client group and counsel for the NY
07/20/2023    B190   Kadden, Ben W.        0.30 $650.00     $ 195.00 Dealers regarding continuing returns of ACH and fuel issues.
                                                                     Conference call with co-counsel regarding various litigation
07/20/2023    B190   Kadden, Ben W.        0.30 $650.00     $ 195.00 matters.
                                                                     Emails with client group regarding preparation of analysis
                                                                     relating to the fuel inventory misappropriated by the NY
07/20/2023    B190   Kadden, Ben W.        0.30 $650.00     $ 195.00 Dealers and other damages.

                                                                     Review and revise Stipulation extending responsive pleading
07/20/2023    B190   Kadden, Ben W.        0.40 $650.00     $ 260.00 deadline in the Samnosh matter, and emails regarding same.

                                                                     Continue review of BFM's discovery requests, and emails
07/20/2023    B190   Kadden, Ben W.        0.60 $650.00     $ 390.00 with counsel regarding extension of time to respond to same.
                                                                     Multiple emails with counsel for BFM and co-counsel
07/21/2023    B190   Kadden, Ben W.        0.60 $650.00     $ 390.00 regarding the BFM discovery requests.

                                                                     Further emails with client group and counsel for the NY
07/21/2023    B190   Kadden, Ben W.        0.60 $650.00     $ 390.00 Dealers regarding continuing returns of ACH and fuel issues.
                                                                     Emails with client group and GSS regarding damage caused
                                                                     to pump by customer at Store        and requirement for GSS
07/21/2023    B190   Kadden, Ben W.        0.30 $650.00     $ 195.00 to address.

                                                                     Follow-up emails with in-house counsel for              co-
07/06/2023    B210   Kadden, Ben W.        0.60 $650.00     $ 390.00 counsel, and FTI regarding cure issues raised by
07/02/2023    B110   Torrans, Coleman L.   0.50 $425.00     $ 212.50 Docket review and calendaring.

07/10/2023    B110   Torrans, Coleman L.   0.40   $425.00   $   170.00   Emails with client, co-counsel regarding            dispute.
07/10/2023    B110   Torrans, Coleman L.   0.50   $425.00   $   212.50   Docket review, calendaring.
07/17/2023    B110   Torrans, Coleman L.   0.50   $425.00   $   212.50   Emails with client, co-counsel, FTI re Store No.
07/26/2023    B110   Torrans, Coleman L.   0.30   $425.00   $   127.50   Emails with co-counsel regarding EROA access issue.
                                                                         Solicited comments from FTI regarding response to
07/26/2023    B110   Torrans, Coleman L.   0.30 $425.00     $ 127.50     abstention motion.
                                                                         Emails with client regarding non-compliance issues with NY
07/26/2023    B110   Torrans, Coleman L.   1.40 $425.00     $ 595.00     Dealers.
                                                                         Follow up emails with counsel for NY Dealers regarding
07/26/2023    B110   Torrans, Coleman L.   0.50 $425.00     $ 212.50     compliance issues.
07/31/2023    B110   Torrans, Coleman L.   0.30 $425.00     $ 127.50     Emails with UST office regarding LEDES data request.

                                                                     Review of community concerns raised re GSS operated
07/07/2023    B120   Torrans, Coleman L.   0.40 $425.00     $ 170.00 properties; correspondence with Ben Kadden regarding same
                                                                     Emails with Ben Kadden, client regarding non-compliance
07/07/2023    B120   Torrans, Coleman L.   1.40 $425.00     $ 595.00 issues involving operator-dealers, GSS.
                                                                     Emails with client regarding non-compliance issues involving
07/07/2023    B120   Torrans, Coleman L.   1.60 $425.00     $ 680.00 operator-dealers, Imperial.
                                                                     Emails with Ben Kadden, counsel for GSS regarding ACH
07/07/2023    B120   Torrans, Coleman L.   0.80 $425.00     $ 340.00 bounces.
                                                                     Emails with Ben Kadden, counsel for Imperial regarding non-
07/07/2023    B120   Torrans, Coleman L.   1.10 $425.00     $ 467.50 compliance issues.
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                                                                     Correspondence with Ben Kadden, client regarding
07/11/2023    B120   Torrans, Coleman L.   0.70 $425.00   $ 297.50       dispute.
                                                                     Correspondence with Ben Kadden, co-counsel regarding
07/11/2023    B120   Torrans, Coleman L.   0.50 $425.00   $ 212.50                 dispute.
                                                                     Emails with co-counsel Ben Kadden, regarding bankruptcy
                                                                     strategy, lease assumption and rejection issues, lessor non-
07/11/2023    B120   Torrans, Coleman L.   0.60 $425.00   $ 255.00 compliance.
                                                                     Prepared summary of landlord-debtor dispute for store no.
07/11/2023    B120   Torrans, Coleman L.   3.60 $425.00   $ 1,530.00
                                                                     Provided summary of debtor-landlord dispute regarding
07/12/2023    B120   Torrans, Coleman L.   1.60 $425.00   $ 680.00 lease; appendices for same to client, co-counsel.
                                                                     Emails with MEX, co-counsel regarding removal of estate
07/13/2023    B120   Torrans, Coleman L.   0.40 $425.00   $ 170.00 property at Store No.
                                                                     Email with owner of Store No.        responding to inquiries
07/17/2023    B120   Torrans, Coleman L.   0.30 $425.00   $ 127.50 regarding rent, citations, rejection.
                                                                     Received edits from Jennifer Barriere, incorporated edits into
07/20/2023    B120   Torrans, Coleman L.   0.50 $425.00   $ 212.50 stipulation to reject lease.
                                                                     Incorporated edits from MW into stipulation to reject lease,
                                                                     preserve claims; emails with Jennifer Barriere, Ben Kadden
07/20/2023    B120   Torrans, Coleman L.   1.50 $425.00   $ 637.50 co-counsel regarding same.
                                                                     Emails with counsel for NY Dealers non-compliance issues,
07/27/2023    B120   Torrans, Coleman L.   0.60 $425.00   $ 255.00 bounced fuel payments.
                                                                     Emails, call with co-counsel re notices of citations with regard
07/28/2023    B120   Torrans, Coleman L.   0.80 $425.00   $ 340.00 to GSS properties.
                                                                     Emails with client regarding PQA inquiry at Imperial operated
07/28/2023    B120   Torrans, Coleman L.   0.60 $425.00   $ 255.00 store.
07/28/2023    B120   Torrans, Coleman L.   0.40 $425.00   $ 170.00 Review of property citations.
                                                                     Review of OK regulations, statutes regarding fuel retail, UST
07/31/2023    B120   Torrans, Coleman L.   2.20 $425.00   $ 935.00 compliance.
                                                                     Phone call and emails with client regarding demand for
07/31/2023    B120   Torrans, Coleman L.   0.40 $425.00   $ 170.00 records.

07/31/2023    B120   Torrans, Coleman L.   0.90 $425.00   $ 382.50 Amended demand letter to Imperial; incorporated client edits.
07/31/2023    B120   Torrans, Coleman L.   0.30 $425.00   $ 127.50 Emails with counsel to       regarding OK PQA.
07/10/2023    B150   Torrans, Coleman L.   0.70 $425.00   $ 297.50 Attended show cause hearing on emergency motion.

07/27/2023    B150   Torrans, Coleman L.   1.50 $425.00   $ 637.50 Emails with professional teams regarding Imperial adversary.
07/05/2023    B160   Torrans, Coleman L.   0.40 $425.00   $ 170.00 Redactions to May fee statement.
                                                                   Redacted June statement for confidential, privileged
07/17/2023    B160   Torrans, Coleman L.   0.60 $425.00   $ 255.00 information.
                                                                   Edits to interim fee application; worked with staff to file and
07/27/2023    B160   Torrans, Coleman L.   0.70 $425.00   $ 297.50 serve same.
07/11/2023    B185   Torrans, Coleman L.   0.30 $425.00   $ 127.50 Emails with client regarding lease rejection.

                                                                     Analysis, emails and calls with co-counsel regarding
07/12/2023    B185   Torrans, Coleman L.   2.80 $425.00   $ 1,190.00 consequences of rejection and post-petition claim for rents.
                                                                     Phone call with M. Warner regarding stipulation to reject
07/13/2023    B185   Torrans, Coleman L.   0.30 $425.00   $ 127.50 lease for Store No.
                                                                     Emails with Pachulski team regarding consequences of lease
07/13/2023    B185   Torrans, Coleman L.   0.90 $425.00   $ 382.50 rejection.
07/13/2023    B185   Torrans, Coleman L.   1.20 $425.00   $ 510.00 Drafted stipulation for rejection of lease.
                                                                     Phone calls with landlord, emails with debtors regarding
07/14/2023    B185   Torrans, Coleman L.   2.40 $425.00   $ 1,020.00 dispute same.
07/17/2023    B185   Torrans, Coleman L.   0.20 $425.00   $    85.00 Emails with co-counsel re Store no.        stipulation.
                                                                     Emails and phone call with landlord for store regarding lease
07/18/2023    B185   Torrans, Coleman L.   0.60 $425.00   $ 255.00 disputes.
                                                                     Phone call and emails with MW regarding stipulation to reject
07/18/2023    B185   Torrans, Coleman L.   0.50 $425.00   $ 212.50 and terminate lease.
07/18/2023    B185   Torrans, Coleman L.   1.20 $425.00   $ 510.00 Edits to stipulation to reject and terminate lease.
                                                                     Incorporated comments and changes from MW into
07/19/2023    B185   Torrans, Coleman L.   0.90 $425.00   $ 382.50 stipulation to reject and terminate lease.
                                                                     Emails with MW, co-counsel, regarding stipulation to reject/
07/19/2023    B185   Torrans, Coleman L.   2.10 $425.00   $ 892.50 terminate lease.
                                                                     Reviewed Imperial supply agreements and leases for
                                                                     indemnity obligations, PQA inquiry notice, client materials,
                                                                     and OK admin. code; drafted demand for records and cease
07/28/2023    B185   Torrans, Coleman L.   2.40 $425.00   $ 1,020.00 and desist letter.
07/05/2023    B190   Torrans, Coleman L.   0.50 $425.00   $ 212.50 Reviewed procedures for extension of time to answer.
                                                                     Emails with counsel for Imperial, Ben Kadden, regarding
07/05/2023    B190   Torrans, Coleman L.   0.30 $425.00   $ 127.50 abstention, extension of time to answer.
                                                                     Emails with courtroom deputy regarding objection to motion
07/05/2023    B190   Torrans, Coleman L.   0.30 $425.00   $ 127.50 for extension of time.
                                                                     Drafted Debtor's objection to motion to extend time to file
07/05/2023    B190   Torrans, Coleman L.   1.20 $425.00   $ 510.00 answer in Imperial.
07/05/2023    B190   Torrans, Coleman L.   0.50 $425.00   $ 212.50 Receipt and initial review of abstention motion.
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                                                                       Review of authorities regarding judicial economy
07/05/2023    B190   Torrans, Coleman L.     1.20 $425.00     $ 510.00 considerations, applicability.
                                                                       Coordinated edit, filing of opposition to motion by Imperial to
07/06/2023    B190   Torrans, Coleman L.     0.30 $425.00     $ 127.50 continue deadline to answer complaint.
                                                                       Coordinated with AA calculation of damages caused by NY
07/07/2023    B190   Torrans, Coleman L.     0.60 $425.00     $ 255.00 Dealers stay violations.
07/10/2023    B190   Torrans, Coleman L.     0.30 $425.00     $ 127.50 Emails with co-counsel regarding pending litigation.
07/10/2023    B190   Torrans, Coleman L.     0.40 $425.00     $ 170.00 Emails with co-counsel; regarding Samnosh motion.

07/10/2023    B190   Torrans, Coleman L.     2.70 $425.00     $ 1,147.50 Preparation for stay enforcement motion against NY Dealers.
07/10/2023    B190   Torrans, Coleman L.     0.40 $425.00     $ 170.00 Emails with co-counsel regarding stay violation hearing.
                                                                         Emails and analysis with co-counsel regarding cure
07/13/2023    B190   Torrans, Coleman L.     0.60 $425.00     $ 255.00 objections, adversary proceedings.
                                                                         Receipt, review and calendaring of response deadlines for
07/14/2023    B190   Torrans, Coleman L.     0.80 $425.00     $ 340.00 BFM's first discovery.
                                                                         Emails with co-counsel regarding discovery in contested
07/14/2023    B190   Torrans, Coleman L.     0.50   $425.00   $ 212.50 matter.
07/17/2023    B190   Torrans, Coleman L.     0.60   $425.00   $ 255.00 Docket review.
07/17/2023    B190   Torrans, Coleman L.     0.60   $425.00   $ 255.00 Reviewed Samnosh adversary complaint filings.
07/18/2023    B190   Torrans, Coleman L.     0.40   $425.00   $ 170.00 Emails with co-counsel regarding litigation issues.
                                                                         Emails with counsel to Samnosh, co-counsel, regarding
                                                                         summons, service, and continuance of deadline to file
07/19/2023    B190   Torrans, Coleman L.     0.90 $425.00     $ 382.50 responsive pleading.
07/20/2023    B190   Torrans, Coleman L.     0.40 $425.00     $ 170.00 Call with co-counsel regarding litigation status.
07/21/2023    B190   Torrans, Coleman L.     0.80 $425.00     $ 340.00 Review and analysis of Imperial's motion to abstain.
                                                                         Researched, drafted response to Imperial's abstention
07/23/2023    B190   Torrans, Coleman L.    12.10 $425.00     $ 5,142.50 motion.
                                                                         Phone call and emails with co-counsel regarding debtor
07/24/2023    B190   Torrans, Coleman L.     0.60 $425.00     $ 255.00 dealer-dispute.
07/24/2023    B190   Torrans, Coleman L.     5.60 $425.00     $ 2,380.00 Edits to draft response to Imperial's motion for abstention.
                                                                         Reviewed discovery from BFM; reviewed FRCP relevant
07/25/2023    B190   Torrans, Coleman L.     2.60 $425.00     $ 1,105.00 authorities; drafted reservation of rights statement.
                                                                         Emails with co-counsel regarding BFM reservation of rights
07/25/2023    B190   Torrans, Coleman L.     0.30 $425.00     $ 127.50 statement.
07/25/2023    B190   Torrans, Coleman L.     0.20 $425.00     $    85.00 Emailed counsel for BFM reservation of rights statement.
                                                                         Emails with client regarding abstention motion response,
07/26/2023    B190   Torrans, Coleman L.     0.50 $425.00     $ 212.50 solicited comments regarding same.
                                                                         Emails with co-counsel regarding abstention motion
07/26/2023    B190   Torrans, Coleman L.     0.30 $425.00     $ 127.50 response, solicited comments regarding same.
07/26/2023    B190   Torrans, Coleman L.     2.10 $425.00     $ 892.50 Edits to abstention motion.
07/26/2023    B190   Torrans, Coleman L.     0.30 $425.00     $ 127.50 Worked with staff to file stipulation in Samnosh matter.
                                                                         Email to counsel for BFM providing reservation of rights
07/26/2023    B190   Torrans, Coleman L.     0.60 $425.00     $ 255.00 statement.
                                                                         Phone calls with MEX and co-counsel teams regarding
07/27/2023    B190   Torrans, Coleman L.     0.50 $425.00     $ 212.50 unbranded fuel claims.
07/27/2023    B190   Torrans, Coleman L.     0.20 $425.00     $    85.00 Emails with KCC team regarding service.
                                                                         Emails with MEX team regarding NY Dealers on-compliance
07/27/2023    B190   Torrans, Coleman L.     0.40 $425.00     $ 170.00 issues, bounced fuel payments.

07/27/2023    B190   Torrans, Coleman L.     0.90 $425.00     $ 382.50 Created breakdown of post-breach balances for NY Dealers.
                                           161.40              80,740.50
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors.1                        (Jointly Administered)

              FIFTH MONTHLY FEE STATEMENT OF LUGENBUHL, WHEATON,
                  PECK, RANKIN & HUBBARD FOR COMPENSATION FOR
                     SERVICES AND REIMBURSEMENT OF EXPENSES
                  AS SPECIAL LITIGATION COUNSEL TO THE DEBTORS
             FOR THE PERIOD FROM AUGUST 1, 2023 THROUGH AUGUST 16, 2023

             Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [Docket No. 408] (the “Compensation Order”),

Lugenbuhl, Wheaton, Peck, Rankin & Hubbard (“Lugenbuhl”), former special litigation counsel

for the above-captioned debtors and the debtors in possession (the “Debtors”), submits this

monthly statement (“Statement”) of services rendered and expenses incurred in these Chapter 11

Cases for the period from August 1, 2023 through August 16, 2023 (the “Statement Period”), the

date Lugenbuhl retroactively withdrew as special litigation counsel to the Debtors [Docket No.

1359]. As specifically authorized by the Court’s order approving withdrawal, Lugenbuhl intends

to file interim and/or final requests for payment of compensation and reimbursement of expenses

relating to the time period beginning on April 7, 2023 through and including August 16, 2023.

I.           Itemization of Services Rendered by Lugenbuhl:

             A.    The following is a list of individuals and their respective titles that provided


1     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain
      Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is
      3650 Mansell Road, Suite 250, Alpharetta, GA 30022.



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services during the Statement Period. It includes information regarding their respective billing

rates and the total number of hours spent by each individual providing services during the

Statement Period for which Lugenbuhl seeks compensation.

                                            SUMMARY

                                     State of Bar
                       Position /                      Hourly                        Total
        Name                         Admission /                     Hours
                        Dept.                           Rate                      Compensation
                                        Year
  Benjamin W.        Managing        LA 2005
                                                      $650.00          24.00      $15,600.00
  Kadden             Shareholder     TX 2011
  Coleman L.
                     Associate       LA 2019          $425.00          30.10      $12,792.50
  Torrans
  Total:                                                               54.10       $28,392.50

         B.     The time records of Lugenbuhl consisting of a daily breakdown of the time spent

by each person on each day are attached as Exhibit A to this Statement.

II.      Itemization of Services Rendered and Disbursements Incurred By Category

         The following itemization presents the services rendered by Lugenbuhl by Task Categories

and provides a summary of disbursements incurred by category of disbursement.

                1.      Services Rendered

         The following services were rendered in the following Task Categories:

       SM/Task                 Task Category                 Hours             Fees Earned
       B110          Case Administration                              4.2         $1,785.00
       B120          Asset Analysis and Recovery                     20.6          $10,307.50
       B140          Relief from Stay/Adequate                        3.9           $2,535.00
                     Protection Proceedings
       B160          Fee/Employment Applications                      3.6          $2,025.00
       B185          Assumption/Rejection of                          2.1          $1,005.00
                     Leases/Contracts
       B190          Other Contested Matters                         15.8          $8,267.50
       B210          Business Operations                              0.3            $195.00
       B230          Financing/Cash Collections                       2.1          $1,365.00
       B250          Real Estate                                      1.5            $907.50
                     Total                                           54.1         $28,392.50




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       A detailed itemization of the services rendered in each of the above Task Categories is set

forth in Exhibit A.

              2.      Disbursements Incurred

       No disbursements were incurred by Lugenbuhl for this Statement period.


              3.      Accordingly, the amount of compensation and expenses payable for this
                      Statement Period is $28,392.50, which is calculated as follows:

         Total Fees for Services Rendered During Statement Period                $28,392.50
         Twenty Percent (20%) Holdback                                           -$5,678.50
         Fees Minus Holdback                                                     $22,714.00
         Costs (100%)                                                                 $0.00
         TOTAL                                                                   $22,714.00

       WHEREFORE, pursuant to the Interim Compensation Order, Lugenbuhl requests

payment of compensation in the amount of (i) $22,714.00 (80% of $28,392.50) on account of

actual, reasonable and necessary professional services rendered to the Debtors by Lugenbuhl and

(ii) reimbursement of actual and necessary costs and expenses in the amount of $0.00 incurred on

behalf of the Debtors by Lugenbuhl.

                                       Respectfully submitted,

 Dated: September 26, 2023             /s/ Benjamin W. Kadden
 New Orleans, LA                       LUGENBUHL, WHEATON, PECK, RANKIN &
                                       HUBBARD
                                       Benjamin W. Kadden (TX 24077542)
                                       Coleman L. Torrans (Pro Hac Vice)
                                       601 Poydras St., 27th Floor
                                       New Orleans, LA
                                       (t) 504.568.1990
                                       (f) 504.310.9195
                                       bkadden@lawla.com
                                       ctorrans@lawla.com

                                       Former Special Litigation Counsel to the Debtors and
                                       Debtors in Possession




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                               CERTIFICATE OF SERVICE


       I hereby certify that on this 26th day of September, 2023, a true and correct copy of the
above and foregoing has been served on all parties that are registered to receive electronic
transmission through this Court’s CM/ECF filing system in these cases.


                                                   /s/ Benjamin W. Kadden
                                                   Benjamin W. Kadden




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                                             (504) 568-1990
                                          F.E.I. # XX-XXXXXXX



  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 299838
                                                                    September 18, 2023
____________________________________________________________________________________

                                     INVOICE SUMMARY

For Professional Services Rendered Through August 31, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                            Total Fees                                $ 28,392.50
                            Total Expenses                                   $ .00

                            TOTAL THIS INVOICE                        $ 28,392.50

                            Prior Balance Outstanding                 $ 81,675.12

                            TOTAL BALANCE DUE                       $ 110,067.62




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                                         LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 299838                                                                  September 18, 2023

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                                                 FEES

   Date Atty Description of Services                                                             Hours
8/01/23 BWK Emails with client group and counsel for              regarding non-compliance         .40
             and product quality issues involving Store No.        .
8/01/23 BWK Receipt and initial review of          Answer to Complaint and emails regarding        .70
             same.
8/01/23 CLT Phone call, emails with counsel for             regarding stipulation to reject,       .70
             terminate lease.
8/01/23 CLT Created summary of pending litigation; circulated to co-counsel.                      2.90
8/01/23 CLT Emails with client, co-counsel regarding demand for discovery for PQA                  .40
             investigation from
8/01/23 CLT Emails with staff, UST office re inquiry billing information.                          .30
8/01/23 CLT Follow up regarding pending proposed order in                 litigation.              .40
8/02/23 CLT Emails with co-counsel regarding                    receivable.                        .30
8/02/23 CLT Emails with client regarding                   receivable.                             .40
8/02/23 CLT Emails with client, co-counsel regarding code citations for           operated         .50
             properties.
8/02/23 CLT Review of code citations for           operated properties. Created tracking sheet    1.10
             for violations.
8/02/23 CLT Emails with counsel for          regarding auction status, discovery.                  .40
8/02/23 CLT Emails with co-counsel for          regarding auction status, discovery.               .40
8/02/23 CLT Drafted demand on                   l.                                                1.00
8/02/23 CLT Emails with client regarding demand.                                                   .40
8/02/23 CLT Review of client materials supporting               demand.                           1.40
8/03/23 BWK Emails with client group and co-counsel regarding issues involving the                 .30
                                   location.
8/03/23 BWK Emails with co-counsel and client group regarding the status of the payment            .40
             default issues involving the             locations.
8/03/23 BWK Review and comment on the draft Stay Violation Notice to be delivered to               .40

8/03/23 CLT Emails with client regarding           demand.                                         .20
8/03/23 CLT Call with Greg D. regarding state of case.                                             .20
8/03/23 CLT Call with Neil L., D. Turcot regarding conduct of              , unpaid                .40
            receivables, vendor disruptions.
8/03/23 CLT Emails with client regarding             receivables, post stay breach conduct.        .50
8/03/23 CLT Emails with client regarding                dispute.                                   .50
8/03/23 CLT Worked with staff to serve demand on                 .                                 .50
8/04/23 BWK Follow-up emails with client group and counsel for            regarding non-           .30
            compliance and product quality issues involving Store No.
8/04/23 CLT Corrections to BIM for July statement.                                                 .50


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                                       LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 299838                                                               September 18, 2023
Client.Matter: 38166 . 230394

8/04/23 CLT Emails with counsel for            regarding PQA inquiry.                          .50
8/07/23 BWK Docket review and multiple emails and calls with counsel regarding status of       .80
            the sales process and DIP lender issues.
8/07/23 BWK Emails and calls with counsel for the                                     , and    .30
            review related objection to the Sale Motion.
8/07/23 BWK Multiple emails and calls with co-counsel regarding status of cash collateral      .50
            usage and the emergency motion relating to same.
8/07/23 BWK Review and revise invoicing for July 2023 and circulate to CRO in advance of       .30
            preparing Monthly Fee Statement.
8/07/23 BWK Emails with counsel for the landlord for                  regarding the form of    .30
            stipulation of rejection.
8/07/23 BWK Emails with counsel for                 regarding rent for                         .30
            and emails with client group regarding same.
8/07/23 BWK Emails with counsel for        regarding the pending discovery requests.           .30
8/07/23 CLT Emails with Benjamin Kadden, counsel for            regarding        discovery     .30
            requests.
8/07/23 CLT Docket review.                                                                     .40
8/08/23 BWK Emails with counsel for        client group and co-counsel regarding fuel          .30
            supply issues at       stores.
8/08/23 BWK Emails with client group and co-counsel regarding status of cash collateral        .30
            negotiations and impact of same on operations.
8/08/23 BWK Emails and calls with counsel for Defendants in FLSA litigation pending in         .50
            New Orleans that involves the Debtors, and emails with co-counsel regarding
            same.
8/08/23 BWK Emails and call with counsel for        regarding discovery and cure issues.       .30
8/08/23 BWK Emails and call with counsel for        regarding sales process issues.            .30
8/08/23 BWK Emails with counsel for               regarding fuel supply issues.                .30
8/08/23 CLT Emails with Benjamin Kadden, counsel, regarding FLSA litigation in New             .30
            Orleans.
8/09/23 BWK Follow-up emails and call with counsel for         regarding discovery and cure    .30
            issues.
8/09/23 BWK Follow-up emails and call with counsel for         regarding sales process         .30
            issues.
8/09/23 BWK Emails with counsel for the Debtors and FTI regarding sales and process            .30
            issues involving
8/09/23 BWK Review and revise the draft of the 4th Monthly Fee Statement for July 2023.        .80
8/09/23 BWK Follow-up emails with counsel for             regarding Product Quality            .30
            Assurance issues.
8/09/23 BWK Follow-up emails with counsel for         regarding fuel supply issues.            .30
8/09/23 BWK Follow-up emails with counsel for the                regarding fuel supply         .30
            issues.
8/09/23 CLT Emails with Ben Kadden, counsel, regarding FLSA litigation in New Orleans.         .30
8/09/23 CLT Emails with Benjamin Kadden, client, counsel for              regarding PQA        .30
            requests.


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                                        LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 299838                                                                 September 18, 2023
Client.Matter: 38166 . 230394

8/10/23 BWK Emails and call with counsel for         regarding fuel supply issues.                .30
8/10/23 BWK Emails with client group regarding fuel requests by certain dealers and impact        .30
            on litigation.
8/10/23 BWK Follow-up emails with counsel for Defendants in the FLSA class action                 .30
            involving certain debtor entities and review order from District Court
            regarding applicability of the automatic stay.
8/10/23 BWK Emails with client group regarding upcoming hearing on sanctions request              .30
            involving the              .
8/10/23 BWK Further review and revise of the draft of the Fourth Monthly Statement for            .50
            Lugenbuhl, and coordinate filing of same.
8/10/23 BWK Multiple emails and calls with client group, co-counsel, and counsel for              .30
            landlord at Store No.        regarding rent issues.
8/10/23 BWK Receipt and review of correspondence from counsel for                 regarding       .30
            fuel supply issues relating to Store Nos.      and       and emails with counsel
            regarding same.
8/10/23 BWK Multiple emails and calls with client group and co-counsel regarding fuel             .30
            supply issues relating to Store Nos.       and
8/10/23 CLT Receipt and review of code enforcement notice regarding                               .30
            property.
8/10/23 CLT Emails with KCC regarding service of monthly statement.                               .20
8/10/23 CLT Drafted, redacted, and filed monthly statement.                                       .70
8/10/23 CLT Emails with Benjamin Kadden, client regarding fuel deliveries to                 ,    .30
            non-compliance issues.
8/10/23 CLT Emails Benjamin Kadden, client regarding fuel deliveries to            non-           .40
            payment issues.
8/11/23 BWK Receipt and review of the                 Motion for Relief From Stay and            1.10
            emails with client group and co-counsel regarding same.
8/11/23 CLT Receipt from client of balance statements for                                         .20
8/11/23 CLT Confer with Benjamin Kadden regarding obligations to respond in                       .40
            matters.
8/11/23 CLT Review, analysis of        abstention motion and counter complaint.                  2.30
8/11/23 CLT Emails with        regarding stipulation in          AP.                              .20
8/11/23 CLT Email with counsel regarding stipulation regarding Store                              .10
8/14/23 BWK Multiple emails with client group regarding fuel supply and delivery issues           .30
            involving             and              .
8/14/23 BWK Follow-up emails with the landlord at                    regarding the proposed       .20
            rejection of the lease and mutual release of claims.
8/14/23 BWK Emails with client group regarding preparation for the hearing on the                 .50
                      Stay Relief Motion, and begin work on W&E List.
8/14/23 BWK Participate telephonically in status conference and hearing.                          .30
8/14/23 CLT Emails with Benjamin Kadden, co-counsel regarding status of mediation,                .50
            response to                motion.
8/14/23 CLT Emails with Benjamin Kadden, counsel for                    regarding                 .30
                      motion.


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                                          LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 299838                                                                      September 18, 2023
Client.Matter: 38166 . 230394

8/14/23 CLT      Receipt and review of client materials regarding to fuel deliveries to                 2.50
                          , issues of non-payment.
8/15/23 BWK      Multiple emails and calls with client group and co-counsel regarding the                .80
                                   and preparation of objection to and hearing on same.
8/15/23 BWK      Emails with counsel for         regarding a proposed stay relief request.               .30
8/15/23 BWK      Emails with counsel for                     regarding the demand letter for             .30
                 turnover of funds.
8/15/23 BWK      Emails with counsel for            regarding its request for an extension of the        .30
                 bar date and emails with co-counsel regarding same.
8/15/23 BWK      Emails with co-counsel and counsel for                  regarding their request to      .40
                 reset the MFRS sooner than Friday, August 18.
8/15/23 CLT      Email with counsel for            regarding stipulation.                                .20
8/16/23 BWK      Confirm lack of objection to Lugenbuhl's First Interim Fee Application and              .60
                 work on draft proposed order and CNO on same. Fee/Employment
                 Applications
8/16/23 BWK      Receipt and review of the                Emergency Motion to Reset Hearing              .50
                 on MFRS, and emails with co-counsel, court and opposing counsel regarding
                 the substance and timing for such hearing.
8/16/23 BWK      Follow-up emails and calls with counsel for           regarding a proposed stay         .30
                 relief request.
8/16/23 BWK      Receipt and review of the motion by                               to lift stay, and     .30
                 calendar response deadline.
8/16/23 BWK      Receipt and review of the motion by certain           Entities to lift stay, and        .30
                 calendar response deadline.
8/16/23 BWK      Emails with FTI regarding status of various dealer litigation.                          .30
8/16/23 BWK      Receipt and review of the motion by         to lift stay, and calendar response         .30
                 deadline.
8/16/23 BWK      Emails with counsel regarding the condition of Store No.             post-closure       .30
                 by       and issues relating to same.
8/16/23 BWK      Participate remotely in the cash collateral hearing and hearing related to go-         1.80
                 forward strategy for case.
8/16/23 BWK      Review status of all pending litigation matters and prepare for transition of          2.30
                 matters to the Ch. 11 Trustee.
8/16/23   CLT    Attended emergency hearing.                                                            1.50
8/16/23   CLT    Emails with counsel for                 regarding stay violations, open account.        .50
8/16/23   CLT    Emails with Benjamin Kadden regarding site conditions.                                  .20
8/16/23   CLT    Review of docket filings.                                                               .50
8/16/23   CLT    Phone calls with              regarding leased site.                                    .40
8/16/23   CLT    Updated litigation memo and transition file.                                           2.50
8/16/23   CLT    Emails with Benjamin Kadden, counsel for             regarding auction,                 .40
                 discovery.
                 TOTALS                                                                                54.10




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                                  LUGENBUHL, WHEATON, PECK, RANKIN & HUBBARD

Invoice #: 299838                                                     September 18, 2023
Client.Matter: 38166 . 230394

          TOTAL FEES:                                                        $ 28,392.50

                                   TIME SUMMARY

Name                                          Hours         Rate                   Total
Kadden, Ben W.                                24.00       650.00               15,600.00
Torrans, Coleman L.                           30.10       425.00               12,792.50
TOTALS                                        54.10                          $ 28,392.50




          TOTAL THIS INVOICE                                                 $ 28,392.50




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                                              (504) 568-1990
                                           F.E.I. # XX-XXXXXXX




  Turjo Wadud
  Mountain Express Oil Company
  3650 Mansell Road
  Suite 250
  Alpharetta, TX 30022
                                                                     Invoice # 299838
                                                                    September 18, 2023
____________________________________________________________________________________

                                       REMITTANCE ADVICE

For Professional Services Rendered Through August 31, 2023:

Client.Matter: 38166 . 230394
RE: Mountain Express Oil Company, et al


                             Total Fees                                $ 28,392.50
                             Total Expenses                                   $ .00

                             TOTAL THIS INVOICE                        $ 28,392.50

                             Prior Balance Outstanding                 $ 81,675.12

                             TOTAL BALANCE DUE                       $ 110,067.62


       To insure proper credit to your account please return this remittance with your payment.


PLEASE REFERENCE CLIENT.MATTER # AND INVOICE NO. ON YOUR CHECK




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Attorney Report
August 1, 2023 to August 16, 2023
Mountain Express Oil Company

Date               SM/Task     Name             Hrs      Rate          Amt Narrative
                                                                           Emails with client group and counsel for Imperial regarding
                                                                           non-compliance and product quality issues involving Store
08/01/2023         B120        Kadden, Ben W.   0.40 $ 650.00   $   260.00 No.
                                                                           Receipt and initial review of     Answer to Complaint and
08/01/2023         B190        Kadden, Ben W.   0.70 $ 650.00   $   455.00 emails regarding same.
                                                                           Emails with client group and co-counsel regarding issues
08/03/2023         B250        Kadden, Ben W.   0.30 $ 650.00   $   195.00 involving the                      location.
                                                                           Emails with co-counsel and client group regarding the status
                                                                           of the payment default issues involving the
08/03/2023         B120        Kadden, Ben W.   0.40 $ 650.00   $   260.00 locations.
                                                                           Review and comment on the draft Stay Violation Notice to be
08/03/2023         B120        Kadden, Ben W.   0.40 $ 650.00   $   260.00 delivered to
                                                                           Follow-up emails with client group and counsel for Imperial
                                                                           regarding non-compliance and product quality issues
08/04/2023         B190        Kadden, Ben W.   0.30 $ 650.00   $   195.00 involving Store No.

                                                                           Docket review and multiple emails and calls with counsel
08/07/2023         B120        Kadden, Ben W.   0.80 $ 650.00   $   520.00 regarding status of the sales process and DIP lender issues.

                                                                           Emails and calls with counsel for the
08/07/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00             , and review related objection to the Sale Motion.
                                                                           Multiple emails and calls with co-counsel regarding status of
                                                                           cash collateral usage and the emergency motion relating to
08/07/2023         B120        Kadden, Ben W.   0.50 $ 650.00   $   325.00 same.
                                                                           Review and revise invoicing for July 2023 and circulate to
08/07/2023         B160        Kadden, Ben W.   0.30 $ 650.00   $   195.00 CRO in advance of preparing Monthly Fee Statement.
                                                                           Emails with counsel for the landlord for
08/07/2023         B185        Kadden, Ben W.   0.30 $ 650.00   $   195.00 regarding the form of stipulation of rejection.

                                                                             Emails with counsel for                 regarding rent for
08/07/2023         B250        Kadden, Ben W.   0.30 $ 650.00   $   195.00                   , and emails with client group regarding same.
                                                                             Emails with counsel for       regarding the pending discovery
08/07/2023         B190        Kadden, Ben W.   0.30 $ 650.00   $   195.00   requests.
                                                                             Emails with counsel for        client group and co-counsel
08/08/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   regarding fuel supply issues at        stores.
                                                                             Emails with client group and co-counsel regarding status of
                                                                             cash collateral negotiations and impact of same on
08/08/2023         B230        Kadden, Ben W.   0.30 $ 650.00   $   195.00   operations.
                                                                             Emails and calls with counsel for Defendants in FLSA
                                                                             litigation pending in New Orleans that involves the Debtors,
08/08/2023         B120        Kadden, Ben W.   0.50 $ 650.00   $   325.00   and emails with co-counsel regarding same.
                                                                             Emails and call with counsel for        regarding discovery
08/08/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   and cure issues.
                                                                             Emails and call with counsel for        regarding sales process
08/08/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   issues.
                                                                             Emails with counsel for               regarding fuel supply
08/08/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   issues.
                                                                             Follow-up emails and call with counsel for        regarding
08/09/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   discovery and cure issues.
                                                                             Follow-up emails and call with counsel for        regarding
08/09/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   sales process issues.
                                                                             Emails with counsel for the Debtors and FTI regarding sales
08/09/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   and process issues involving
                                                                             Review and revise the draft of the 4th Monthly Fee Statement
08/09/2023         B160        Kadden, Ben W.   0.80 $ 650.00   $   520.00   for July 2023.
                                                                             Follow-up emails with counsel for            regarding Product
08/09/2023         B250        Kadden, Ben W.   0.30 $ 650.00   $   195.00   Quality Assurance issues.
                                                                             Follow-up emails with counsel for         regarding fuel supply
08/09/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   issues.
                                                                             Follow-up emails with counsel for the                regarding
08/09/2023         B250        Kadden, Ben W.   0.30 $ 650.00   $   195.00   fuel supply issues.
                                                                             Emails and call with counsel for        regarding fuel supply
08/10/2023         B120        Kadden, Ben W.   0.30 $ 650.00   $   195.00   issues.
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                                                                  Emails with client group regarding fuel requests by certain
08/10/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $    195.00 dealers and impact on litigation.
                                                                  Follow-up emails with counsel for Defendants in the FLSA
                                                                  class action involving certain debtor entities and review order
                                                                  from District Court regarding applicability of the automatic
08/10/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $    195.00 stay.
                                                                  Emails with client group regarding upcoming hearing on
08/10/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $    195.00 sanctions request involving the               .
                                                                  Further review and revise of the draft of the Fourth Monthly
08/10/2023   B160    Kadden, Ben W.   0.50 $ 650.00   $    325.00 Statement for Lugenbuhl, and coordinate filing of same.

                                                                  Multiple emails and calls with client group, co-counsel, and
08/10/2023   B210    Kadden, Ben W.   0.30 $ 650.00   $    195.00 counsel for landlord at Store No.        regarding rent issues.

                                                                  Receipt and review of correspondence from counsel for
                                                                  RVictory regarding fuel supply issues relating to Store Nos.
08/10/2023   B120    Kadden, Ben W.   0.30 $ 650.00   $    195.00      and      and emails with counsel regarding same.
                                                                  Multiple emails and calls with client group and co-counsel
                                                                  regarding fuel supply issues relating to Store Nos.      and
08/10/2023   B120    Kadden, Ben W.   0.30 $ 650.00   $    195.00
                                                                  Receipt and review of the                Motion for Relief From
                                                                  Stay and emails with client group and co-counsel regarding
08/11/2023   B140    Kadden, Ben W.   1.10 $ 650.00   $    715.00 same.
                                                                  Multiple emails with client group regarding fuel supply and
08/14/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $    195.00 delivery issues involving           and             .
                                                                  Follow-up emails with the landlord at                 regarding
                                                                  the proposed rejection of the lease and mutual release of
08/14/2023   B185    Kadden, Ben W.   0.20 $ 650.00   $    130.00 claims.
                                                                  Emails with client group regarding preparation for the hearing
                                                                  on the              Stay Relief Motion, and begin work on
08/14/2023   B140    Kadden, Ben W.   0.50 $ 650.00   $    325.00 W&E List.

08/14/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $    195.00 Participate telephonically in status conference and hearing.
                                                                  Multiple emails and calls with client group and co-counsel
                                                                  regarding the                MFRS and preparation of objection
08/15/2023   B140    Kadden, Ben W.   0.80 $ 650.00   $    520.00 to and hearing on same.
                                                                  Emails with counsel for        regarding a proposed stay relief
08/15/2023   B140    Kadden, Ben W.   0.30 $ 650.00   $    195.00 request.
                                                                  Emails with counsel for                    regarding the
08/15/2023   B120    Kadden, Ben W.   0.30 $ 650.00   $    195.00 demand letter for turnover of funds.
                                                                  Emails with counsel for            regarding its request for an
                                                                  extension of the bar date and emails with co-counsel
08/15/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $    195.00 regarding same.
                                                                  Emails with co-counsel and counsel for                 regarding
                                                                  their request to reset the MFRS sooner than Friday, August
08/15/2023   B190    Kadden, Ben W.   0.40 $ 650.00   $    260.00 18.
                                                                  Confirm lack of objection to Lugenbuhl's First Interim Fee
                                                                  Application and work on draft proposed order and CNO on
08/16/2023   B160    Kadden, Ben W.   0.60 $ 650.00   $    390.00 same. Fee/Employment Applications
                                                                  Receipt and review of the                Emergency Motion to
                                                                  Reset Hearing on MFRS, and emails with co-counsel, court
                                                                  and opposing counsel regarding the substance and timing for
08/16/2023   B190    Kadden, Ben W.   0.50 $ 650.00   $    325.00 such hearing.
                                                                  Follow-up emails and calls with counsel for         regarding a
08/16/2023   B140    Kadden, Ben W.   0.30 $ 650.00   $    195.00 proposed stay relief request.
                                                                  Receipt and review of the motion by
08/16/2023   B140    Kadden, Ben W.   0.30 $ 650.00   $    195.00 to lift stay, and calendar response deadline.
                                                                  Receipt and review of the motion by certain          Entities to
08/16/2023   B140    Kadden, Ben W.   0.30 $ 650.00   $    195.00 lift stay, and calendar response deadline.

08/16/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $     195.00 Emails with FTI regarding status of various dealer litigation.
                                                                   Receipt and review of the motion by         to lift stay, and
08/16/2023   B140    Kadden, Ben W.   0.30 $ 650.00   $     195.00 calendar response deadline.
                                                                   Emails with counsel regarding the condition of Store No.
08/16/2023   B190    Kadden, Ben W.   0.30 $ 650.00   $     195.00       post-closure by        and issues relating to same.
                                                                   Participate remotely in the cash collateral hearing and
08/16/2023   B230    Kadden, Ben W.   1.80 $ 650.00   $   1,170.00 hearing related to go-forward strategy for case.
                                                                   Review status of all pending litigation matters and prepare for
08/16/2023   B190    Kadden, Ben W.   2.30 $ 650.00   $   1,495.00 transition of matters to the Ch. 11 Trustee.
        Case
         Case23-90147
              23-90147 Document
                        Document1720-4
                                 1503-1 Filed
                                         FiledininTXSB
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                                                                          Phone call, emails with counsel for            regarding
08/01/2023   B185    Torrans, Coleman L.   0.70 $ 425.00     $     297.50 stipulation to reject, terminate lease.
                                                                          Created summary of pending litigation; circulated to co-
08/01/2023   B190    Torrans, Coleman L.   2.90 $ 425.00     $   1,232.50 counsel.
                                                                          Emails with client, co-counsel regarding demand for
08/01/2023   B190    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 discovery for PQA investigation from
08/01/2023   B110    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 Emails with staff, UST office re inquiry billing information.
                                                                          Follow up regarding pending proposed order in Samnosh
08/01/2023   B190    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 litigation.
08/02/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 Emails with co-counsel regarding                   receivable.
08/02/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 Emails with client regarding                 receivable.
                                                                          Emails with client, co-counsel regarding code citations for
08/02/2023   B120    Torrans, Coleman L.   0.50 $ 425.00     $     212.50        operated properties.
                                                                          Review of code citations for          operated properties.
08/02/2023   B120    Torrans, Coleman L.   1.10 $ 425.00     $     467.50 Created tracking sheet for violations.
                                                                          Emails with counsel for         regarding auction status,
08/02/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 discovery.
                                                                          Emails with co-counsel for         regarding auction status,
08/02/2023   B120    Torrans, Coleman L.   0.40   $ 425.00   $     170.00 discovery.
08/02/2023   B120    Torrans, Coleman L.   1.00   $ 425.00   $     425.00 Drafted demand on                   .
08/02/2023   B120    Torrans, Coleman L.   0.40   $ 425.00   $     170.00 Emails with client regarding demand.
08/02/2023   B120    Torrans, Coleman L.   1.40   $ 425.00   $     595.00 Review of client materials supporting              demand.
08/03/2023   B120    Torrans, Coleman L.   0.20   $ 425.00   $      85.00 Emails with client regarding             demand.
08/03/2023   B110    Torrans, Coleman L.   0.20   $ 425.00   $      85.00 Call with Greg D. regarding state of case.
                                                                          Call with Neil L., D. Turcot regarding conduct of              ,
08/03/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 unpaid receivables, vendor disruptions.
                                                                          Emails with client regarding              receivables, post stay
08/03/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $     212.50 breach conduct.
08/03/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $     212.50 Emails with client regarding                 dispute.
08/03/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $     212.50 Worked with staff to serve demand on                   .
08/04/2023   B160    Torrans, Coleman L.   0.50   $ 425.00   $     212.50 Corrections to BIM for July statement.
08/04/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $     212.50 Emails with counsel for            regarding PQA inquiry.
                                                                          Emails with Benjamin Kadden, counsel for             regarding
08/07/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $     127.50        discovery requests.
08/07/2023   B110    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 Docket review.
                                                                          Emails with Benjamin Kadden, counsel, regarding FLSA
08/08/2023   B110    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 litigation in New Orleans.
                                                                          Emails with Ben Kadden, counsel, regarding FLSA litigation
08/09/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 in New Orleans.
                                                                          Emails with Benjamin Kadden, client, counsel for
08/09/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 regarding PQA requests.
                                                                          Receipt and review of code enforcement notice regarding
08/10/2023   B250    Torrans, Coleman L.   0.30 $ 425.00     $     127.50                     property.
08/10/2023   B160    Torrans, Coleman L.   0.20 $ 425.00     $      85.00 Emails with KCC regarding service of monthly statement.
08/10/2023   B160    Torrans, Coleman L.   0.70 $ 425.00     $     297.50 Drafted, redacted, and filed monthly statement.
                                                                          Emails with Benjamin Kadden, client regarding fuel deliveries
08/10/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 to              , non-compliance issues.
                                                                          Emails Benjamin Kadden, client regarding fuel deliveries to
08/10/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $     170.00         non-payment issues.

08/11/2023   B190    Torrans, Coleman L.   0.20 $ 425.00     $      85.00 Receipt from client of balance statements for
                                                                          Confer with Benjamin Kadden regarding obligations to
08/11/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 respond in       matters.
                                                                          Review, analysis of        abstention motion and counter
08/11/2023   B120    Torrans, Coleman L.   2.30 $ 425.00     $     977.50 complaint.
08/11/2023   B190    Torrans, Coleman L.   0.20 $ 425.00     $      85.00 Emails with      regarding stipulation in            AP.
                                                                          Email with counsel regarding stipulation regarding Store
08/11/2023   B185    Torrans, Coleman L.   0.10 $ 425.00     $      42.50 3098.
                                                                          Emails with Benjamin Kadden, co-counsel regarding status of
08/14/2023   B190    Torrans, Coleman L.   0.50 $ 425.00     $     212.50 mediation, response to               ' motion.
                                                                          Emails with Benjamin Kadden, counsel for
08/14/2023   B190    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 regarding               motion.
                                                                          Receipt and review of client materials regarding to fuel
08/14/2023   B190    Torrans, Coleman L.   2.50 $ 425.00     $   1,062.50 deliveries to            ', issues of non-payment.
08/15/2023   B185    Torrans, Coleman L.   0.20 $ 425.00     $      85.00 Email with counsel for           regarding stipulation.
08/16/2023   B190    Torrans, Coleman L.   1.50 $ 425.00     $     637.50 Attended emergency hearing.
                                                                          Emails with counsel for                regarding stay
08/16/2023   B120    Torrans, Coleman L.   0.50 $ 425.00     $     212.50 violations, open account.
08/16/2023   B185    Torrans, Coleman L.   0.20 $ 425.00     $      85.00 Emails with Benjamin Kadden regarding site conditions.
08/16/2023   B110    Torrans, Coleman L.   0.50 $ 425.00     $     212.50 Review of docket filings.
        Case
         Case23-90147
              23-90147 Document
                        Document1720-4
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08/16/2023   B185    Torrans, Coleman L.    0.40 $ 425.00   $    170.00 Phone calls with             regarding leased site.
08/16/2023   B110    Torrans, Coleman L.    2.50 $ 425.00   $ 1,062.50 Updated litigation memo and transition file.
                                                                        Emails with Benjamin Kadden, counsel for          regarding
08/16/2023   B120    Torrans, Coleman L.    0.40 $ 425.00   $    170.00 auction, discovery.
                                                                        Drafted CNO and proposed order on 1st interim app.; filed
08/18/2023   B160    Torrans, Coleman L.    0.00 $     -    $       -   same.
08/18/2023   B190    Torrans, Coleman L.    0.00 $     -    $       -   Emails with co-counsel regarding withdrawal.
                                                                        Drafted stipulation continuing deadlines in
08/21/2023   B120    Torrans, Coleman L.    0.00   $   -    $       -   communications with counsel regarding same.
08/21/2023   B110    Torrans, Coleman L.    0.00   $   -    $       -   Phone call and emails with counsel for
08/22/2023   B185    Torrans, Coleman L.    0.00   $   -    $       -   Phone call with             regarding lease, transition.
08/22/2023   B190    Torrans, Coleman L.    0.00   $   -    $       -   Filed COC
08/29/2023   B150    Torrans, Coleman L.    0.00   $   -    $       -   Emails with CH7 trustee's counsel regarding transition.
                                           54.10            $ 28,392.50
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           Case23-90147
                23-90147 Document
                          Document1720-4
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Task Report
August 1, 2023 to August 16, 2023
Mountain Express Oil Company

Date               SM/Task     Name                   Hrs     Rate              Amt Narrative
08/01/2023         B110        Torrans, Coleman L.   0.30 $ 425.00 $         127.50 Emails with staff, UST office re inquiry billing information.
08/03/2023         B110        Torrans, Coleman L.   0.20 $ 425.00 $          85.00 Call with Greg D. regarding state of case.
08/07/2023         B110        Torrans, Coleman L.   0.40 $ 425.00 $         170.00 Docket review.
                                                                                    Emails with Benjamin Kadden, counsel, regarding FLSA
08/08/2023         B110        Torrans, Coleman L.   0.30   $ 425.00   $     127.50 litigation in New Orleans.
08/16/2023         B110        Torrans, Coleman L.   0.50   $ 425.00   $     212.50 Review of docket filings.
08/16/2023         B110        Torrans, Coleman L.   2.50   $ 425.00   $   1,062.50 Updated litigation memo and transition file.
08/21/2023         B110        Torrans, Coleman L.   0.00   $    -     $        -   Phone call and emails with counsel for
                                                                                    Emails with client group and counsel for Imperial regarding
                                                                                    non-compliance and product quality issues involving Store
08/01/2023         B120        Kadden, Ben W.        0.40 $ 650.00     $     260.00 No.
                                                                                    Emails with co-counsel and client group regarding the status
                                                                                    of the payment default issues involving the
08/03/2023         B120        Kadden, Ben W.        0.40 $ 650.00     $     260.00 locations.
                                                                                    Review and comment on the draft Stay Violation Notice to be
08/03/2023         B120        Kadden, Ben W.        0.40 $ 650.00     $     260.00 delivered to              .

                                                                                   Docket review and multiple emails and calls with counsel
08/07/2023         B120        Kadden, Ben W.        0.80 $ 650.00     $    520.00 regarding status of the sales process and DIP lender issues.

                                                                                     Emails and calls with counsel for the
08/07/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00                , and review related objection to the Sale Motion.
                                                                                     Multiple emails and calls with co-counsel regarding status of
                                                                                     cash collateral usage and the emergency motion relating to
08/07/2023         B120        Kadden, Ben W.        0.50 $ 650.00     $    325.00   same.
                                                                                     Emails with counsel for         client group and co-counsel
08/08/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   regarding fuel supply issues at         stores.
                                                                                     Emails and calls with counsel for Defendants in FLSA
                                                                                     litigation pending in New Orleans that involves the Debtors,
08/08/2023         B120        Kadden, Ben W.        0.50 $ 650.00     $    325.00   and emails with co-counsel regarding same.
                                                                                     Emails and call with counsel for         regarding discovery
08/08/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   and cure issues.
                                                                                     Emails and call with counsel for         regarding sales process
08/08/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   issues.
                                                                                     Emails with counsel for                regarding fuel supply
08/08/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   issues.
                                                                                     Follow-up emails and call with counsel for         regarding
08/09/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   discovery and cure issues.
                                                                                     Follow-up emails and call with counsel for         regarding
08/09/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   sales process issues.
                                                                                     Emails with counsel for the Debtors and FTI regarding sales
08/09/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   and process issues involving
                                                                                     Follow-up emails with counsel for          regarding fuel supply
08/09/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   issues.
                                                                                     Emails and call with counsel for         regarding fuel supply
08/10/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00   issues.

                                                                                   Receipt and review of correspondence from counsel for
                                                                                             regarding fuel supply issues relating to Store Nos.
08/10/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00     and       and emails with counsel regarding same.
                                                                                   Multiple emails and calls with client group and co-counsel
                                                                                   regarding fuel supply issues relating to Store Nos.       and
08/10/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00
                                                                                   Emails with counsel for                    regarding the
08/15/2023         B120        Kadden, Ben W.        0.30 $ 650.00     $    195.00 demand letter for turnover of funds.
08/02/2023         B120        Torrans, Coleman L.   0.30 $ 425.00     $    127.50 Emails with co-counsel regarding                 receivable.
08/02/2023         B120        Torrans, Coleman L.   0.40 $ 425.00     $    170.00 Emails with client regarding               receivable.
                                                                                   Emails with client, co-counsel regarding code citations for
08/02/2023         B120        Torrans, Coleman L.   0.50 $ 425.00     $    212.50       operated properties.
                                                                                   Review of code citations for         operated properties.
08/02/2023         B120        Torrans, Coleman L.   1.10 $ 425.00     $    467.50 Created tracking sheet for violations.
                                                                                   Emails with counsel for       regarding auction status,
08/02/2023         B120        Torrans, Coleman L.   0.40 $ 425.00     $    170.00 discovery.
                                                                                   Emails with co-counsel for        regarding auction status,
08/02/2023         B120        Torrans, Coleman L.   0.40   $ 425.00   $    170.00 discovery.
08/02/2023         B120        Torrans, Coleman L.   1.00   $ 425.00   $    425.00 Drafted demand on                  .
08/02/2023         B120        Torrans, Coleman L.   0.40   $ 425.00   $    170.00 Emails with client regarding demand.
08/02/2023         B120        Torrans, Coleman L.   1.40   $ 425.00   $    595.00 Review of client materials supporting             demand.
         Case
          Case23-90147
               23-90147 Document
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08/03/2023   B120    Torrans, Coleman L.   0.20 $ 425.00     $    85.00 Emails with client regarding              demand.
                                                                        Call with Neil L., D. Turcot regarding conduct of                    ,
08/03/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $   170.00 unpaid receivables, vendor disruptions.
                                                                        Emails with client regarding               receivables, post stay
08/03/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $   212.50 breach conduct.
08/03/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $   212.50 Emails with client regarding                 dispute.
08/03/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $   212.50 Worked with staff to serve demand on                      .
08/04/2023   B120    Torrans, Coleman L.   0.50   $ 425.00   $   212.50 Emails with counsel for Imperial regarding PQA inquiry.
                                                                        Emails with Benjamin Kadden, counsel for                regarding
08/07/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $   127.50 BFM discovery requests.
                                                                        Emails with Ben Kadden, counsel, regarding FLSA litigation
08/09/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $   127.50 in New Orleans.
                                                                        Emails with Benjamin Kadden, client, counsel for
08/09/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $   127.50 regarding PQA requests.
                                                                        Emails with Benjamin Kadden, client regarding fuel deliveries
08/10/2023   B120    Torrans, Coleman L.   0.30 $ 425.00     $   127.50 to               , non-compliance issues.
                                                                        Emails Benjamin Kadden, client regarding fuel deliveries to
08/10/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $   170.00          non-payment issues.
                                                                        Confer with Benjamin Kadden regarding obligations to
08/11/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $   170.00 respond in          matters.
                                                                        Review, analysis of          abstention motion and counter
08/11/2023   B120    Torrans, Coleman L.   2.30 $ 425.00     $   977.50 complaint.
                                                                        Emails with counsel for                  regarding stay
08/16/2023   B120    Torrans, Coleman L.   0.50 $ 425.00     $   212.50 violations, open account.
                                                                        Emails with Benjamin Kadden, counsel for               regarding
08/16/2023   B120    Torrans, Coleman L.   0.40 $ 425.00     $   170.00 auction, discovery.
                                                                        Drafted stipulation continuing deadlines in
08/21/2023   B120    Torrans, Coleman L.   0.00 $      -     $      -   communications with counsel regarding same.
                                                                        Receipt and review of the                  Motion for Relief From
                                                                        Stay and emails with client group and co-counsel regarding
08/11/2023   B140    Kadden, Ben W.        1.10 $ 650.00     $   715.00 same.
                                                                        Emails with client group regarding preparation for the hearing
                                                                        on the                 Stay Relief Motion, and begin work on
08/14/2023   B140    Kadden, Ben W.        0.50 $ 650.00     $   325.00 W&E List.
                                                                        Multiple emails and calls with client group and co-counsel
                                                                        regarding the                 MFRS and preparation of objection
08/15/2023   B140    Kadden, Ben W.        0.80 $ 650.00     $   520.00 to and hearing on same.
                                                                        Emails with counsel for          regarding a proposed stay relief
08/15/2023   B140    Kadden, Ben W.        0.30 $ 650.00     $   195.00 request.
                                                                        Follow-up emails and calls with counsel for             regarding a
08/16/2023   B140    Kadden, Ben W.        0.30 $ 650.00     $   195.00 proposed stay relief request.
                                                                        Receipt and review of the motion by
08/16/2023   B140    Kadden, Ben W.        0.30 $ 650.00     $   195.00 to lift stay, and calendar response deadline.
                                                                        Receipt and review of the motion by certain              Entities to
08/16/2023   B140    Kadden, Ben W.        0.30 $ 650.00     $   195.00 lift stay, and calendar response deadline.
                                                                        Receipt and review of the motion by           to lift stay, and
08/16/2023   B140    Kadden, Ben W.        0.30 $ 650.00     $   195.00 calendar response deadline.
08/29/2023   B150    Torrans, Coleman L.   0.00 $    -       $      -   Emails with CH7 trustee's counsel regarding transition.
                                                                        Review and revise invoicing for July 2023 and circulate to
08/07/2023   B160    Kadden, Ben W.        0.30 $ 650.00     $   195.00 CRO in advance of preparing Monthly Fee Statement.
                                                                        Review and revise the draft of the 4th Monthly Fee Statement
08/09/2023   B160    Kadden, Ben W.        0.80 $ 650.00     $   520.00 for July 2023.
                                                                        Further review and revise of the draft of the Fourth Monthly
08/10/2023   B160    Kadden, Ben W.        0.50 $ 650.00     $   325.00 Statement for Lugenbuhl, and coordinate filing of same.
                                                                        Confirm lack of objection to Lugenbuhl's First Interim Fee
                                                                        Application and work on draft proposed order and CNO on
08/16/2023   B160    Kadden, Ben W.        0.60   $ 650.00   $   390.00 same. Fee/Employment Applications
08/04/2023   B160    Torrans, Coleman L.   0.50   $ 425.00   $   212.50 Corrections to BIM for July statement.
08/10/2023   B160    Torrans, Coleman L.   0.20   $ 425.00   $    85.00 Emails with KCC regarding service of monthly statement.
08/10/2023   B160    Torrans, Coleman L.   0.70   $ 425.00   $   297.50 Drafted, redacted, and filed monthly statement.
                                                                        Drafted CNO and proposed order on 1st interim app.; filed
08/18/2023   B160    Torrans, Coleman L.   0.00 $      -     $      -   same.
                                                                        Emails with counsel for the landlord for
08/07/2023   B185    Kadden, Ben W.        0.30 $ 650.00     $   195.00 regarding the form of stipulation of rejection.
                                                                        Follow-up emails with the landlord at                      regarding
                                                                        the proposed rejection of the lease and mutual release of
08/14/2023   B185    Kadden, Ben W.        0.20 $ 650.00     $   130.00 claims.
                                                                        Phone call, emails with counsel for            regarding
08/01/2023   B185    Torrans, Coleman L.   0.70 $ 425.00     $   297.50 stipulation to reject, terminate lease.
                                                                        Email with counsel regarding stipulation regarding Store
08/11/2023   B185    Torrans, Coleman L.   0.10 $ 425.00     $    42.50
08/15/2023   B185    Torrans, Coleman L.   0.20 $ 425.00     $    85.00 Email with counsel for             regarding stipulation.
08/16/2023   B185    Torrans, Coleman L.   0.20 $ 425.00     $    85.00 Emails with Benjamin Kadden regarding site conditions.
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08/16/2023   B185    Torrans, Coleman L.   0.40 $ 425.00     $    170.00 Phone calls with              regarding leased site.
08/22/2023   B185    Torrans, Coleman L.   0.00 $    -       $       -   Phone call with             regarding lease, transition.
                                                                         Receipt and initial review of       Answer to Complaint and
08/01/2023   B190    Kadden, Ben W.        0.70 $ 650.00     $    455.00 emails regarding same.
                                                                         Follow-up emails with client group and counsel for Imperial
                                                                         regarding non-compliance and product quality issues
08/04/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 involving Store No.
                                                                         Emails with counsel for        regarding the pending discovery
08/07/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 requests.
                                                                         Emails with client group regarding fuel requests by certain
08/10/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 dealers and impact on litigation.
                                                                         Follow-up emails with counsel for Defendants in the FLSA
                                                                         class action involving certain debtor entities and review order
                                                                         from District Court regarding applicability of the automatic
08/10/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 stay.
                                                                         Emails with client group regarding upcoming hearing on
08/10/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 sanctions request involving the               .
                                                                         Multiple emails with client group regarding fuel supply and
08/14/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 delivery issues involving           and              .

08/14/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 Participate telephonically in status conference and hearing.
                                                                         Emails with counsel for Imperial regarding its request for an
                                                                         extension of the bar date and emails with co-counsel
08/15/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $    195.00 regarding same.
                                                                         Emails with co-counsel and counsel for               regarding
                                                                         their request to reset the MFRS sooner than Friday, August
08/15/2023   B190    Kadden, Ben W.        0.40 $ 650.00     $    260.00 18.
                                                                         Receipt and review of the               ' Emergency Motion to
                                                                         Reset Hearing on MFRS, and emails with co-counsel, court
                                                                         and opposing counsel regarding the substance and timing for
08/16/2023   B190    Kadden, Ben W.        0.50 $ 650.00     $    325.00 such hearing.

08/16/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $     195.00 Emails with FTI regarding status of various dealer litigation.
                                                                          Emails with counsel regarding the condition of Store No.
08/16/2023   B190    Kadden, Ben W.        0.30 $ 650.00     $     195.00         post-closure by      and issues relating to same.
                                                                          Review status of all pending litigation matters and prepare for
08/16/2023   B190    Kadden, Ben W.        2.30 $ 650.00     $   1,495.00 transition of matters to the Ch. 11 Trustee.
                                                                          Created summary of pending litigation; circulated to co-
08/01/2023   B190    Torrans, Coleman L.   2.90 $ 425.00     $   1,232.50 counsel.
                                                                          Emails with client, co-counsel regarding demand for
08/01/2023   B190    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 discovery for PQA investigation from
                                                                          Follow up regarding pending proposed order in
08/01/2023   B190    Torrans, Coleman L.   0.40 $ 425.00     $     170.00 litigation.

08/11/2023   B190    Torrans, Coleman L.   0.20 $ 425.00     $      85.00 Receipt from client of balance statements for            .
08/11/2023   B190    Torrans, Coleman L.   0.20 $ 425.00     $      85.00 Emails with     regarding stipulation in           AP.
                                                                          Emails with Benjamin Kadden, co-counsel regarding status of
08/14/2023   B190    Torrans, Coleman L.   0.50 $ 425.00     $     212.50 mediation, response to               motion.
                                                                          Emails with Benjamin Kadden, counsel for
08/14/2023   B190    Torrans, Coleman L.   0.30 $ 425.00     $     127.50 regarding               motion.
                                                                          Receipt and review of client materials regarding to fuel
08/14/2023   B190    Torrans, Coleman L.   2.50   $ 425.00   $   1,062.50 deliveries to              issues of non-payment.
08/16/2023   B190    Torrans, Coleman L.   1.50   $ 425.00   $     637.50 Attended emergency hearing.
08/18/2023   B190    Torrans, Coleman L.   0.00   $    -     $        -   Emails with co-counsel regarding withdrawal.
08/22/2023   B190    Torrans, Coleman L.   0.00   $    -     $        -   Filed COC

                                                                        Multiple emails and calls with client group, co-counsel, and
08/10/2023   B210    Kadden, Ben W.        0.30 $ 650.00     $   195.00 counsel for landlord at Store No.        regarding rent issues.
                                                                        Emails with client group and co-counsel regarding status of
                                                                        cash collateral negotiations and impact of same on
08/08/2023   B230    Kadden, Ben W.        0.30 $ 650.00     $   195.00 operations.
                                                                        Participate remotely in the cash collateral hearing and
08/16/2023   B230    Kadden, Ben W.        1.80 $ 650.00     $ 1,170.00 hearing related to go-forward strategy for case.
                                                                        Emails with client group and co-counsel regarding issues
08/03/2023   B250    Kadden, Ben W.        0.30 $ 650.00     $   195.00 involving the                       location.

                                                                         Emails with counsel for                 regarding rent for
08/07/2023   B250    Kadden, Ben W.        0.30 $ 650.00     $    195.00                 , and emails with client group regarding same.
                                                                         Follow-up emails with counsel for            regarding Product
08/09/2023   B250    Kadden, Ben W.        0.30 $ 650.00     $    195.00 Quality Assurance issues.
                                                                         Follow-up emails with counsel for the               regarding
08/09/2023   B250    Kadden, Ben W.        0.30 $ 650.00     $    195.00 fuel supply issues.
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                                                                          Receipt and review of code enforcement notice regarding
08/10/2023   B250    Torrans, Coleman L.    0.30 $ 425.00   $    127.50                    property.
                                           54.10            $ 28,392.50
